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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JAMES GREGORY HOWELL, JR.,        }
    Plaintiff,                    }                       Civil Action No.
                                  }
     vs.                          }
                                  }
THE MOREHOUSE SCHOOL OF MEDICINE, }
    INC.,                         }                       JURY DEMAND
    Defendant,                    }



                                  COMPLAINT

      COMES NOW, JAMES GREGORY HOWELL, JR., (hereafter referred to

as “Plaintiff”), in the above-styled case, and files this Complaint against THE

MOREHOUSE SCHOOL OF MEDICINE, INC. (hereafter referred to as “MSM”

or “Defendant”), and shows this Honorable Court the following:




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                                      PARTIES

                                        1.

      Plaintiff is a resident of Gwinnett County, Georgia.

                                        2.

      MSM is a non-profit Georgia Corporation and is, and has at all relevant

times been, located at 720 Westview Drive SW, Atlanta, Georgia (Fulton County).

                                        3.

      Process may be served upon MSM via registered agent Michael A. Rambert

at 720 Westview Dr. SW, Suite 412, Atlanta, Georgia 30310-1458 in Fulton

County.




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                           JURISDICTION AND VENUE

                                        4.

      Pursuant to 28 U.S.C. § 1331 [federal question] and 28 U.S.C. § 1343 [civil

rights], this Court has original jurisdiction over the claims set forth in Counts I-VI

of Plaintiff’s Complaint about discrimination and retaliation which arise under

Section 504 of the Rehabilitation Act of 1973, as amended 29 U.S.C. § 701, et.

seq. (hereafter referred to as “Rehabilitation Act”), and its implementing

regulations, 34 C.F.R. § 104.1, et seq., and the Americans with Disabilities Act of

1990 (hereafter referred to as “ADA”), as amended, 42 U.S.C. § 12101 et. seq.

(including the American with Disabilities Act Amendments Act of 2008), and its

implementing regulations, 28 C.F.R. § 36.101, et seq.

                                        5.

      Pursuant to 28 U.S.C. § 1367 [supplemental jurisdiction] and 28 U.S.C. §

1391 [venue], this Court has supplemental jurisdiction over the state law claims set

forth in Counts VII-XI of Plaintiff’s Complaint about willful misrepresentation and

concealment of fact; fraudulent or reckless misrepresentation and concealment of

fact; negligent misrepresentation; breach of contract; and punitive damages,

respectively.



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                                        6.

       Jurisdiction and venue are therefore proper in this action.


               FACTS AS TO MOREHOUSE SCHOOL OF MEDICINE

                                        7.

       MSM is medical educational institution located in Atlanta, Georgia (Fulton

County).

                                        8.

       MSM is a program or activity receiving Federal financial assistance under

the Rehabilitation Act.

                                        9.

       Morehouse School of Medicine is a private entity under the ADA, Title III.

                                        10.

       MSM is both a privately and federally funded medical educational

institution.

                                        11.

       MSM benefits from Federal financial assistance, including but not limited to

those under Title IV of the Higher Education Act, Federal student financial aid in

the form of tuition payments, loans, grants, subsidies, and other funds.


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                                      12.

      MSM is required to comply with the Rehabilitation Act.

                                      13.

      MSM is required to comply with the regulations issued by the United States

Department of Education under the Rehabilitation Act.

                                      14.

      MSM has signed and filed assurances of compliance with the Department of

Education conditioning the receipt of Federal financial assistance on continued

compliance with the Rehabilitation Act.

                                      15.

      MSM is required to comply with the ADA.

                                      16.

      MSM is required to comply with the regulations issued by the United States

Department of Justice under the ADA.

                                      17.

      MSM employs fifteen or more persons.

                                      18.

      MSM is accredited by the Southern Association of Colleges and Schools

Commission on Colleges (SACSCOC), Liaison Committee on Medical Education

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(LCME), Accreditation Council for Continuing Medical Education (ACCME),

Accreditation Council for Graduate Medical Education (ACGME), and Council on

Education for Public Health (CEPH).

                                          19.

          At all times material herein, MSM operated a place of education and

research, and was a degree granting institution.

                                          20.

          MSM’s Office of Disability Services’ (hereafter referred to as “ODS”)

website,

https://msm.edu/Administration/HumanResources/disabilityservices/index.php,

states,

          “It is the policy and practice of [MSM] to comply with the Americans with
          Disabilities Act of 1990, as amended, ‘Section 504’ of the Rehabilitation Act
          of 1973 and state and local requirements regarding individuals with
          disabilities. Under these laws, no qualified individual shall be denied access
          to or participation in events, programs or services at the School. Through
          outreach and education, our office will promote access and awareness to all
          members of our MSM community” See Exhibit AA, Page 1.

                                          21.

          According to MSM’s ODS website,

https://msm.edu/Administration/HumanResources/disabilityservices/disability-

policy.php, MSM’s Disability Policy Statement is as follows,

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      “Morehouse School of Medicine (MSM) is committed to providing equal
      access to employment and educational opportunities for all individuals,
      including persons with disabilities, MSM recognizes that individuals with
      disabilities, may need reasonable accommodations to have equally effective
      opportunities to participate in or benefit from educational programs,
      services, and activities, and to have equal employment opportunities. MSM
      shall adhere to all applicable federal and state laws, regulations, and
      guidelines with respect to providing reasonable accommodations, including
      academic adjustments, as necessary to afford equal employment opportunity
      and equal access to programs for qualified persons with disabilities.” See
      Exhibit AB.


        A. KEY EMPLOYEES OF MOREHOUSE SCHOOL OF MEDICINE

                                       22.

      Marla Thompson, Title IX Coordinator and Manager for the ODS at MSM,

was at all times in charge of determining Plaintiff’s eligibility for accommodations,

granting accommodations, and managing their implementation.

                                       23.

      Marla Thompson at all relevant times had complete discretion at key

decision points in the administrative process regarding Plaintiff’s accommodations,

including, but not limited to, Plaintiff’s note-taking accommodations.




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                                       24.

      Marla Thompson worked closely with Dr. Brandi Knight, Director of the

Office of Student Learning and Educational Resources (hereafter referred to as

“OSLER”).

                                       25.

      Marla Thompson placed Dr. Brandi Knight in charge of Plaintiff’s note-

taking accommodation.

                                       26.

      Marla Thompson communicated to Dr. Brandi Knight that Plaintiff’s note-

taking accommodation came with a 24-48-hour turnaround time goal for every

class Plaintiff was taking.

                                       27.

      Until her departure from MSM on or around the end of March of 2019, Dr.

Brandi Knight was at all relevant times in charge of Plaintiff’s note-taking

accommodation.

                                       28.

      Until her departure from MSM on or around the end of March of 2019, Dr.

Brandi Knight had at all relevant times complete discretion at key decision points

in the administrative process regarding Plaintiff’s note-taking accommodation.

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                                         29.

      Until her departure from MSM on or around the end of March of 2019, Dr.

Brandi Knight was at all relevant times in charge of identifying and hiring

notetakers for services, including but not limited to, Plaintiff’s note-taking

accommodation.

                                         30.

      Until her departure from MSM on or around the end of March of 2019, Dr.

Brandi Knight was at all relevant times in charge of describing the necessary duties

and responsibilities to notetakers.

                                         31.

      Until her departure from MSM on or around the end of March of 2019, Dr.

Brandi Knight was at all relevant times in charge of replacing notetakers if they

failed in their stated duties and responsibilities.

                                         32.

      Until her departure from MSM on or around the end of March of 2019, Dr.

Brandi Knight was at all relevant times in charge of attempting to get additional

notetakers for Plaintiff’s note-taking accommodation.




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                                      33.

      Until her departure from MSM on or around the end of March of 2019, Dr.

Brandi Knight was in charge of attempting to get professional notetakers for

Plaintiff’s note-taking accommodation.

                                      34.

      Until her departure from MSM on or around the end of March of 2019, Dr.

Brandi Knight was at all relevant times in charge of attempting to involve other

staff in the management of Plaintiff’s note-taking accommodation in order to help

with the untimeliness of Plaintiff’s note-taking accommodation.

                                      35.

      Marla Thompson and Dr. Brandi Knight enjoyed substantial if not complete

supervisory authority within MSM’s chain of command and the ability to institute

corrective measures with regards to Plaintiff’s note-taking accommodation.


                            FACTS AS TO PLAINTIFF

                                      36.

      Plaintiff has a disability under the Rehabilitation Act and the ADA.




                                         13
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                                         37.

      Plaintiff has a life-long diagnosed history of a learning disorder, most

recently diagnosed in 2019 as Severe Attention-Deficit/Hyperactivity Disorder -

combined type (ADHD) and Other Specified Anxiety Disorder - Intermittent

Obsessive Anxiety.

                                         38.

      Plaintiff has mental impairments that substantially limits and significantly

restricts major life activities of Plaintiff including, but not limited to, learning,

concentrating, and thinking. 42 U.S.C. § 12102, 28 C.F.R. § 36.105, 29 U.S.C. §

705(9), 29 U.S.C. § 705(20), 29 U.S.C. § 705(37)(A)(ii)(II), and 34 C.F.R. §

104.3(j).

                                         39.

      In Plaintiff’s 2019 psychological evaluation, the examiner stated,

      “[Plaintiff] continues to meet criteria for Attention-Deficit/Hyperactivity
      Disorder - Combined Presentation, Severe (ADHD, Combined
      Presentation).”

                                         40.

      In Plaintiff’s 2019 psychological evaluation, Plaintiff’s Total ADHD rating

was in the 99th+(percentile) using the Barkley Adult ADHD Rating Scale-IV

(BAARS-IV).

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                                        41.

      In Plaintiff’s 2019 psychological evaluation, the examiner stated,

      “[Plaintiff] meets criteria for Other Specific Anxiety Disorder, Intermittent
      Obsessive Anxiety.”

                                        42.

      Plaintiff is a qualified individual, under the Rehabilitation Act, who meets

the academic and technical standards requisite to admission or participation to

MSM’s medical school program. 34 C.F.R. § 104.3(l)(3).

                                        43.

      Plaintiff is a qualified individual, under the ADA, who, with or without

reasonable modifications to rules, policies, or practices…or the provision of

auxiliary aids and services, meets the essential eligibility requirements to attend

and study at MSM.

                                        44.

      On or around March 1, 2017, Plaintiff was accepted by MSM as a medical

school student for the prospective class of 2021.

                                        45.

      At all relevant times while Plaintiff has been accepted as student at MSM, a

confidential relationship existed between Plaintiff and Marla Thompson.


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                                       46.

      At all relevant times while Plaintiff has been a student at MSM, a

confidential relationship existed between Plaintiff and both Marla Thompson and

Dr. Brandi Knight.


          A. INTERACTIVE ACCOMMODATION REVIEW PROCESS

                                       47.

      On March 3, 2017, approximately four (4) months prior to the beginning of

classes for first-year medical school students at MSM on July 3, 2017, Plaintiff

alerted MSM about Plaintiff’s disability and recommended academic

accommodations (hereafter referred to as “educational auxiliary aid(s),” “auxiliary

aid(s),” “academic accommodation(s),” and “accommodation(s)”).

                                       48.

      Plaintiff attempted to initiate the interactive accommodation review process

with MSM’s ODS via phone in early January of 2017, and then via email on

March 3, 2017, March 12, 2017, March 21, 2017, and April 5, 2017, (See Exhibit

AC), wherein Plaintiff asked to speak with someone at ODS and attached

Plaintiff’s 2014 psychological evaluation which included, but is not limited to,

Plaintiff’s medical history, diagnosis, and recommended accommodations.



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                                         49.

       On or around April 7, 2017, Marla Thompson, finally responded to

Plaintiff’s attempts and began the interactive accommodation review process with

Plaintiff.

                                         50.

       During the interactive accommodation review process prior to school

starting on or around July 3, 2017, Plaintiff provided all the paperwork required for

qualification as a student with a disability including, but not limited to, Plaintiff’s

2014 psychological evaluation, a summary letter from Plaintiff’s psychiatrist, and

the completed Registration and Information Packet from MSM’s ODS.

                                         51.

       At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 35), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 38), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 40), has stated, under the “Disability Services”

heading, that,

       “The Office of Disability Services has been designated to review disability
       documentation and to determine eligibility for appropriate
       accommodations.”




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                                       52.

       During the interactive accommodation review process prior to school

starting on or around July 3, 2017, Plaintiff requested accommodations including,

but not limited to, a notetaker, extra time on exams and class assignments, and

testing in a distraction-reduced environment.

                                       53.

       During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Marla Thompson verbally communicated that MSM could accommodate

Plaintiff.

                                       54.

       During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Marla Thompson verbally communicated that MSM could satisfy Plaintiff’s

recommended and requested accommodations, including but not limited to

Plaintiff’s note-taking accommodation.

                                       55.

       During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

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2017, Marla Thompson verbally communicated to Plaintiff that there was a system

in place to satisfy Plaintiff’s note-taking accommodation.

                                       56.

      During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Marla Thompson verbally communicated that Plaintiff’s requested note-

taking accommodation would come with a 24-48-hour turnaround time goal for

any class Plaintiff was taking.

                                       57.

      The note-taking accommodation was listed as a requestable academic

accommodation in the Registration and Information Packet sent to Plaintiff from

Marla Thompson on or around April 12, 2017. See Exhibit AG, Page 7.

                                       58.

      Plaintiff relied upon the representations made by Marla Thompson during

the interactive accommodation review process in determining that Plaintiff would

attend MSM to study medicine on or around May 15, 2017, which was the

deadline for students, whom had been accepted into multiple medical schools, to

choose what medical school they would matriculate to.




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                                       59.

      On or around June 16, 2017, Marla Thompson confirmed to Plaintiff via

email that Plaintiff’s requested accommodations were approved and would be

available upon Plaintiff’s arrival to MSM. See Exhibit AH, Page 1.

                                       60.

      Plaintiff justifiably relied on the information provided to Plaintiff by Marla

Thompson because she was the person in charge of determining Plaintiff’s

eligibility for accommodations, granting accommodations, and managing their

implementation.

                                       61.

      For the entirety of Plaintiff’s medical school education at MSM, Plaintiff has

been registered with MSM’s ODS as a student with a disability. See Exhibit AI,

Pages 1-3.

                                       62.

      For the entirety of Plaintiff’s medical school education at MSM, Plaintiff’s

note-taking accommodation was approved and granted by MSM. See Exhibit AI,

Pages 1-3.




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                                      63.

       Plaintiff’s note-taking accommodation, granted and approved by MSM’s

ODS, was by MSM’s own admission a reasonable accommodation. See Exhibit

AI, Pages 1-3.

                                      64.

       MSM by its own admission found Plaintiff to be a qualified individual in

that the note-taking accommodation was granted to Plaintiff, and the note-taking

accommodation was only available for “qualified students.” See Exhibit AI, Pages

1-3, and Exhibit AJ, Page 2.

                                      65.

       The note-taking accommodation granted to Plaintiff by MSM was

recommended in Plaintiff’s 2014 and 2019 psychological evaluations provided to

MSM’s ODS, as well as in prior evaluations not requested by MSM’s ODS.

                                      66.

       The note-taking accommodation was recommended in Plaintiff’s 2014

psychological evaluation, provided to MSM’s ODS, due to “weaknesses in

switching between tasks, and working memory make note-taking difficult for

[Plaintiff]”.




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                                        67.

      The note-taking accommodation was recommended in Plaintiff’s 2019

psychological evaluation, provided to MSM’s ODS, due to “difficulties with

inattention and frequent distraction making it challenging for [Plaintiff] to listen to

large amounts of information and take effective notes.”

                                        68.

      Plaintiff’s note-taking accommodation was necessary to ameliorate

Plaintiff’s disability’s effect of preventing meaningful access to the benefits of, or

participation in, MSM’s medical school program, and would have enabled Plaintiff

to develop mastery of the concepts necessary for the prevention, diagnosis,

treatment, and management of common medical problems

                                        69.

      For the entirety of time Plaintiff has been a student at MSM, Plaintiff’s 2014

and 2019 psychological evaluations, annual summary letters from Plaintiff’s

psychiatrists, and the completed Registration and Information Packets from

MSM’s ODS were used by MSM’s ODS as a basis for granting Plaintiff’s

academic accommodations.




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                                       70.

      Plaintiff’s 2014 and 2019 psychological evaluations, annual summary letters

from Plaintiff’s psychiatrists, and the completed Registration and Information

Packets from MSM’s ODS were used by MSM’s ODS as a basis for granting

Plaintiff’s note-taking accommodation for the entirety of Plaintiff’s current

medical school education.

                                       71.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 34), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 37), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 39) has stated, under the “Disability Services”

heading, that

      “Morehouse School of Medicine’s Office of Disability Services (ODS)
      serves as the primary resource for students with documented disabilities,
      disability concerns, and making requests for reasonable academic
      adjustments and accommodations. The ODS works in collaboration with
      faculty, staff and departments throughout MSM to develop successful
      strategies for maximizing students’ academic achievement and participation
      in extracurricular activities and programs.”

                                       72.

      The paragraphs in this Complaint will show that no successful strategies

were developed regarding Plaintiff’s academic achievement by MSM’s ODS, and

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neither Plaintiff’s disability concerns nor note-taking accommodation were of any

meaningful importance to MSM’s ODS.

                                      73.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Pages 34-35), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 37), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Pages 39-40) has stated, under the “Disability

Services” heading, that,

      “Services and reasonable accommodations are designed to meet the
      individual needs of each student in accordance with Section 504 of the
      Federal Rehabilitation Act of 1973 and the Americans with Disabilities Act
      of 1990, as amended by the ADAAA. These regulations require that any
      qualified person receive academic adjustments that are necessary and
      effective, and which do not compromise the academic standards of the
      School, to ensure equal access to educational opportunities, services,
      programs and activities at the School.”


                   B. 2017-2018 ACADEMIC SCHOOL YEAR

                                      74.

      For the 2017-2018 academic school year (here and hereafter accounts for the

time period from July 3, 2017 to May 25, 2018), MSM’s ODS granted Plaintiff the

following accommodations: Private and/or distraction-reduced testing room;




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Designated note-taker in classes; Access to audio taped lectures; and, Double time

for examinations and in-class assignments. See Exhibit AI, Page 1.

                                       75.

      On or around from June 28, 2017 to June 30, 2017, the note-taking

accommodation was also advertised as one of the academic accommodations

available to qualified students in the Student Information Guide, provided by

MSM’s ODS, which was distributed to students during Plaintiff’s new student

orientation for first year medical students at MSM. See Exhibit AJ, Page 2.

                                       76.

      On or around July 3, 2017, Plaintiff started classes as a first-year medical

school student at MSM for the 2017-2018 academic school year.

                                       77.

      Upon Plaintiff beginning medical school at MSM, on or around July 3,

2017, no system was already in place to provide Plaintiff with notes, per Plaintiff’s

note-taking accommodation.

                                       78.

      The classes for Plaintiff’s 2017-2018 academic school year were taught with

a heavy emphasis on lectures, and students were reliant on lectures, and taking




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notes, for obtaining all the necessary information they needed to know for their

classes.

                                        79.

      During the interactive accommodation review process prior to medical

school starting for Plaintiff, Marla Thompson never warned Plaintiff that the note-

taking accommodation would be a new school process in providing notes for

medical school students with accommodations, a service which had not been

previously provided by Marla Thompson, and was not an established service.

                                        80.

      One of Plaintiff’s initial written complaints to Marla Thompson via email on

or around August 1, 2017, stated that, “to this day, at the start of the fifth week of

class, I still do not have a notetaker. I have been behind since the first week,” that

Plaintiff has “always been behind,” that the people put in charge of Plaintiff’s note-

taking accommodation were not answering Plaintiff’s emails about what was going

on with the process, that “while I have tried to be patient, these past 3 weeks have

been very frustrating because I tried to get you my application for accommodations

in March [of 2017] so as to get everything ironed out before class started,” and that

Plaintiff would prefer if Marla Thompson was more involved in all the processes

regarding Plaintiff’s accommodations. See Exhibit AK, Pages 1-3.

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                                       81.

      On or around August 1, 2017, Marla Thompson subsequently responded to

Plaintiff via email stating that she would look into Plaintiff’s issues, that MSM was

“ready to ensure [Plaintiff’s] accommodations would be implemented seamlessly”

upon the start of Plaintiff’s medical school education, and that she would reiterate

to the group of people involved with Plaintiff’s accommodations, including but not

limited to Dr. Brandi Knight, to make sure updates were provided to her even if it

was just a notification. See Exhibit AK, Page 1.

                                       82.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 35), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 37), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 40) has stated, under the “Disability Services”

heading, that,

      “Any applicant, student, resident, or employee who believes he or she has
      been denied any service or benefit or otherwise discriminated against or
      harassed due to a disability may contact the Title IX Coordinator [Marla
      Thompson] or the Deputy Title IX Coordinator.”

                                       83.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 65), MSM’s 2018-2019
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Student Handbook (See Exhibit AE, Page 70), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 71) has stated, under the “General Information”

subheading, under the “Nondiscrimination and Anti-Harassment Policies” heading,

that,

        “Morehouse School of Medicine is committed to providing academic and
        employment environments that are free from unlawful discrimination,
        including harassment, on the basis of protected characteristics, including
        race, color, national or ethnic origin, sex, age, disability, religion, veteran
        status, sexual orientation, genetic information, gender identity, or any other
        characteristic protected by applicable law in the administration of the
        School’s programs and activities. The School encourages any individual
        who feels he or she has been discriminated against or harassed on any
        legally protected characteristic to promptly report the incident to the Title IX
        Coordinator [Marla Thompson] or the Deputy Title IX Coordinator[.]”

                                         84.

        Failing to provide for Plaintiff’s note-taking accommodation, that MSM

granted to Plaintiff, is discrimination. 42 U.S.C. § 12182(b)(2)(A)(ii), 28 C.F.R. §

36.302(a), 34 C.F.R. § 104.44, and 34 C.F.R. § 104.4

                                         85.

        At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 66), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 70), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 71) has stated, under the “General Information”


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subheading, under the “Nondiscrimination and Anti-Harassment Policies” heading,

that,

        “MSM's general policy against discrimination, harassment and retaliation
        applies to conduct by and perpetrated against all faculty, staff,
        administration, supervisors, employees, residents, students, applicants,
        volunteers, patients and visitors to campus, including guests, patrons,
        independent contractors or clients of MSM (“Person(s)”) that is prohibited
        by Title VII of the Civil Rights Act of 1964, Section 504 of the
        Rehabilitation Act, the Americans with Disabilities Act (including ADAAA
        amendments), and the Age Discrimination Act of 1975.”

                                         86.

        At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 66), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 71), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 72) has stated, under the “General Information”

subheading, under the “Nondiscrimination and Anti-Harassment Policies” heading,

that,

        “Under MSM's general policy against discrimination, harassment and
        retaliation, if a complainant is able and feels safe, he or she should clearly
        explain to the alleged offender that the behavior is objectionable and request
        that it cease. Additionally, if the complainant is not able or does not feel safe
        confronting the alleged offender, or the behavior does not stop, or if the
        complainant believes some adverse employment or educational
        consequences may result from the discussion, he or she should contact the
        Title IX Coordinator [Marla Thompson] or the Deputy Title IX Coordinator
        to make a complaint.”


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                                        87.

        At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 67), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 71), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 72) has stated, under the “General Information”

subheading, under the “Nondiscrimination and Anti-Harassment Policies” heading,

that,

        “Any Person or non-MSM visitor, guest, patron, independent contractor, or
        client who fails to address or report any form of discrimination, harassment
        and/or retaliation allegedly perpetrated by or against MSM administrators,
        faculty, staff, supervisors, volunteers, students or employees of which they
        know or should have known may be subjected to sanctions.”

                                        88.

        At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 67), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 71), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 72) has stated, under the “Complaint Procedures”

subheading, under the “Nondiscrimination and Anti-Harassment Policies” heading,

that,




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      “Complaints filed with the Title IX Coordinator [Marla Thompson] or the
      Deputy Title IX Coordinator 1 must be in writing and, specifically in cases
      involving incidents of sex discrimination, sexual harassment or sexual
      violence, provide the following information: (i) name of and contact
      information for the complaining Person(s) ("Complainant(s)"); (ii) nature,
      location and date of alleged violation; (iii) names of and contact information
      for the Person(s) accused of the alleged violation (where known)
      ("Respondent(s)"); (iv) requested relief or corrective action (specification of
      desired relief shall be the option of the Complainant); and (v) any other
      background or supplemental information that the Complainant believes to be
      relevant (e.g., names of other persons affected by the violation, etc.).”

                                       89.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 67), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 72), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 73) has stated, under the “Investigation and

Disposition of Complaints” subheading, under the “Nondiscrimination and Anti-

Harassment Policies” heading, that,

      “All reports and complaints of discrimination and harassment will be
      promptly investigated, and appropriate corrective action will be taken as
      expeditiously as possible. The parties to the complaint will each have an
      opportunity to be heard during the investigation, and to provide witnesses
      and other evidence to an impartial investigator. MSM will make reasonable
      efforts to protect the rights of both the Complainant and the Respondent.
      MSM will respect the privacy of the Complainant(s), Respondent(s), and
      any witnesses in a manner consistent with the School’s legal obligations to
      investigate, take appropriate corrective action, and comply with any
1
 Both of MSM’s 2018-2019 and 2019-2020 Student Handbooks do not include the
phrase “or the Deputy Title IX Coordinator” in this statement.
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      discovery or disclosure obligations required by law. Any and all requests for
      confidentiality will be evaluated on a case-by-case basis and in the context
      of the school’s responsibility to provide a safe and nondiscriminatory
      environment for the MSM community.”

                                        90.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 68), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 72), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 73) has stated, under the “Investigation and

Disposition of Complaints” subheading, under the “Nondiscrimination and Anti-

Harassment Policies” heading, that,

      “The amount of time needed to conduct an investigation will depend in part
      on the nature of the allegation(s) and the evidence to be investigated (e.g.,
      the number and/or availability of witnesses involved). Within 60 days of
      receipt of the complaint, the Title IX Coordinator [Marla Thompson] or
      Deputy Title IX Coordinator will provide an interim notice of the outcome
      of the investigation or will advise the parties of the additional estimated
      amount of time needed for the investigation. Within 10 business days
      following the completion of an investigation, the Title IX Coordinator
      [Marla Thompson] or Deputy Title IX Coordinator will simultaneously
      provide written notification to the Complainant and Respondent of the
      results of the investigation. If the investigation reveals that, by application of
      the preponderance of evidence standard, harassment, discrimination (or
      other inappropriate or unprofessional conduct even if not unlawful), or
      retaliation has occurred, disciplinary action may be taken by MSM. Written
      notice to the appropriate parties relating to discipline, resolutions, and/or
      final dispositions is deemed to be official correspondence from the School.
      Disciplinary sanctions imposed may be appealed through the appropriate
      appeals process depending on the status of the alleged policy violator. MSM
      will take the appropriate corrective action based on results of the
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      investigation and will follow up as appropriate to ensure that the remedial
      action is effective. Complainants are encouraged to report any reoccurrences
      of conduct that were found to violate MSM's nondiscrimination and anti-
      harassment policies or any other related concerns.”

                                        91.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AK, Pages 1-3)

sent to Marla Thompson, MSM’s Title IX Coordinator, was not promptly

investigated.

                                        92.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AK, Pages 1-3)

sent to Marla Thompson, MSM’s Title IX Coordinator, MSM never provided

Plaintiff with any written notification regarding the results of any investigation.

                                        93.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages
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37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AK, Pages 1-3)

sent to Marla Thompson, MSM’s Title IX Coordinator, MSM did not take any

appropriate corrective actions.

                                       94.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AK, Pages 1-3)

sent to Marla Thompson, MSM’s Title IX Coordinator, MSM did not follow up as

appropriate to ensure any remedial actions it instituted were effective.

                                       95.

      On or around October 31, 2017, Dr. Brandi Knight revealed to Plaintiff via

email that providing notes, per Plaintiff’s note-taking accommodation, was a

“totally new process for us and there [was] nothing set to work seamlessly and

quickly,” and Marla Thompson was cc-ed on this email. See Exhibit AL, Page 1.

                                       96.

      Despite Plaintiff beginning medical school on or around July 3, 2017, the

first time Plaintiff received notes for Plaintiff’s note-taking accommodation was

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thirty-eight (38) days after school started, on or around August 10, 2017, and those

notes were for classes nine (9) and ten (10) days prior.

                                        97.

      During the interactive accommodation review process prior to medical

school starting on or around July 3, 2017, Marla Thompson never warned Plaintiff

that there would be an initial delay in providing notes to Plaintiff.

                                        98.

      Plaintiff stressed to Dr. Brandi Knight via email on or around July 24, 2017,

that the note-taking accommodation was critical for Plaintiff’s success and that

Plaintiff felt like Plaintiff was going to fail Plaintiff’s upcoming exam because

Plaintiff was not able to study all of the material due to not having timely notes per

Plaintiff’s note-taking accommodation. See Exhibit AM.

                                        99.

      In an attempt to help in providing timely notes to Plaintiff during Plaintiff’s

first year of medical school, MSM asked Plaintiff to give up Plaintiff’s anonymity

as a person with a disability, which Plaintiff agreed to, but ultimately this never

happened. See Exhibit AL.




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                                       100.

      On or around October 31, 2017, Dr. Brandi Knight explained the supposed

bottleneck causing the untimeliness of Plaintiff’s note-taking accommodation was

the notetakers themselves in that Dr. Brandi Knight stated she could only give

Plaintiff notes when student notetakers sent them to her. See Exhibit AL, Page 1.

                                       101.

      On or around October 31, 2017, Dr. Brandi Knight stated to Plaintiff via

email that she had secured an additional notetaker for Plaintiff’s anatomy class to

help with the untimeliness of Plaintiff’s note-taking accommodation, and Marla

Thompson was cc-ed on this email. See Exhibit AL, Page 1.

                                       102.

      Plaintiff was never provided an additional notetaker for anatomy class.

                                       103.

      Problems persisted in satisfying Plaintiff’s note-taking accommodation for

the entire 2017-2018 academic school year.

                                       104.

      Throughout the 2017-2018 academic school year, Plaintiff complained to

Marla Thompson and Dr. Brandi Knight about the untimeliness of Plaintiff’s note-

taking accommodation.

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                                       105.

      For the 2017-2018 academic school year at MSM, the average turnaround

time of notes received—not all notes were ever received—for any class was 4.17

days for Plaintiff’s note-taking accommodation.

                                       106.

      For the 2017-2018 academic school year at MSM, Plaintiff received notes

for only sixty-one percent (61%) of classes for Plaintiff’s note-taking

accommodation.

                                       107.

      For the 2017-2018 academic school year at MSM, Plaintiff received a

2.49/4.00 GPA (Passing is 2.00/4.00). See Exhibit AN, Pages 1-2.

                                       108.

      MSM failed in its duty to coordinate and manage the implementation of

Plaintiff’s note-taking accommodation prior to classes beginning for the 2017-2018

academic school year.

                                       109.

      MSM failed in its duty to coordinate and manage the implementation of

Plaintiff’s note-taking accommodation after classes began for the 2017-2018

academic school year.

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                                      110.

      The 24-48-hour turnaround time goal for notes per Plaintiff’s note-taking

accommodation was never measured or evaluated by either Marla Thompson or

Dr. Brandi Knight during the 2017-2018 academic school year at MSM.

                                      111.

      Toward the end of the 2017-2018 academic school year, on or around May

7, 2018, Plaintiff emailed Marla Thompson again with a written complaint about

the untimeliness of Plaintiff’s note-taking accommodation (discrimination),

stressing the importance of the note-taking accommodation with requests

including, but not limited to, a more proactive approach on her end, more

accountability from Dr. Brandi Knight, and better communication in making sure

MSM timely provided notes per Plaintiff’s note-taking accommodation. See

Exhibit AO.

                                      112.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AO) sent to Marla

Thompson, MSM’s Title IX Coordinator, was not promptly investigated.

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                                        113.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AO) sent to Marla

Thompson, MSM’s Title IX Coordinator, MSM never provided Plaintiff with any

written notification regarding the results of any investigation.

                                        114.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AO) sent to Marla

Thompson, MSM’s Title IX Coordinator, MSM did not take any appropriate

corrective actions.

                                        115.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AO) sent to Marla

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Thompson, MSM’s Title IX Coordinator, MSM did not follow up as appropriate to

ensure any remedial actions it instituted were effective.


                         C. ACADEMIC DECELERATION

                                       116.

      Prior to the start of the 2018-2019 academic school year (here and hereafter

accounts for the time period from August 14, 2018 to May 17, 2019), MSM

suggested that Plaintiff enter academic deceleration, thus splitting the classes taken

in the normal second year medical curriculum into two separate years.

                                       117.

      According to MSM’s 2017-2018 Student Handbook (See Exhibit AD, Page

95), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Page 101), and

MSM’s 2019-2020 Student Handbook (See Exhibit AF, Page 102), under the

“Academic Deceleration” heading, Academic Deceleration is defined as,

      “Students enrolled in the basic science years at MSM have the option to
      decelerate. This essentially allows them to complete the basic science
      curriculum over a three-year period (as opposed to the standard two-year
      basic sciences curriculum).”

                                       118.

      Due to Plaintiff’s mounting lack of faith in MSM’s ability to provide for

Plaintiff’s note-taking accommodation, coupled with the poor grades (2.48/4.00


                                          40
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first year GPA), and emotional turmoil Plaintiff was experiencing, Plaintiff elected

to enter the decelerated second year medical curriculum, though Plaintiff would

have preferred graduating on time while receiving the accommodations that were

granted to Plaintiff by MSM.

                                        119.

        Plaintiff’s medical school education was prolonged because of MSM’s

failure in providing Plaintiff’s note-taking accommodation.


                     D. 2018-2019 ACADEMIC SCHOOL YEAR

                                        120.

        For the 2018-2019 academic school year, MSM’s ODS granted Plaintiff the

following accommodations: Private and/or distraction-reduced testing room;

Designated note-taker in classes; Access to audio taped lectures; and, Double time

for examinations and in-class assignments. See Exhibit AI, Page 2.

                                        121.

        On or around August 14, 2018, Plaintiff started classes as a second-year,

decelerated part one of two, student at MSM for the 2018-2019 academic school

year.




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                                       122.

      Problems continued to persist in satisfying Plaintiff’s note-taking

accommodation for almost the entirety of the 2018-2019 academic school year.

                                       123.

      The classes for Plaintiff’s 2018-2019 academic school year were taught with

a heavy emphasis on lectures, and students were reliant on lectures, and taking

notes, for obtaining all the necessary information they needed to know for their

classes.

                                       124.

      Throughout the 2018-2019 academic school year, Plaintiff complained to

Marla Thompson and Dr. Brandi Knight about the untimeliness of Plaintiff’s note-

taking accommodation.

                                       125.

      In or around late 2018 to early 2019, Dr. Brandi Knight spoke to Plaintiff

about hiring a professional notetaker to help with the untimeliness of Plaintiff’s

note-taking accommodation, and in response Plaintiff inquired via email on or

around January 7, 2019. See Exhibit AP.




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                                       126.

      On or around January 17, 2019, ten days later, Dr. Brandi Knight responded

to Plaintiff stating no one would be hired. See Exhibit AQ and Exhibit AR.

                                       127.

      On or around January 22, 2019, Dr. Brandi Knight explained the now

supposed bottleneck causing the untimeliness of Plaintiff’s note-taking

accommodation was Dr. Brandi knight herself in that Dr. Brandi Knight admitted

that students should receive their notes “in a 24-hour or less” turnaround time, but

it was not feasible for her to accomplish herself because she was the sole person in

charge of the note-taking accommodation. See Exhibit AR.

                                       128.

      On or around January 22, 2019, Dr. Brandi Knight communicated to

Plaintiff via email about the intention to involve other MSM staff as the quickest

improvement to the untimeliness of Plaintiff’s note-taking accommodation. See

Exhibit AR.

                                       129.

      Other staff at MSM were not involved with Plaintiff’s note-taking

accommodation until after Dr. Brandi Knight left MSM at or around the end of

March of 2019, approximately two months later.

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                                       130.

      On or around February 25, 2019, Plaintiff emailed Marla Thompson

additional written complaints about poor communication regarding Marla

Thompson and Dr. Brandi Knight not responding to Plaintiff’s emails, and about

continuing issues regarding the untimeliness of Plaintiff’s note-taking

accommodation (discrimination). See Exhibit AS, Pages 1-5.

                                       131.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AS, Pages 1-5)

sent to Marla Thompson, MSM’s Title IX Coordinator, was not promptly

investigated.

                                       132.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AS, Pages 1-5)




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sent to Marla Thompson, MSM’s Title IX Coordinator, MSM never provided

Plaintiff with any written notification regarding the results of any investigation.

                                        133.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AS, Pages 1-5)

sent to Marla Thompson, MSM’s Title IX Coordinator, MSM did not take any

appropriate corrective actions.

                                        134.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AS, Pages 1-5)

sent to Marla Thompson, MSM’s Title IX Coordinator, MSM did not follow up as

appropriate to ensure any remedial actions it instituted were effective.




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                                       135.

      For the 2018-2019 academic school year at MSM, the average turnaround

time of notes received—not all notes were ever received—for any class was 14.61

days for Plaintiff’s note-taking accommodation.

                                       136.

      For the 2018-2019 academic school year at MSM, Plaintiff received notes

for only eighty-eight percent (88%) of classes for Plaintiff’s note-taking

accommodation.

                                       137.

      For the 2018-2019 academic school year at MSM, Plaintiff received a

2.68/4.00 GPA (Passing is 2.00/4.00). See Exhibit AN, Page 2.

                                       138.

      MSM failed in its duty to coordinate and manage Plaintiff’s note-taking

accommodation for the 2018-2019 academic school year.

                                       139.

      After Dr. Brandi Knight left MSM on or around the end of March of 2019,

Dezarae Blossomgame, Dr. Brandi Knight’s Program Manager at the OSLER, 2



2
 Defined in Paragraph 24 as Office of Student Learning and Educational
Resources
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took over some, if not all, of the duties of managing Plaintiff’s note-taking

accommodation.

                                         140.

      Only after Dr. Brandi Knight left MSM, on or around the end of March of

2019, was Marla Thompson purportedly then able to change the duties and

responsibilities of Plaintiff’s student notetakers, as she verbally stated to Plaintiff

on or around February 19, 2020 and February 26, 2020.

                                         141.

      The 24-48-hour turnaround time goal for notes per Plaintiff’s note-taking

accommodation was never measured or evaluated by either Marla Thompson or

Dr. Brandi Knight during the 2018-2019 academic school year at MSM.

                                         142.

      On or around July 20, 2018, MSM’s ODS requested that it needed an

updated psychological evaluation from Plaintiff because the 2017 psychological

evaluation was older than three years.

                                         143.

      In Plaintiff’s 2019 psychological evaluation, the issue of Plaintiff’s note-

taking accommodation was even noted, stating:

      “[Plaintiff] reported that [Plaintiff] [h]as accommodations in medical school
      including [a] notetaker, but revealed that [Plaintiff’s] medical school had not
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      previously granted the accommodation [to other students], meaning that the
      implementation is inconsistent. [Plaintiff] explained that [Plaintiff] often
      must wait a week or more for a copy of notes from a given class, reducing
      [Plaintiff’s] ability to use the notes in a timely manner.”

                                       144.

      In Plaintiff’s 2019 psychological evaluation, the examiner also stated,

      “Overall, [Plaintiff] exhibits many strengths from which to draw. In
      particular, [Plaintiff] demonstrated strong intellectual abilities. The
      prognosis for the academic success in medical school will be favorable if
      [Plaintiff] makes active use of appropriate academic accommodations and
      support services.”

                                       145.

      MSM’s ODS received and read Plaintiff’s 2019 psychological evaluation

and used this evaluation in its continuation of granting Plaintiff’s academic

accommodations.

                                       146.

      MSM’s ODS received and read Plaintiff’s 2019 psychological evaluation,

and yet the issues with Plaintiff’s note-taking accommodation persisted.


                    E. 2019-2020 ACADEMIC SCHOOL YEAR

                                       147.

      For the 2019-2020 academic school year (here and hereafter accounts for the

time period from August 13, 2019 to May 15, 2020), MSM’s Office of Disability


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Services granted Plaintiff the following accommodations: Private and/or

distraction-reduced testing room; Designated note-taker in classes; Access to audio

and video taped lectures; Double time for examinations and in-class assignments;

Breaks for examinations and in-class assignments; and, Preferential seating for

class. See Exhibit AI, Page 3.

                                        148.

        On or around August 13, 2019, Plaintiff started classes as a second-year,

decelerated part two of two, student at MSM for the 2019-2020 academic school

year.

                                        149.

        For the 2019-2020 academic school year, MSM more or less adequately

provided Plaintiff with notes per Plaintiff’s note-taking accommodation.

                                        150.

        The classes in Plaintiff’s first two years (2017-2018 and 2018-2019

academic school years) were necessary in developing Plaintiff’s understanding of

normal human physiology.

                                        151.

        The classes in Plaintiff’s 2019-2020 academic school year were about

developing Plaintiff’s understanding of abnormal human physiology.

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                                      152.

      Plaintiff was unable to properly learn and understand normal human

physiology in the 2017-2018 and 2018-2019 academic school years due to the

failings of MSM in providing for Plaintiff’s note-taking accommodation during the

2017-2018 and 2018-2019 academic school years.

                                      153.

      Plaintiff was unable to properly learn abnormal human physiology in the

2019-2020 academic school year due to the failings of MSM in providing for

Plaintiff’s note-taking accommodation in the 2017-2018 and 2018-2019 academic

school years.

                                      154.

      MSM told its students, including Plaintiff, that one cannot learn abnormal

human physiology without first learning and understanding normal human

physiology.

                                      155.

      The 24-48-hour turnaround time goal for notes per Plaintiff’s note-taking

accommodation was never measured or evaluated by either Marla Thompson or

anyone else at MSM during the 2019-2020 academic school year at MSM.




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                   F. RESOLUTION ATTEMPT BY PLAINTIFF

                                       156.

      On or around February 17, 2020, Plaintiff emailed Dr. Ngozi Anachebe,

Associate Dean of Admission and Student Affairs at MSM, a comprehensive

written complaint, with an attached detailed history of Plaintiff’s experiences at

MSM, regarding the concerns and problems Plaintiff had encountered, since

Plaintiff has been a student at MSM, regarding Plaintiff’s note-taking

accommodation (discrimination) and that Plaintiff wished to meet for discussion.

See Exhibit AT and Exhibit AU.

                                       157.

      On or around February 18, 2020, Dr. Ngozi Anachebe responded to

Plaintiff’s email, cc-ing Marla Thompson to her response so that Marla Thompson

was immediately privy to things Plaintiff said about Marla Thompson in Plaintiff’s

written complaint, stating that she did not handle accommodations and that

Plaintiff should contact Marla Thompson. See Exhibit AV.

                                       158.

      On or around February 18, 2020, Plaintiff subsequently emailed Marla

Thompson the same comprehensive written complaint, with an almost identical

attachment as used in the email sent to Dr. Ngozi Anachebe about Plaintiff’s


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experiences at MSM, regarding the concerns and problems Plaintiff had

encountered, since Plaintiff has been a student at MSM, regarding Plaintiff’s note-

taking accommodation (discrimination) and that Plaintiff wished to meet for

discussion. See Exhibit AW and Exhibit AX.

                                       159.

      On or around February 19, 2020 and February 26, 2020, Plaintiff met with

Marla Thompson who ultimately told Plaintiff that she could not address the

remedies Plaintiff was suggesting regarding the failures of MSM in providing for

Plaintiff’s note-taking accommodation for the 2017-2018 and 2018-2019 academic

school years.

                                       160.

      Additionally, when Plaintiff met with Marla Thompson on or around

February 19, 2020 and February 26, 2020, Marla Thompson informed Plaintiff that

on or around March of 2019, Marla Thompson was informed by, and supposedly

became first aware that, Dr. Brandi Knight, at all times during which Plaintiff had

been a student at MSM, had access to notes from notetakers of previous years and

chose not to provide these—or reveal her possession thereof to either Marla

Thompson or Plaintiff—as supplemental help to Plaintiff, when Dr. Brandi Knight,




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at the same time, was providing untimely notes to Plaintiff for Plaintiff’s note-

taking accommodation.

                                       161.

      In other words, students not registered with ODS, who are performing

poorly academically, can be mandated to join OSLER, and thus they would then

have access to OSLER’s resources such as notes from one of the OSLER student

notetakers, and Dr. Brandi Knight, as OSLER’s then Director, had access to notes

from previous years of the same classes Plaintiff was taking.

                                       162.

      On or around February 19, 2020 and February 26, 2020, Marla Thompson

told Plaintiff during their meeting that she needed to meet with Dr. Ngozi

Anachebe to discuss Plaintiff’s concerns.

                                       163.

      On or around March 5, 2020, Marla Thompson notified Plaintiff via email

that she had completed her discussion with Dr. Ngozi Anachebe about Plaintiff’s

concerns, that Dr. Ngozi Anachebe confirmed she understood Plaintiff’s concerns

correctly, and that Plaintiff should schedule a meeting with Dr. Ngozi Anachebe.

See Exhibit AY, Pages 2-3.




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                                        164.

      On or around March 13, 2020, Plaintiff met with Dr. Ngozi Anachebe

wherein, after she asked if Plaintiff was recording their conversation, she repeated

that she did not handle accommodations and had not, and would not, hear

Plaintiff’s concerns regarding Plaintiff’s note-taking accommodation. See Exhibit

AZ.

                                        165.

      On or around March 13, 2020, during Plaintiff’s meeting with Dr. Ngozi

Anachebe, despite Plaintiff explaining the depression, anxiety, and emotional

turmoil Plaintiff was experiencing, Dr. Ngozi Anachebe stated she did not want to

discuss Plaintiff’s medical situation. See Exhibit AZ.

                                        166.

      On or around March 13, 2020, during Plaintiff’s meeting with Dr. Ngozi

Anachebe, Plaintiff was informed that any leave of absence taken would only

freeze Plaintiff’s current progress and grades in Plaintiff’s current classes, and

Plaintiff would pick back up in the following academic year exactly where Plaintiff

left off in the current academic year with the same grades in place for the same

classes Plaintiff would be continuing. See Exhibit AZ.




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                                       167.

      On or around March 13, 2020, during Plaintiff’s meeting with Dr. Ngozi

Anachebe, Dr. Ngozi Anachebe also provided Plaintiff with the email address of

MSM’s Chief Compliance Officer, Keith Henderson. See Exhibit AZ.

                                       168.

      Plaintiff concluded that taking a leave of absence would not solve Plaintiff’s

problems because Plaintiff’s grades would not be fixed in that Plaintiff has

received poor grades 3 and developed only a poor and limited knowledgebase either

during times when Plaintiff’s note-taking accommodation was not being provided

during the 2017-2018 and 2018-2019 academic school years, or when the note-

taking accommodations was being provided in the 2019-2020 academic school

year but due to the effects of when MSM was not providing for Plaintiff’s note-

taking accommodation during the 2017-2018 and 2018-2019 academic school

years, learning the material in the 2019-2020 academic school year was, as MSM

has told its students, impossible. 4




3
  Having poor grades negatively impacts one’s ability to match into residency
programs.
4
  See Paragraph 154.
                                         55
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                                        169.

      On or around March 13, 2020, Plaintiff subsequently emailed Marla

Thompson about the ineffectiveness of Plaintiff’s meeting with Dr. Ngozi

Anachebe stating that Dr. Ngozi Anachebe was not aware, or did not reveal that

she was aware, of Plaintiff’s concerns, despite Marla Thompson previously stating

otherwise to Plaintiff, that Plaintiff was “left in a very uncomfortable situation

where [Plaintiff] was meeting with someone who did not want to, or could not,

hear [Plaintiff’s] concerns (because [Plaintiff’s] accommodations [were] the crux

of the matter),” that Plaintiff was “left perplexed here” because Plaintiff did not

know who could help Plaintiff, and sought answers about why the meeting turned

out the way it did. See Exhibit AY, Page 1.

                                         170.

      On or around March 16, 2020, Marla Thompson responded to Plaintiff via

email repeating that Plaintiff’s concerns were shared with Dr. Ngozi Anachebe and

stated that Plaintiff should use all of Plaintiff’s available resources, including

Plaintiff’s 227-page-long 2019-2020 MSM Student Handbook, in looking for a

solution to Plaintiff’s problem. See Exhibit AY, Page 1.



                                         171.

                                           56
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      Comparing Exhibit AY and Exhibit AZ, there exists untruthfulness and

collusion between the two accounts, with Marla Thompson stating to Plaintiff via

email that non-ODS decisions such as concerns involving tuition were shared with

Dr. Ngozi Anachebe and that Dr. Ngozi Anachebe correctly understood Plaintiff’s

concerns, while Dr. Ngozi Anachebe stated to both Marla Thompson and Plaintiff

via email that she was under the impression that she was only discussing MSM’s

academic policy to Plaintiff.

                                     172.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AW and Exhibit

AX) sent to Marla Thompson, MSM’s Title IX Coordinator, was not promptly

investigated.

                                     173.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AW and Exhibit

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AX) sent to Marla Thompson, MSM’s Title IX Coordinator, MSM never provided

Plaintiff with any written notification regarding the results of any investigation.

                                        174.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AW and Exhibit

AX) sent to Marla Thompson, MSM’s Title IX Coordinator, MSM did not take any

appropriate corrective actions.

                                        175.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Pages

37, 70-72), and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Pages 40,

71-73), Plaintiff’s written discrimination complaint (See Exhibit AW and Exhibit

AX) sent to Marla Thompson, MSM’s Title IX Coordinator, MSM did not follow

up as appropriate to ensure any remedial actions it instituted were effective.

                                        176.

      The actions of Marla Thompson and Dr. Ngozi Anachebe, regarding how

MSM chose to handle Plaintiff’s concerns regarding the failure of MSM in

                                          58
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accommodating Plaintiff’s disability (discrimination), were made for the sole

purposes of discriminating against Plaintiff and intimidating, threatening,

retaliating against, coercing, and interfering with Plaintiff's exercise or enjoyment

of, or on account of Plaintiff having exercised or asserted, Plaintiff’s rights under

the disability rights statutes.

                                        177.

       At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 68), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 72), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 73) has stated, under the “Prohibition Against

Retaliation” subheading, under the “Nondiscrimination and Anti-Harassment

Policies” heading, that,

       “Anyone who, in good faith, reports what s/he believes to be discrimination
       or harassment, who participates or cooperates in any investigation, or who
       otherwise opposes unlawful conduct believed to be in violation of this policy
       will not be subjected to retaliation. Anyone who believes he or she has been
       the victim of retaliation for reporting discrimination or harassment,
       participating or cooperating in an investigation or otherwise opposing
       unlawful conduct believed to be in violation of this policy should
       immediately contact the Title IX Coordinator [Marla Thompson] or the
       Deputy Title IX Coordinator, who have authority to investigate all such
       claims. Any individual found to have retaliated against another individual
       who engaged in conduct consistent with the protections afforded under this
       Policy will be in violation of this policy and will be subject to disciplinary
       action.”

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         G. COMPLIANCE COMPLAINT AND DISMISSAL HEARING

                                      178.

      On or around March 16, 2020, Plaintiff emailed Keith Henderson, MSM’s

Chief Compliance Officer, Keith Henderson chose not to respond to Plaintiff. See

Exhibit BA and Exhibit BB, Page 2.

                                      179.

      On or around March 28, 2020, Plaintiff filed an internal compliance

complaint to MSM’s Office of Compliance regarding the failure of MSM in timely

providing for Plaintiff’s note-taking accommodation and for the attempts to

conceal and retaliatory acts described in subdivision heading F, “RESOLUTION

ATTEMPT BY PLAINTIFF.” See Exhibit BB, Pages 1-7.

                                      180.

      The investigation regarding Plaintiff’s compliance complaint filed on or

around March 28, 2020, has at all times been conducted by Alecia Bell, who

became MSM’s Interim Chief Compliance Officer on or around April of 2020.

                                      181.

      Plaintiff would end up failing Plaintiff’s classes during the 2019-2020

academic school year (See Exhibit AN, Page 3) due to the failings of MSM in

providing for Plaintiff’s note-taking accommodation in the 2017-2018 and 2018-


                                        60
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2019 academic school years, for reasons as explained in subdivision heading E,

“2019-2020 ACADEMIC SCHOOL YEAR,” and due to Plaintiff’s time being

spent on seeking resolutions for such failings as described in all paragraphs herein

and the toll it was taking on Plaintiff (See Exhibit BC, Pages 2-3).

                                       182.

      On or around May 27, 2020, Plaintiff advised Alecia Bell via phone

conversation that MSM may attempt to dismiss Plaintiff for failing Plaintiff’s

classes for the 2019-2020 academic school year, and that she should contact Dr.

Brenda Klement, Student Academic Progress and Promotion (hereafter referred to

as “SAPP”) Committee Chair, to inform her that Plaintiff has an open and ongoing

investigation regarding a compliance complaint Plaintiff filed on or around March

28, 2020, about the failure of MSM in timely providing for Plaintiff’s note-taking

accommodation.

                                       183.

      On or around May 27, 2020, Alecia Bell communicated to Plaintiff that she

would contact Dr. Brenda Klement.

                                       184.

      On or around May 29, 2020, while Plaintiff’s compliance complaint about

MSM’s failure to accommodate Plaintiff was still being investigated by Alecia

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Bell, MSM notified Plaintiff via email that there was a dismissal hearing scheduled

against Plaintiff for June 16, 2020. See Exhibit BD, Page 1.

                                      185.

      This notification of a dismissal hearing scheduled against Plaintiff was cc-ed

to Dr. Ngozi Anachebe, Dr. Brenda Klement, and Plaintiff’s two advisors: Dr.

Robert Sloviter and Dr. Chevon Brooks. See Exhibit BD, Page 3.

                                      186.

      On or around May 30, 2020, Plaintiff notified the person in charge of the

dismissal hearing, Dr. Brenda Klement, via email that Plaintiff has an open and

ongoing investigation regarding a compliance complaint Plaintiff filed on or

around March 28, 2020, about the failure of MSM in providing for Plaintiff’s note-

taking accommodation. See Exhibit BE, Pages 2-3.

                                      187.

      Plaintiff’s notice to Dr. Brenda Klement was cc-ed to Dr. Ngozi Anachebe,

Alecia Bell, and Plaintiff’s two advisors: Dr. Robert Sloviter and Dr. Chevon

Brooks. See Exhibit BE, Pages 2-3.

                                      188.

      Plaintiff complained to both Dr. Brenda Klement, via email (See Exhibit BE,

Pages 2-3), and Alecia Bell, via email (See Exhibit BF, Pages 1-2) and via phone

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conversations, about the prejudicial nature of having a dismissal hearing before the

investigative conclusion of an already filed compliance complaint regarding the

failure of MSM in accommodating Plaintiff’s disability, and the purpose altogether

of a dismissal hearing when MSM failed to provide for Plaintiff’s note-taking

accommodation.

                                       189.

      On or around May 31, 2020, Alecia Bell claimed to Plaintiff via email that

she had not yet reached out to Dr. Brenda Klement (See Exhibit BF, Page 1), and

on or around June 1, 2020, Alecia Bell reported to Plaintiff via email that she

would reach out to Dr. Brenda Klement later that day (See Exhibit BF, Page 1).

                                       190.

      Later on or around June 1, 2020, Dr. Brenda Klement reached out to

Plaintiff informing Plaintiff via email that after speaking with Alecia Bell, MSM

needed to continue with the dismissal hearing until someone told her that it should

be postponed or cancelled. See Exhibit BE, Page 2.

                                       191.

      On or around June 1, 2020, when Plaintiff subsequently asked Dr. Brenda

Klement via email who at MSM had the authority to postpone or cancel the




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dismissal hearing, Dr. Brenda Klement chose not to respond to Plaintiff. See

Exhibit BE, Pages 1-2.

                                      192.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 70), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 74), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 75), has stated, under the “Compliance Hotline”

heading, that,

      “[MSM] is an organization with strong values of responsibility and integrity.
      Our written standards and policies contain general guidelines for conducting
      business with the highest standards of ethics. The institution is committed to
      an environment where open, honest communications are the expectation, not
      the exception.”

                                      193.

      On or around June 5, 2020, Alecia Bell notified Plaintiff via phone that Dr.

Brenda Klement and herself both decided that since there was supposedly not a

process in place at MSM concerning dismissal hearings where the student also has

an ongoing compliance investigation, and because Alecia Bell supposedly still did

not have enough information collected from other parties at MSM about Plaintiff’s

then two-plus-month-old compliance complaint, the dismissal hearing against

Plaintiff would continue as scheduled. See Exhibit BG.

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                                        194.

      On or around June 5, 2020, Alecia Bell also notified Plaintiff via phone that

despite ODS having more or less agreed to the facts in Plaintiff’s compliance

complaint about MSM’s failure to accommodate Plaintiff, the dismissal hearing

against Plaintiff would continue as scheduled.

                                        195.

      On or around June 5, 2020, Alecia Bell advised Plaintiff via phone that

during the dismissal hearing, Plaintiff should disclose all of the details about

Plaintiff’s compliance complaint, regarding the failures of MSM in

accommodating Plaintiff, to all members of the dismissal hearing.

                                        196.

      This is despite MSM’s 2017-2018 Student Handbook (See Exhibit AD, Page

70), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Page 74), and MSM’s

2019-2020 Student Handbook (See Exhibit AF, Page 75), under the “Compliance

Hotline” heading, stating that in a compliance complaint, “[a]ll information

provided will remain confidential.”

                                        197.

      After Plaintiff was on notice for fourteen (14) days that MSM intended to

have a dismissal hearing against Plaintiff, which caused Plaintiff significant

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emotional distress, Dr. Brenda Klement notified Plaintiff on or around June 12,

2020, via email that the dismissal hearing scheduled for June 16, 2020, had been

postponed until a later time. Exhibit BE, Page 1.

                                        198.

       Plaintiff was not offered any explanation as to why the dismissal hearing

was now postponed - nor has a reason ever been offered by anyone at MSM. See

Exhibit BE, Page 1.

                                        199.

       The actions of MSM, in its desire to have a dismissal hearing before the

investigative conclusion of a previously filed compliance complaint, regarding the

failure of MSM in accommodating Plaintiff’s disability, were made for the sole

purposes of discriminating against Plaintiff and intimidating, threatening,

retaliating against, coercing, and interfering with Plaintiff's exercise or enjoyment

of, or on account of Plaintiff having exercised or asserted Plaintiff’s rights under

the disability rights statutes.

                                        200.

       On or around June 19, 2020, Alecia Bell notified Plaintiff via phone that the

investigation regarding Plaintiff’s compliance complaint, filed on or around March

28, 2020, had been concluded and that a written report would be prepared by the

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middle of the week of June 22, 2020, and that she would present her report to

MSM’s legal department during the week of June 29, 2020.

                                      201.

      On or around June 19, 2020, Alecia Bell also notified Plaintiff via phone that

for the events that Plaintiff was subjected to by Marla Thompson and Dr. Ngozi

Anachebe in subdivision heading F, “RESOLUTION ATTEMPT BY

PLAINTIFF,” from on or around February 17, 2020, to on or around March 16,

2020, Alecia Bell stated that she could not respond as to why this happened from

the responses Marla Thompson and Dr. Ngozi Anachebe provided to her. See

Exhibit BH, Pages 1-4.

                                      202.

      On or around June 19, 2020, Alecia Bell additionally stated that she believes

“greater understanding around the requirements of the ADA is necessary for all

involved in academia and have encouraged more training from our ODS office in

general,” as she confirmed in her email to Plaintiff on or around June 24, 2020. See

Exhibit BH, Pages 1-4.

                                      203.

      After their phone meeting on around June 19, 2020, Plaintiff subsequently

asked Alecia Bell via email on or around June 19, 2020, if Plaintiff would be

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provided a copy of this written report, to which Alecia Bell responded on or around

June 23, 2020, that Plaintiff would not be provided a copy since the reports were

internal confidential documents (See Exhibit BI), despite Alecia Bell telling

Plaintiff on or around May 27, 2020, that Plaintiff would receive documentation

about Alecia Bell’s investigation (See Exhibit BC, Page 1).

                                       204.

      On or around July 1, 2020, Alecia Bell notified Plaintiff via email that her

meeting with the legal department had been delayed until the early part of the week

of July 6, 2020, but that the legal department had her report and would be ready to

review and discuss during their meeting. See Exhibit BJ.

                                       205.

      On or around July 6, 2020, Alecia Bell emailed Plaintiff stating that Plaintiff

would now be receiving, by the end of the week of July 13, 2020, a summary of

her findings, as a written letter of determination (See Exhibit BK), despite telling

Plaintiff the contrary on or around June 19, 2020 (See Exhibit BI).

                                       206.

      On or around July 9, 2020, Plaintiff asked Alecia Bell what the difference

was between the report she provided to MSM’s legal department and the written




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letter of determination she would be providing to Plaintiff, Alecia Bell chose not to

respond to Plaintiff. See Exhibit BL.

                                        207.

       Despite Plaintiff being asked by Alecia Bell, MSM’s Interim Chief

Compliance Officer, via phone meeting on or around June 19, 2020, to give MSM

an opportunity to provide some solutions with regards to Plaintiff’s compliance

complaint (See Exhibit BN, Page 2), MSM notified Plaintiff on or around July 13,

2020, that upon advisement by the Office of Compliance (Alecia Bell, MSM’s

Interim Chief Compliance Officer), Plaintiff’s previously postponed dismissal

hearing was now rescheduled for July 28, 2020. See Exhibit BM, Pages 1-5.

                                        208.

       Plaintiff was not offered any explanation as to why the dismissal hearing

was now rescheduled - nor has a reason ever been offered by anyone at MSM. See

Exhibit BM, Pages 1-5.

                                        209.

       This notification of a rescheduled dismissal hearing scheduled against

Plaintiff was cc-ed to Dr. Ngozi Anachebe, Dr. Brenda Klement, and Plaintiff’s

two advisors: Dr. Robert Sloviter and Dr. Chevon Brooks. See Exhibit BM, Pages

1-5.

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                                       210.

       MSM has failed to adopt and publish grievance procedures providing for

prompt and equitable resolution of complaints under the Rehabilitation Act and the

ADA.

                                       211.

       On or around June 26, 2020, and June 29, 2020, Plaintiff emailed Alecia

Bell and asked for more clarity about the processes and procedures regarding

MSM’s Office of Compliance and Office of General Counsel in investigating and

dealing with Plaintiff’s compliance complaint. See Exhibit BN, Pages 1-2.

                                       212.

       On or around June 29, 2020, Alecia Bell stated she did not have answers to

any of Plaintiff’s questions, when in fact Alecia Bell knew the answers to at the

very least Plaintiff’s first and second question, because it was the process and

procedure Alecia Bell was carrying out. See Exhibit BN, Pages 1-2.

                                       213.

       On or around July 14, 2020, Alecia Bell submitted her conclusory findings,

regarding Plaintiff’s three-plus-month-old compliance complaint, in her written

letter of determination emailed to Plaintiff. See Exhibit BO.

                                       214.

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      In Alecia Bell’s written letter of determination sent to Plaintiff, Alecia Bell

made numerous erroneous, misleading, unclear, arbitrary, self-serving, and false

findings including, but not limited to, the issues described in the following eleven

(10) paragraphs. See Exhibit BO.

                                       215.

      In Alecia Bell’s written letter of determination to Plaintiff, Alecia Bell failed

to address the portion of Plaintiff’s compliance complaint outlining MSM’s

attempts to conceal and retaliatory acts made against Plaintiff (See Exhibit BB,

Pages 1-2), events which are described in subdivision heading F, “RESOLUTION

ATTEMPT BY PLAINTIFF.” See Exhibit BO, Pages 2-3.

                                       216.

      In Alecia Bell’s written letter of determination to Plaintiff, Alecia Bell states

in her third bullet of key findings that, “By August of 2017 [Plaintiff] was

receiving notes, however, those notes were not provided to [Plaintiff] within 24-48

hours of each class.” See Exhibit BO, Page 2.

                                       217.

      This key finding of Alecia Bell completely ignores the key fact that Plaintiff

did not always receive notes per Plaintiff’s note-taking accommodation (See

Paragraphs 106 and 136), and Plaintiff communicated this fact extensively to

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Alecia Bell, including but not limited to, in Plaintiff’s communications with Alecia

Bell and in Plaintiff’s compliance complaint (See Exhibit BB, Pages 1, 3, and 4).

                                       218.

      In Alecia Bell’s written letter of determination to Plaintiff, Alecia Bell states

in her fourth bullet of key findings that, “OSLER continued to provide notes to

accommodated students.” 5 See Exhibit BO, Page 2.

                                       219.

      This key finding of Alecia Bell completely ignores the key facts that

Plaintiff did not always receive notes per Plaintiff’s note-taking accommodation

(See Paragraphs 106 and 136) and that these notes were not timely (See Paragraphs

105 and 135), and Plaintiff communicated this fact extensively to Alecia Bell,

including but not limited to, in Plaintiff’s communications with Alecia Bell and in

Plaintiff’s compliance complaint (See Exhibit BB, Pages 1, 3, and 4).

                                       220.

      In Alecia Bell’s written letter of determination to Plaintiff, Alecia Bell states

in her fourth bullet of key findings that, “Under the supervision of a new director,




5
 OSLER is Defined in Paragraph 24 as Office of Student Learning and
Educational Resources
                                          72
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OSLER provides notes to accommodated students within a 24-48 hour period of

each class and includes an email notification.” See Exhibit BO, Page 2.

                                       221.

      This key finding of Alecia Bell is misleading in that MSM has not conducted

any of its own analysis and this supposed key finding is mere speculation rather

than a finding of fact.

                                       222.

      This key finding of Alecia Bell is misleading in that during the initial stages

of the investigation regarding Plaintiff’s compliance complaint, OSLER

communicated to Alecia Bell that notes were provided weekly to students (See

Exhibit BB, Pages 5-6), not within a 24-48 hour period of each class, which is

contrary to Alecia Bell’s key finding here.

                                       223.

      In Alecia Bell’s written letter of determination to Plaintiff, Alecia Bell states

that, “Compliance has determined that OSLER resolved the complaint, March 22,

2019. OSLER continues to provide class notes within 24-48 hours, meeting

MSM’s requirement to provide auxiliary aids and services to ensure effective

participation in the medical school program.” See Exhibit BO, Page 3.




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                                       224.

      This statement made by Alecia Bell is at best self-serving in that nowhere in

Alecia Bell’s written letter of determination is it ever stated with such emphasis

and clarity that MSM did not meet its requirements to provide auxiliary aids and

service to ensure effective participation of Plaintiff in MSM’s medical school

program during Plaintiff’s 2017-2018 and 2018-2019 academic school years,

despite ‘OSLER resolving a complaint,’ nor does Alecia Bell’s written letter of

determination mention anything about the issues Plaintiff brought up in the

compliance complaint as a result of MSM’s failings, including but not limited to,

Plaintiff’s poor grades, Plaintiff’s poor knowledgebase, and Plaintiff receiving

financial injury (See Exhibit BB).

                                       225.

      On information and belief, Plaintiff’s compliance complaint is being swept

under the rug due to MSM’s current reaffirmation of its accreditation with the

Southern Association of Colleges and Schools Commission on Colleges

(SACSCOC) (See Exhibit BP, Pages 1-2), and due to MSM’s current reaffirmation

of its accreditation with the Liaison Committee on Medical Education (LCME)

(See Exhibit BP, Pages 3-7).




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                                           226.

      On information and belief, Alecia Bell intentionally made numerous

erroneous, misleading, unclear, arbitrary, self-serving, and false findings in her

written letter of determination so as to preclude Plaintiff from being able to rely on

it during Plaintiff’s dismissal hearing.

                                           227.

      Despite Plaintiff being asked by Alecia Bell via phone meeting on or around

June 19, 2020, to give MSM an opportunity to provide some solutions with regards

to Plaintiff’s compliance complaint (See Exhibit BN, Page 2), MSM has not made

any attempted resolutions regarding Plaintiff’s compliance complaint and

accordingly, Plaintiff has been precluded from being a student for the 2020-2021

academic school year.

                                           228.

      On or around July 16, 2020, per the instructions on Page 5 of Exhibit BM, in

preparation for Plaintiff’s dismissal hearing, Plaintiff emailed Dr. Ngozi Anachebe,

Associate Dean for Admission and Student Affairs, and asked if the dismissal

hearing committee members will have access to Plaintiff’s compliance complaint,

and the findings made by the Office of Compliance, to which Dr. Ngozi Anachebe

responded on or around July 16, 2020, that Plaintiff’s dismissal hearing is an

                                            75
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academic hearing and the “Compliance Office, Office of Disability Services,

Student Health Services, Morehouse Health Care, and Office of Counseling

Services are not involved and their records are not part of [Plaintiff’s] academic

records.” See Exhibit BQ, Pages 1-3.

                                       229.

      On or around July 28, 2020, MSM held a dismissal hearing against Plaintiff.

See Exhibit BM.

                                       230.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 101), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 107), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 108), has stated, under the “Dismissal and

Suspension” subheading, under “The Student Academic Progress & Promotion

Committee (SAPP)” heading, that,

      “The student is invited to appear in person to present their case, evidence,
      and context for the academic deficiencies. All documentary evidence
      pertinent to their case against dismissal must be provided to the Chair of the
      SAPP committee by the start of the dismissal hearing.”

                                       231.

      In accordance with the preceding paragraph, on or around July 28, 2020,

Plaintiff emailed six (6) exhibits, which are attached hereto as one collective
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exhibit (See Exhibit BR, Pages 1-29), to Dr. Brenda Klement, SAPP Committee

Chair. See Exhibit BS.

                                       232.

      On or around July 28, 2020, Dr. Brenda Klement subsequently emailed

Plaintiff asking, “Are you going to present this information during the hearing? Do

you want me to show them to the committee on the screen as you go through each

one? Or should the committee review the documents before you join the meeting?”

See Exhibit BS.

                                       233.

      On or around July 28, 2020, Plaintiff responded to Dr. Brenda Klement’s

email stating that, “Ideally I would like the committee to look them over before the

hearing. It could make things a lot easier for everyone,” to which Dr. Brenda

Klement responded via email with “ok, got it!” See Exhibit BS.

                                       234.

      At the start of Plaintiff’s dismissal hearing on or around July 28, 2020,

Plaintiff was informed, without warning, by Dr. Brenda Klement that the

committee members had not, and were not, going to look over Plaintiff’s dismissal

hearing exhibits before the hearing, despite Dr. Brenda Klement affirming that they

would (See Exhibit BS), and with no explanation as to why this decision was being

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made when Plaintiff was previously asked what method of disseminating

Plaintiff’s dismissal hearing exhibits Plaintiff wanted.

                                        235.

      At the start of Plaintiff’s dismissal hearing on or around July 28, 2020,

Plaintiff was informed, without warning, by Dr. Brenda Klement that the exhibits

were to remain in Dr. Ngozi Anachebe’s and Dr. Martha Elks’s, Senior Associate

Dean of Educational Affairs, possession.

                                        236.

      At the start of Plaintiff’s dismissal hearing on or around July 28, 2020,

Plaintiff was informed, without warning, by Dr. Brenda Klement that the exhibits

would only be available for viewing by the dismissal hearing’s committee

members if Dr. Brenda Klement shared her screen to these committee members

during Plaintiff’s dismissal hearing.

                                        237.

      Plaintiff was without recourse for this surprise decision by MSM and its

indifference of disseminating Plaintiff’s dismissal hearing exhibits to the dismissal

hearing’s committee members prior to Plaintiff’s dismissal hearing.




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                                       238.

      Plaintiff gave an oral account of everything discussed in Plaintiff’s dismissal

hearing exhibits, including but not limited to, Plaintiff’s reasonable note-taking

accommodation that MSM granted to Plaintiff, MSM’s failure in providing for

Plaintiff’s reasonable note-taking accommodation as described herein, Plaintiff’s

written complaints sent to MSM’s Title IX Coordinator (Marla Thompson) as

described herein, and MSM’s failure in handling said complaints despite MSM’s

commitments and policies as outlined in MSM’s 2017-2018 Student Handbook

(See Exhibit AD, Pages 35, 65-68), MSM’s 2018-2019 Student Handbook (See

Exhibit AE, Pages 37, 70-72), and MSM’s 2019-2020 Student Handbook (See

Exhibit AF, Pages 40, 71-73) as described herein, and in the event any of the

committee members wanted to see any of Plaintiff’s dismissal hearing exhibits

(See Exhibit BR), Plaintiff would ask Dr. Brenda Klement to share her screen to

the committee members.

                                       239.

      No committee members ever asked to see any of Plaintiff’s dismissal

hearing exhibits during Plaintiff’s dismissal hearing.




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                                        240.

      During Plaintiff’s dismissal hearing on or around July 28, 2020, at least one

committee member determined Plaintiff’s reasonable note-taking accommodation,

granted by MSM, as non-essential because Plaintiff had textbooks.

                                        241.

      During Plaintiff’s dismissal hearing on or around July 28, 2020, at least one

committee member determined Plaintiff’s reasonable note-taking accommodation,

granted by MSM, as non-essential because Plaintiff had access to class recordings.

                                        242.

      During Plaintiff’s dismissal hearing on or around July 28, 2020, Plaintiff

continually stressed that Plaintiff’s note-taking accommodation was necessary to

ensure Plaintiff had meaningful access to MSM’s medical school program.

                                        243.

      During Plaintiff’s dismissal hearing on or around July 28, 2020, Plaintiff

continually stressed that failing to provide for Plaintiff’s note-taking

accommodation, that MSM had granted to Plaintiff for the entirety of Plaintiff’s

medical school education, was very clear disability discrimination.




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                                        244.

      During Plaintiff’s dismissal hearing on or around July 28, 2020, Plaintiff

continually stressed that the time periods in which MSM failed to provide

Plaintiff’s note-taking accommodation were necessary for Plaintiff to learn and

understand normal human physiology; and that MSM has told its students that one

cannot learn abnormal human physiology (the classes Plaintiff failed during the

2019-2020 academic school year) without first learning normal human physiology.

                                        245.

      During Plaintiff’s dismissal hearing on or around July 28, 2020, Plaintiff

also spoke about further attempts made by Plaintiff since January of 2020 to find

resolutions to the problems Plaintiff was experiencing including, but not limited to,

Plaintiff’s time spent combing through two plus years of emails, compiling and

conducting analytics with regards to Plaintiff’s note-taking accommodation for the

2017-2018 and 2018-2019 academic school years, Plaintiff’s meetings with Marla

Thompson and Dr. Ngozi Anachebe, Plaintiff filing a compliance complaint, and

Plaintiff sharing to Marla Thompson and Dr. Ngozi Anachebe Plaintiff’s feelings

of depression, anxiety, and panic attacks with regards to this entire situation.




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                                       246.

      On or around July 28, 2020, Plaintiff was later notified via phone by Dr.

Kennie Shepherd that Plaintiff was being dismissed from MSM.

                                       247.

      On or around July 30, 2020, Plaintiff received written notification of

Plaintiff’s dismissal from MSM’s medical school program. See Exhibit BT.

                                       248.

      In its dismissal letter to Plaintiff, MSM alleges,

      “After careful consideration of the information you presented during the
      hearing, the written information you submitted to the committee (Exhibits
      A-F) [Plaintiff’s Exhibit BR], and your academic transcript, the committee
      voted to dismiss you from Morehouse School of Medicine. The decision was
      based on the school’s policy of receiving a final grade of D or F while in the
      decelerated track, and for receiving two or more final grades of D or F (Page
      107, iii and viii, respectively, 2019-2020 Student Handbook) [Plaintiff’s
      Exhibit AF].” See Exhibit BT, Page 2.

                                       249.

      In its dismissal letter to Plaintiff, MSM also alleges,

      “In addition, MSM has a policy that the 1st and 2nd Year Curriculum will
      consist of no more than 36 months excluding any leave of absence (Page
      104, b. 2019-2020 Student Handbook) [Plaintiff’s Exhibit AF], and you
      have reached this time limit.” See Exhibit BT, Page 2.




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                                      250.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 101, MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 107), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 108) has stated, under the “Dismissal and

Suspension” subheading, under “The Student Academic Progress & Promotion

Committee (SAPP)” heading, that, “The Chair of the SAPP committee will provide

written information on the reasons for the dismissal hearing.”

                                      251.

      Plaintiff was never notified or provided written information (See Exhibit

BD, Page 4, and Exhibit BM, Page 4) that one of the reasons for MSM’s dismissal

hearing against Plaintiff, and one of the reasons MSM’s dismissal of Plaintiff

would ultimately be for, was that “MSM has a policy that the 1st and 2nd Year

Curriculum will consist of no more than 36 months excluding any leave of absence

(Page 104, b. 2019-2020 Student Handbook) [Plaintiff’s Exhibit AF], and [Plaintiff

had] reached this time limit,” (See Exhibit BT, Page 2).

                                      252.

      In violation of MSM’s 2017-2018 Student Handbook (See Exhibit AD, Page

101), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Page 107), and

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MSM’s 2019-2020 Student Handbook (See Exhibit AF, Page 108), MSM did not

give Plaintiff notice and an opportunity to present Plaintiff’s case, evidence, and

context, regarding this particular reason Plaintiff was dismissed from MSM, nor

was it ever brought up by anyone during Plaintiff’s dismissal hearing.

                                        253.

      On information and belief, MSM has allowed other students to spend more

than 36 months during their 1st and 2nd Year Curriculum.

                                        254.

      On information and belief, other students have been told by MSM all the

reasons for their dismissal hearings and have thus been able to properly present

their case, evidence, and context in their dismissal hearings.

                                        255.

      The acts and omissions of MSM, described herein, were either done with

intentional animus or with deliberate indifference to the protected rights of Plaintiff

as a person with disabilities.

                                        256.

      MSM knew that harm to Plaintiff’s federally protected rights was

substantially likely as a result of MSM’s actions and inactions, and MSM failed to

act on that likelihood.

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                                         257.

       The actions of MSM, in its desire and commitment to dismiss Plaintiff, after

knowing of MSM’s discrimination of Plaintiff, were made for the sole purposes of

discriminating against Plaintiff and intimidating, threatening, retaliating against,

coercing, and interfering with Plaintiff's exercise or enjoyment of, or on account of

Plaintiff having exercised or asserted Plaintiff’s rights under the disability rights

statutes.

                                         258.

       The actions of MSM, in its desire and commitment to dismiss Plaintiff,

despite Alecia Bell asking Plaintiff on June 19, 2020, to give MSM an opportunity

to provide some solutions for Plaintiff’s compliance complaint (See Exhibit BN,

Page 2) regarding the failure of MSM in accommodating Plaintiff’s disability,

were made for the sole purposes of discriminating against Plaintiff and

intimidating, threatening, retaliating against, coercing, and interfering with

Plaintiff's exercise or enjoyment of, or on account of Plaintiff having exercised or

asserted Plaintiff’s rights under the disability rights statutes.

                                         259.

       The actions of MSM, in its desire and commitment to dismiss Plaintiff,

despite knowing that MSM has treated Plaintiff’s written discrimination

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complaints with indifference, were made for the sole purposes of discriminating

against Plaintiff and intimidating, threatening, retaliating against, coercing, and

interfering with Plaintiff's exercise or enjoyment of, or on account of Plaintiff

having exercised or asserted Plaintiff’s rights under the disability rights statutes.

                                        260.

      Plaintiff has currently lost four years due to the actions and inactions of

MSM (two years due to MSM’s failure in accommodating Plaintiff in the 2017-

2018 and 2018-2019 academic school years; one year, the 2019-2020 academic

school year, due to the effects of MSM’s failure in accommodating Plaintiff in the

prior two years; and one year due to Plaintiff not being able to register as a student

for the 2020-2021 academic school year).

                                        261.

      In its dismissal of Plaintiff, MSM has taken away any reasonable

opportunity for Plaintiff to ever study medicine, without corrective relief from

MSM.

                                        262.

      Plaintiff would like to complete Plaintiff’s education at MSM and obtain a

medical degreed degree with the same range of opportunities, to perform Plaintiff’s

best, and to receive the same access to information in order to be able to make the

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most of Plaintiff’s degree as any other student at MSM, free from discriminatory

and retaliatory actions.

                                       263.

      As a result of the uncertainty of Plaintiff’s future as a medical student due to

the discrimination by MSM, as of the end of May of 2020, Plaintiff has been

forced to move to Plaintiff’s parent’s residence in a metro county distant from

MSM.

                                       264.

      As a result of the discrimination and denial of effective and appropriate

auxiliary aids and services, the retaliation against Plaintiff, as well as MSM’s

discriminatory dismissal of Plaintiff, Plaintiff has experienced actual damages,

non-economic damages, loss of educational opportunities, loss of employment

opportunities, loss of research opportunities, loss of future income, increased

financial debt, embarrassment, humiliation, emotional harm, mental and physical

pain, and anguish




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         H. STUDENT LOANS, HEALTH INSURANCE, INFORMATION
                   TECHNOLOGY ACCESS, AND OTHER


                                         265.

      In the Summer of 2021, Plaintiff was supposed to graduate with a medical

degree from MSM.

                                         266.

      In the event Plaintiff is reinstated as a student in MSM’s medical school

program, Plaintiff will have prior private student loans that will go into repayment,

regardless of if Plaintiff is in school, in or around Summer of 2021.

                                         267.

      During the course of Plaintiff’s compliance complaint and investigation,

Plaintiff has communicated the status of what will happen with Plaintiff’s private

student loans to MSM.

                                         268.

      MSM has placed Plaintiff in a financially impossible position in that when

Plaintiff is allowed to restart Plaintiff’s medical school education, after MSM’s

discrimination of Plaintiff, Plaintiff will have to start paying back Plaintiff’s prior

private student loans while simultaneously attending MSM, which prohibits its

students from obtaining employment if enrolled as a medical school student.


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                                        269.

      MSM has further currently placed Plaintiff in a financially impossible

position in that due to MSM’s failure to adopt and publish grievance procedures

that incorporate due process standards and that provide for the prompt and

equitable resolution of Plaintiff’s complaint, all of Plaintiff’s loans, private and

federal, obtained prior to Plaintiff’s enrollment at MSM and during Plaintiff’s

enrollment at MSM, will go into repayment since Plaintiff is not currently enrolled

as a student at MSM.

                                        270.

      MSM has placed Plaintiff in a financially impossible position in that all of

Plaintiff’s loans, private and federal, obtained prior to Plaintiff’s enrollment at

MSM and during Plaintiff’s enrollment at MSM, will go into repayment since

Plaintiff is not currently enrolled as a student at MSM, and due to the actions and

inactions of MSM, Plaintiff has not received a medical degree.

                                        271.

      On or around May 27, 2020, Plaintiff asked Alecia Bell via phone

conversation to look into what will happen to Plaintiff’s health insurance, under

MSM, during her compliance investigation and any other events that may follow




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regarding the resolution of Plaintiff’s issues regarding Plaintiff’s academic

accommodations. See Exhibit BU, Pages 1-2.

                                       272.

      On or around May 27, 2020, Alecia Bell stated to Plaintiff via phone

conversation that she would look into the status of Plaintiff’s health insurance. See

Exhibit BU, Pages 1-2.

                                       273.

      On or around June 30, 2020, Plaintiff asked Alecia Bell via email what she

found out regarding the status of Plaintiff’s health insurance. See Exhibit BU,

Pages 1-2.

                                       274.

      On or around June 30, 2020, Alecia Bell subsequently notified Plaintiff via

email that she had not looked into, nor had the answer, regarding what will happen

to Plaintiff’s health insurance, and told Plaintiff that she recommended that

Plaintiff look into it. See Exhibit BU, Pages 1-2.

                                       275.

      On or around June 30, 2020, Plaintiff, later that day, found out that

Plaintiff’s last day of health insurance coverage was that very same day, June 30,

2020. See Exhibit BV.

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                                        276.

      MSM, a medical school, has placed Plaintiff, one of its students, who has a

disability, in a financially and medically disadvantageous position in that Plaintiff

was given no warning of when Plaintiff’s health insurance benefits would end,

despite Plaintiff asking for answers about what will happen to Plaintiff’s health

insurance on or around May 27, 2020 (See Exhibit BU, pages 1-2), leaving

Plaintiff uninsured for the month of July 2020, and unable to secure health

insurance until August of 2020, during the global COVID-19 pandemic.

                                        277.

      MSM has placed Plaintiff, who has a disability, in a financially and

medically disadvantageous position in that Plaintiff lost access to Plaintiff’s

doctors and Plaintiff has had to use medications with less frequency than

prescribed due to their uninsured high costs because MSM cancelled Plaintiff’s

health insurance without any warning, despite Plaintiff asking for answers about

what will happen to Plaintiff’s health insurance on or around May 27, 2020 (See

Exhibit BU, Pages 1-2), during the global COVID-19 pandemic.

                                        278.

      On or around July 2, 2020, in response to Plaintiff losing health insurance

coverage without any warning, Plaintiff fearfully emailed Alecia Bell, stating that

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Plaintiff could not deal with any more surprises, and that Plaintiff needed some

assurances that Plaintiff will continue to have access to Plaintiff’s school email and

laptop computer (which will become Plaintiff’s own laptop computer after

graduating but currently requires a MSM-issued password to access and use) at

least until the resolution of Plaintiff’s issues with MSM. See Exhibit BW, Pages 1-

2.

                                        279.

      On or around July 2, 2020, in response to Plaintiff’s email, Alecia Bell

responded via email (with Marla Thompson cc-ed) stating, “I’ll work with Marla

Thompson to see how this can be addressed. I do not believe that your email or use

of your laptop will be restricted unless or until you are dismissed from the

institution.” See Exhibit BW, Pages 1-2.

                                        280.

      On or around July 2, 2020, Marla Thompson subsequently responded to

Alecia Bell via email (with Plaintiff cc-ed) stating, “I will engage the Registrar so

you have clarity on how they manage this process. We will do what we are able to

so [Plaintiff] is aware of this information today.” See Exhibit BW, Pages 1-2.

                                        281.




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      Plaintiff has never heard back from anyone at MSM about whether Plaintiff

will continue to have access to Plaintiff’s school email and laptop computer.

                                        282.

      On or around June 30, 2020, and on or around July 1, 2020, due to the

possibility of Plaintiff needing to return to campus to possibly meet with anyone,

or sign anything, regarding Plaintiff’s issues with MSM, Plaintiff, after receiving

emails that all students and staff returning to campus are required to get tested first,

emailed Alecia Bell asking if Plaintiff should schedule a COVID-19 test; Alecia

Bell chose not to respond to either email. See Exhibit BX, Pages 1-4.

                                        283.

      The actions of all agents and employees of MSM alleged herein were in

furtherance of and within the scope of MSM’s business.

                                        284.

      Plaintiff has had to hire counsel and currently has over $20,000 in attorney’s

fees on account at $400/hour.




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    COUNT I - VIOLATION OF THE REHABILITATION ACT - FAILURE TO
                          ACCOMMODATE

                                        285.

      Plaintiff realleges, repeats, and incorporates by reference herein paragraphs

1 to 284.

                                        286.

      Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, and its implementing

regulations, 34 C.F.R. § 104.1, et seq., require that,

      “No otherwise qualified individual with a disability in the United States, as
      defined in section 705(20) of this title, shall, solely by reason of her or his
      disability, be excluded from the participation in, be denied the benefits of, or
      be subjected to discrimination under any program or activity receiving
      Federal financial assistance[.]” 29 U.S.C. § 794 and 34 C.F.R. § 104.4.
                                        287.

      Plaintiff is a person with a disability under the Rehabilitation Act and its

implementing regulations. 29 U.S.C. § 705(9), 29 U.S.C. § 705(20), 29 U.S.C. §

705(37)(A)(ii)(II), 42 U.S.C. § 12102, and 34 C.F.R. § 104.3(j).

                                        288.

      Under the education regulations of the Rehabilitation Act, a “qualified

handicapped person” is:

      “With respect to postsecondary and vocational education services, a
      handicapped person who meets the academic and technical standards


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      requisite to admission or participation in the recipient's education program or
      activity.” 34 C.F.R. § 104.3(l)(3).

                                        289.

      Plaintiff is a qualified individual with disabilities under the Rehabilitation

Act. 29 U.S.C. § 794 and 34 C.F.R. § 104.3(l)(3).

                                        290.

      MSM by its own admission found Plaintiff to be a qualified individual in

that the note-taking accommodation was granted to Plaintiff, and the note-taking

accommodation was only available for “qualified students.” See Exhibit AI, Pages

1-3, and Exhibit AJ, Page 2.

                                        291.

      MSM is a program or activity under the Rehabilitation Act. 29 U.S.C. §

794(b)(2)(A), 29 U.S.C. § 794(b)(3)(A), 34 C.F.R. § 104.3(k)(2)(i), and 34 C.F.R.

§ 104.3(k)(3)(i)(B).

                                        292.

      MSM is a recipient “to which Federal financial assistance is extended

directly or through another recipient, including any successor, assignee, or

transferee of a recipient, but excluding the ultimate beneficiary of the assistance.”

34 C.F.R. § 104.3(f).


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                                        293.

      At all times relevant to the allegations of the within complaint, MSM has

been a recipient of Federal financial assistance including, but not limited to, those

under Title IV of the Higher Education Act, Federal student financial aid in the

form of tuition payments, loans, grants, subsidies, and other funds. 34 C.F.R. §

104.3(h).

                                        294.

      MSM has signed and filed assurances of compliance with the Department of

Education conditioning the receipt of Federal financial assistance on continued

compliance with the Rehabilitation Act. 34 C.F.R. § 104.5.

                                        295.

      A party establishes a Section 504 Rehabilitation Act violation where (a) he

or she is disabled, as defined by the Act; (b) he or she is “otherwise qualified” to

participate in school activities; (c) the school receives federal financial assistance;

and (d) he or she was excluded from participation in, denied benefits of, or subject

to discrimination at, the school. 34 C.F.R. § 104.2-104.4.




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                                        296.

      By definition, a postsecondary institution, such as MSM, violates Section

504 of the Rehabilitation Act where it fails to provide accommodations to a

disabled student. 34 C.F.R. § 104.4 and 34 C.F.R. § 104.44.

                                        297.

      Plaintiff’s note-taking accommodation is an accommodation, and auxiliary

aid or service under the Rehabilitation Act and its implementing regulations. 34

C.F.R. § 104.44(a,d).

                                        298.

      Plaintiff has been subjected to a continuing pattern of discrimination under

the Rehabilitation Act, and its implementing regulations, as a result of MSM’s

failure to provide for Plaintiff’s note-taking accommodation, during Plaintiff’s

2017-2018 and 2018-2019 academic school years, that MSM granted to Plaintiff.

29 U.S.C. § 794, 34 C.F.R. § 104.4, 34 C.F.R. § 104.43, and 34 C.F.R. § 104.44.

                                        299.

      Plaintiff’s note-taking accommodation was necessary to ameliorate

Plaintiff’s disability’s effect of preventing meaningful access to the benefits of, or

participation in, MSM’s medical school program.




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                                        300.

      MSM exhibited a continuing pattern of discrimination under

the Rehabilitation Act, and its implementing regulations, against Plaintiff by

denying Plaintiff the opportunity to participate in, or benefit from, the services or

accommodations of the medical school program at MSM by failing to provide the

note-taking accommodation it granted to Plaintiff during the 2017-2018 and 2018-

2019 academic school years. 34 C.F.R. § 104.44(a,d), 34 C.F.R. § 104.4(b)(4), 34

C.F.R. § 104.7, 34 C.F.R. § 104.43, and 34 C.F.R. § 104.4(b)(1)(i-iii).

                                        301.

      Plaintiff has been subjected to a continuing pattern of discrimination under

the Rehabilitation Act, and its implementing regulations, as a result of MSM’s

actions and inactions, regarding MSM’s failure in providing for Plaintiff’s note-

taking accommodation, granted to Plaintiff by MSM, which has resulted in

Plaintiff receiving poor grades, a poor academic knowledgebase, and ultimately

Plaintiff being dismissed from MSM’s medical school program. 34 C.F.R. §

104.44(a,d), 34 C.F.R. § 104.4(b)(4), 34 C.F.R. § 104.7, 34 C.F.R. § 104.43, and

34 C.F.R. § 104.4(b)(1)(i-iii).




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                                          302.

       The failure of MSM to timely provide appropriate educational services,

accommodations, and adaptations to Plaintiff, has, among other things, exacerbated

the impact of the disabilities of Plaintiff; interfered with Plaintiff’s ability to

meaningfully participate with Plaintiff’s peers; and deferred Plaintiff’s ability to

engage and be included in educational opportunities, programs, and services to

which Plaintiff would have had access if Plaintiff had received appropriate

accommodations, adaptations, and related services in a timely manner. 34 C.F.R. §

104.44(a), 34 C.F.R. § 104.44(d), 34 C.F.R. § 104.4(b)(4), 34 C.F.R. § 104.7, 34

C.F.R. § 104.43(c), and 34 C.F.R. § 104.4(b)(1)(i-iii).

                                          303.

       MSM has failed to adopt and publish grievance procedures that incorporate

appropriate due process standards and that provide for the prompt and equitable

resolution of complaints alleging any action prohibited by the Rehabilitation Act

and its implementing regulations. 34 C.F.R. § 104.7.

                                          304.

       MSM has knowledge of its obligations under the Rehabilitation Act and has

acted either with intentional animus or with deliberate indifference of Plaintiff’s

federally protected rights.

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                                       305.

      MSM knew that harm to Plaintiff’s federally protected rights was

substantially likely as a result of MSM’s actions and inactions, and MSM failed to

act on that likelihood.

                                       306.

      All of the actions and inactions described herein were adverse to Plaintiff.

                                       307.

      As a result of MSM’s actions, Plaintiff has suffered actual damages, non-

economic damages, embarrassment, humiliation, emotional harm, mental and

physical pain, and anguish.

                                       308.

      As a result of MSM’s actions, Plaintiff has experienced loss of educational

opportunities, loss of employment opportunities, loss of research opportunities,

increased financial debt, and loss of future income.

                                       309.

      Plaintiff has suffered economic injury due to MSM’s discrimination with

Plaintiff having taken out loans to attend MSM for three (3) years in the amount of

$184,279.00, and their presently accrued interest of $18,494.00, totaling

$202,773.00.

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                                        310.

      Plaintiff has had to hire counsel and currently has over $20,000 in attorney’s

fees on account at $400/hour. 29 U.S.C.A. § 794a(b).


    COUNT II - VIOLATION OF THE REHABILITATION ACT - DISPARATE
                            TREATMENT

                                        311.

      Plaintiff realleges, repeats, and incorporates by reference herein paragraphs

1 to 284.

                                        312.

      Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, and its implementing

regulations, 34 C.F.R. § 104.1, et seq., require that,

      “No otherwise qualified individual with a disability in the United
      States, as defined in section 705(20) of this title, shall, solely by
      reason of her or his disability, be excluded from the participation in,
      be denied the benefits of, or be subjected to discrimination under any
      program or activity receiving Federal financial assistance[.]” 29
      U.S.C. § 794 and 34 C.F.R. § 104.4.

                                        313.

      Plaintiff is a person with a disability under the Rehabilitation Act and its

implementing regulations. 29 U.S.C. § 705(9), 29 U.S.C. § 705(20), 29 U.S.C. §

705(37)(A)(ii)(II), 42 U.S.C. § 12102, and 34 C.F.R. § 104.3(j).


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                                       314.

      Under the education regulations of the Rehabilitation Act, a “qualified

handicapped person” is:

      “With respect to postsecondary and vocational education services, a
      handicapped person who meets the academic and technical standards
      requisite to admission or participation in the recipient's education program or
      activity.” 34 C.F.R. § 104.3(l)(3).
                                       315.

      Plaintiff is a qualified individual with disabilities under the Rehabilitation

Act. 29 U.S.C. § 794 and 34 C.F.R. § 104.3(l)(3).

                                       316.

      MSM by its own admission found Plaintiff to be a qualified individual in

that the note-taking accommodation was granted to Plaintiff, and the note-taking

accommodation was only available for “qualified students.” See Exhibit AI, Pages

1-3, and Exhibit AJ, Page 2.

                                       317.

      MSM is a program or activity under the Rehabilitation Act. 29 U.S.C. §

794(b)(2)(A), 29 U.S.C. § 794(b)(3)(A), 34 C.F.R. § 104.3(k)(2)(i), and 34 C.F.R.

§ 104.3(k)(3)(i).




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                                        318.

      MSM is a recipient “to which Federal financial assistance is extended

directly or through another recipient, including any successor, assignee, or

transferee of a recipient, but excluding the ultimate beneficiary of the assistance.”

34 C.F.R. § 104.3(f).

                                        319.

      At all times relevant to the allegations of the within complaint, MSM has

been a recipient of Federal financial assistance including, but not limited to, those

under Title IV of the Higher Education Act, Federal student financial aid in the

form of tuition payments, loans, grants, subsidies, and other funds. 34 C.F.R. §

104.3(h).

                                        320.

      MSM has signed and filed assurances of compliance with the Department of

Education conditioning the receipt of Federal financial assistance on continued

compliance with the Rehabilitation Act. 34 C.F.R. § 104.5.

                                        321.

      A party establishes a Section 504 Rehabilitation Act violation where (a) he

or she is disabled, as defined by the Act; (b) he or she is “otherwise qualified” to

participate in school activities; (c) the school receives federal financial assistance;

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and (d) he or she was excluded from participation in, denied benefits of, or subject

to discrimination at, the school. 34 C.F.R. § 104.2-104.4.

                                        322.

      MSM excluded Plaintiff from participation in and has denied Plaintiff the

benefits of its services, programs, and activities, as described herein.

                                        323.

      As described herein, MSM exhibited a continuing pattern of discrimination

against Plaintiff under the Rehabilitation Act and its implementing regulations, on

the basis of Plaintiff’s disability, as a result of MSM’s actions and inactions,

regarding the note-taking accommodation MSM granted to Plaintiff and failed to

provide to Plaintiff, during Plaintiff’s 2017-2018 and 2018-2019 academic school

years, which resulted in Plaintiff receiving poor grades, a poor academic

knowledgebase, and ultimately being dismissed from MSM’s medical school

program. 29 U.S.C. § 794(a), 34 C.F.R. § 104.4(a), 34 C.F.R. § 104.4(b)(1)(i-iii),

34 C.F.R. § 104.4(b)(4), 34 C.F.R. § 104.7, 34 C.F.R. § 104.43(c-d), and 34 C.F.R.

§ 104.44(a,d).

                                        324.

      MSM exhibited a continuing pattern of discrimination against Plaintiff under

the Rehabilitation Act and its implementing regulations, on the basis of Plaintiff’s

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disability, by failing to provide for Plaintiff’s note-taking accommodation and

failing to provide Plaintiff with educational and other services that are as effective

in affording equal opportunity as the services provided to students without

disabilities. 29 U.S.C. § 794(a), 34 C.F.R. § 104.4(a), 34 C.F.R. § 104.4(b)(1)(ii-

iii), and 34 C.F.R. § 104.44(a,d).

                                        325.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because MSM’s

Office of Compliance needed to spend over three and a half months [Plaintiff’s

compliance complaint was filed on or around March 28, 2020 (See Exhibit BB),

and MSM’s written letter of determination was sent to Plaintiff on or around July

14, 2020 (See Exhibit BO)] investigating Plaintiff’s compliance complaint, which,

by MSM’s Office of Compliance’s own admission, consisted overall of only four

to five total meetings.

                                        326.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because on

information and belief, the compliance complaints of students without disabilities




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receive prompt and equitable resolutions. 34 C.F.R. § 104.4(b)(4), 34 C.F.R. §

104.7, 34 C.F.R. § 104.4(b)(1)(ii-iii), and 34 C.F.R. § 104.44(d).

                                        327.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, by Alecia Bell’s

written letter of determination to Plaintiff (See Exhibit BO), regarding Plaintiff’s

compliance complaint, which contained numerous erroneous, misleading, unclear,

arbitrary, self-serving and false findings in her written letter of determination sent

to Plaintiff including, but not limited to, the issues described in Paragraphs 213-

224. 34 C.F.R. § 104.4(b)(4), 34 C.F.R. § 104.4(b)(1)(ii-iii), and 34 C.F.R. § 104.7.

                                        328.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because Plaintiff’s

compliance complaint is being swept under the rug due to MSM’s current

reaffirmation of its accreditation with the Southern Association of Colleges and

Schools Commission on Colleges (SACSCOC) (See Exhibit BP, Pages 1-2), and

due to MSM’s current reaffirmation of its accreditation with the Liaison

Committee on Medical Education (LCME) (See Exhibit BP, Pages 3-7). 34 C.F.R.




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§ 104.4(b)(4), 34 C.F.R. § 104.7, 34 C.F.R. § 104.4(b)(1)(ii-iii), and 34 C.F.R. §

104.44(a,d).

                                        329.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because Alecia Bell

intentionally made numerous erroneous, misleading, unclear, arbitrary, self-

serving, and false findings in her written letter of determination so as to preclude

Plaintiff from being able to rely on it during Plaintiff’s dismissal hearing. 34

C.F.R. § 104.4(b)(4), 34 C.F.R. § 104.7, and 34 C.F.R. § 104.44(a,d).

                                        330.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because Plaintiff

was not offered any explanation as to why MSM’s dismissal hearing against

Plaintiff was postponed and later rescheduled. See Exhibit BE, Page 1, and Exhibit

BM, Pages 1-5.

                                        331.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because students

without disabilities are provided with open and honest communication regarding

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adverse proceedings against them. 34 C.F.R. § 104.4(b)(4), 34 C.F.R. §

104.4(b)(1)(ii-iii), and 34 C.F.R. § 104.7.

                                        332.

      According to MSM’s 2017-2018 Student Handbook (See Exhibit AD, Page

70), MSM’s 2018-2019 Student Handbook (See Exhibit AG, Page 74), and MSM’s

2019-2020 Student Handbook (See Exhibit AF, Page 75), under the “Compliance

Hotline” heading, that,

      “[MSM] is an organization with strong values of responsibility and integrity.
      Our written standards and policies contain general guidelines for conducting
      business with the highest standards of ethics. The institution is committed to
      an environment where open, honest communications are the expectation, not
      the exception.”

                                        333.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because at the start

of Plaintiff’s dismissal hearing on or around July 28, 2020, Plaintiff was informed,

without warning, by Dr. Brenda Klement that the committee members had not, and

were not, going to look over Plaintiff’s dismissal hearing exhibits before the

hearing, despite Dr. Brenda Klement affirming that they would (See Exhibit BS),

and with no explanation as to why this decision was being made when Plaintiff

was previously asked what method of disseminating Plaintiff’s dismissal hearing

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exhibits Plaintiff wanted. 34 C.F.R. § 104.4(b)(4), 34 C.F.R. § 104.4(b)(1)(ii-iii),

and 34 C.F.R. § 104.7.

                                        334.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because on

information and belief, students without disabilities have their dismissal hearing

exhibits read by the committee members before their dismissal hearings. 34 C.F.R.

§ 104.4(b)(4), 34 C.F.R. § 104.4(b)(1)(ii-iii), and 34 C.F.R. § 104.7.

                                        335.

      In MSM’s dismissal letter to Plaintiff, MSM alleges, “After careful

consideration of the information you presented during the hearing, the written

information you submitted to the committee (Exhibits A-F) [Plaintiff’s Exhibit

BR], and your academic transcript, the committee voted to dismiss you from

Morehouse School of Medicine.” See Exhibit BT, Page 2.

                                        336.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because all of the

committee members of Plaintiff’s dismissal hearing did not carefully consider

Plaintiff’s exhibits because the exhibits remained in the possession of Dr. Ngozi

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Anachebe and Dr. Martha Elks, and not in the possession of all committee

members for them to carefully consider. 34 C.F.R. § 104.4(b)(4), 34 C.F.R. §

104.7, 34 C.F.R. § 104.4(b)(1)(ii-iii), and 34 C.F.R. § 104.44(a,d).

                                        337.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because on

information and belief, students without disabilities have their dismissal hearing

exhibits truly carefully considered by the committee members in their

determination of being dismissed from MSM or not. 34 C.F.R. § 104.4(b)(4), 34

C.F.R. § 104.7, 34 C.F.R. § 104.4(b)(1)(ii-iii), and 34 C.F.R. § 104.44(a,d).

                                        338.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, in that during

Plaintiff’s dismissal hearing on or around July 28, 2020, at least one committee

member determined Plaintiff’s reasonable note-taking accommodation, granted by

MSM, as non-essential because Plaintiff had textbooks. 34 C.F.R. § 104.4(b)(4),

34 C.F.R. § 104.7, 34 C.F.R. § 104.43(d), and 34 C.F.R. § 104.44(a,d).




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                                        339.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, in that during

Plaintiff’s dismissal hearing on or around July 28, 2020, at least one committee

member determined Plaintiff’s reasonable note-taking accommodation, granted by

MSM, as non-essential because Plaintiff had access to class recordings. 34 C.F.R.

§ 104.4(b)(4), 34 C.F.R. § 104.7, 34 C.F.R. § 104.43(d), and 34 C.F.R. §

104.44(a,d).

                                        340.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because on

information and belief, MSM does not treat the services and accommodations that

students without disabilities require to be successful, that MSM has agreed to

provide, with the same indifference that MSM showed Plaintiff’s note-taking

accommodation, that MSM granted to Plaintiff. 34 C.F.R. § 104.4(b)(4), 34 C.F.R.

§ 104.7, 34 C.F.R. § 104.44(a,d), 34 C.F.R. § 104.4(b)(1)(ii-iii), 34 C.F.R. §

104.43(d), 29 U.S.C. § 794(a), and 34 C.F.R. § 104.4(a).




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                                       341.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, by excluding

Plaintiff from equal participation in MSM’s medical school program via MSM’s

failure to provide for Plaintiff’s note-taking accommodation during the 2017-2018

and 2018-2019 academic school years, and MSM’s ultimate dismissal of Plaintiff

from its medical school program. 34 C.F.R. § 104.4(b)(4), 34 C.F.R. § 104.7, 34

C.F.R. § 104.4(b)(1)(i-iii), 34 C.F.R. § 104.43(c), and 34 C.F.R. § 104.44(a,d).

                                       342.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because on

information and belief, MSM makes sure that its students without disabilities get

the services and accommodations that MSM has agreed to provide them prior to a

dismissal hearing. 34 C.F.R. § 104.4(b)(4), 34 C.F.R. § 104.7, 34 C.F.R. §

104.4(b)(1)(ii-iii), and 34 C.F.R. § 104.44(a,d).

                                       343.

      In MSM’s dismissal letter to Plaintiff, MSM alleges, “MSM has a policy

that the 1st and 2nd Year Curriculum will consist of no more than 36 months

excluding any leave of absence (Page 104, b. 2019-2020 Student Handbook)

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[Plaintiff’s Exhibit AF], and you have reached this time limit.” See Exhibit BT,

Page 2.

                                       344.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because on

information and belief, MSM has allowed other students to spend more than 36

months during their 1st and 2nd Year Curriculum. 34 C.F.R. § 104.4(b)(4), 34

C.F.R. § 104.7, 34 C.F.R. § 104.4(b)(1)(i-iii), 34 C.F.R. § 104.43(c), and 34 C.F.R.

§ 104.44(a,d).

                                       345.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 101, MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 107), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 108) has stated, under the “Dismissal and

Suspension” subheading, under “The Student Academic Progress & Promotion

Committee (SAPP)” heading, that, “The Chair of the SAPP committee will provide

written information on the reasons for the dismissal hearing.”




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                                        346.

         MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because Plaintiff

was never notified or provided written information (See Exhibit BD, Page 4, and

Exhibit BM, Page 4) that one of the reasons for MSM’s dismissal hearing against

Plaintiff, and one of the reasons MSM’s dismissal of Plaintiff would ultimately be

for, was that “MSM has a policy that the 1st and 2nd Year Curriculum will consist

of no more than 36 months excluding any leave of absence (Page 104, b. 2019-

2020 Student Handbook) [Plaintiff’s Exhibit AF], and [Plaintiff had] reached this

time limit,” (See Exhibit BT, Page 2). 34 C.F.R. § 104.4(b)(4), 34 C.F.R. §

104.4(b)(1)(i-iii), 34 C.F.R. § 104.43(c), 34 C.F.R. § 104.44(a,d), and 34 C.F.R. §

104.7.

                                        347.

         MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because Plaintiff

was not able to present Plaintiff’s case, evidence, and context, regarding this

reason Plaintiff was dismissed from MSM in accordance with MSM’s Student

Handbook (See Exhibit AD, Page 101, Exhibit AE, Page 107, and Exhibit AF,




                                          114
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Page 108). 34 C.F.R. § 104.4(b)(4), 34 C.F.R. § 104.4(b)(1)(i-iii), 34 C.F.R. §

104.43(c), and 34 C.F.R. § 104.7.

                                        348.

      MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, as on information

and belief, students without disabilities are provided all the reasons for their

dismissal hearings, and have thus been able to properly present their case,

evidence, and context during their dismissal hearings in accordance with MSM’s

Student Handbook (See Exhibit AD, Page 101, Exhibit AE, Page 107, and Exhibit

AF, Page 108). 34 C.F.R. § 104.4(b)(4), 34 C.F.R. § 104.4(b)(1)(ii-iii), and 34

C.F.R. § 104.7.

                                        349.

      In MSM’s dismissal letter to Plaintiff, MSM alleges, “After careful

consideration of the information you presented during the hearing, the written

information you submitted to the committee (Exhibits A-F) [Plaintiff’s Exhibit

BR], and your academic transcript, the committee voted to dismiss you from

Morehouse School of Medicine. The decision was based on the school’s policy of

receiving a final grade of D or F while in the decelerated track, and for receiving




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two or more final grades of D or F (Page 107, iii and viii, respectively, 2019-2020

Student Handbook) [Plaintiff’s Exhibit AF],” (See Exhibit BT, Page 2).

                                        350.

       MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because on

information and belief, students without disabilities who have received two or

more final grades of D or F while in the decelerated track have not been dismissed

by MSM. 34 C.F.R. § 104.4(b)(4), 34 C.F.R. § 104.4(b)(1)(i-iii), 34 C.F.R. §

104.43(c), and 34 C.F.R. § 104.44(a,d).

                                        351.

       MSM discriminated against Plaintiff under the Rehabilitation Act and its

implementing regulations, on the basis of Plaintiff’s disability, because MSM

failed to provide Plaintiff an equal opportunity to obtain the same result, to gain the

same benefit, or to reach the same level of achievement, in the most integrated

setting appropriate to Plaintiff’s needs. 34 C.F.R. § 104.43(d) and 34 C.F.R. §

104.4(b)(1)(ii-iii).

                                        352.

       MSM has failed to adopt and publish grievance procedures that incorporate

appropriate due process standards and that provide for the prompt and equitable

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resolution of complaints alleging any action prohibited by the Rehabilitation Act

and its implementing regulations. 34 C.F.R. § 104.7.

                                        353.

      MSM has knowledge of its obligations under the Rehabilitation Act and its

implementing regulations, and MSM has acted with intentional animus and

deliberate indifference of Plaintiff’s federally protected rights.

                                        354.

      MSM knew that harm to Plaintiff’s federally protected rights was

substantially likely as a result of MSM’s actions and inactions, and MSM failed to

act on that likelihood.

                                        355.

      All of the actions and inactions described herein were adverse to Plaintiff

and did not happen to students without disabilities.

                                        356.

      As a result of MSM’s actions, Plaintiff has suffered actual damages, non-

economic damages, embarrassment, humiliation, emotional harm, mental and

physical pain, and anguish.




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                                       357.

      As a result of MSM’s actions, Plaintiff has experienced loss of educational

opportunities, loss of employment opportunities, loss of research opportunities,

increased financial debt, and loss of future income.

                                       358.

      Plaintiff has suffered economic injury due to MSM’s discrimination with

Plaintiff having taken out loans to attend MSM for three (3) years in the amount of

$184,279.00, and their presently accrued interest of $18,494.00, totaling

$202,773.00.

                                       359.

      Plaintiff has had to hire counsel and currently has over $20,000 in attorney’s

fees on account at $400/hour. 29 U.S.C.A. § 794a(b).


   COUNT III - VIOLATION OF THE ADA - FAILURE TO ACCOMMODATE

                                       360.

      Plaintiff realleges, repeats, and incorporates by reference herein paragraphs

1 to 284.

                                       361.




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      Title III of the Americans with Disabilities Act, 42 U.S.C. § 12182, and its

implementing regulations, 28 C.F.R. § 36.101, et seq., require that,

      “No individual shall be discriminated against on the basis of disability in the
      full and equal enjoyment of the goods, services, facilities, privileges,
      advantages, or accommodations of any place of public accommodation by
      any person who owns, leases (or leases to), or operates a place of public
      accommodation.” 42 U.S.C. § 12182(a) and 28 C.F.R. § 36.201(a).

                                       362.

      Plaintiff is a person with a disability under the ADA and its implementing

regulations. 42 U.S.C. § 12102 and 28 C.F.R. § 36.105.

                                       363.

      Plaintiff is a qualified individual with disabilities under the ADA.

                                       364.

      MSM by its own admission found Plaintiff to be a qualified individual in

that the note-taking accommodation was granted to Plaintiff, and the note-taking

accommodation was only available for “qualified students.” See Exhibit AI, Pages

1-3, and Exhibit AJ, Page 2.

                                       365.

      MSM is a private entity under Title III of the ADA and its implementing

regulations. 42 U.S.C. § 12181(6), 42 U.S.C. § 12181(7)(J), and 28 C.F.R. §

36.104.

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                                        366.

      Title III of the ADA requires that a postgraduate private school, such as

MSM, provide reasonable accommodations to students with disabilities.

                                        367.

      MSM failed to provide Plaintiff accommodations. 42 U.S.C. §

12182(b)(2)(A)(ii) and 28 C.F.R. § 36.302(a).

                                        368.

      A postgraduate private school, such as MSM, violates the ADA where it

fails to provide accommodations to a disabled student. 42 U.S.C. §

12182(b)(2)(A)(ii) and 28 C.F.R. § 36.302(a).

                                        369.

      Plaintiff’s note-taking accommodation is an accommodation, and auxiliary

aid or service under the ADA and its implementing regulations. 42 U.S.C. §

12103(1)(D), 42 U.S.C. § 12182(b)(2)(A)(ii-iii), 28 C.F.R. § 36.302(a), and 28

C.F.R. § 36.303(a-c).

                                        370.

      Plaintiff’s note-taking accommodation was necessary to ameliorate

Plaintiff’s disability’s effect of preventing meaningful access to the benefits of, or

participation in, MSM’s medical school program.

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                                        371.

      As described herein, MSM exhibited a continuing pattern of discrimination

against Plaintiff under the ADA and its implementing regulations, on the basis of

Plaintiff’s disability, during the 2017-2018 and 2018-2019 academic school years,

in that Plaintiff could not experience full and equal enjoyment of MSM’s services

because of MSM’s failure in providing the note-taking accommodation it granted

to Plaintiff. 42 U.S.C. § 12182(a), 28 C.F.R. § 36.201(a), 42 U.S.C. §

12182(b)(2)(A)(ii), 28 C.F.R. § 36.302(a), 42 U.S.C. § 12182(b)(1)(A)(ii), 28

C.F.R. § 36.202(b), and 28 C.F.R. § 36.303(a-c).

                                        372.

      During Plaintiff’s 2017-2018 and 2018-2019 academic school years, MSM

exhibited a continuing pattern of discrimination against Plaintiff under the ADA

and its implementing regulations, on the basis of Plaintiff’s disability, by denying

Plaintiff the opportunity to participate in or benefit from the services or

accommodations of the medical school program at MSM by failing to provide the

note-taking accommodation it granted to Plaintiff. 42 U.S.C. § 12182(a), 28 C.F.R.

§ 36.201(a), 42 U.S.C. § 12182(b)(2)(A)(ii), 28 C.F.R. § 36.302(a), 42 U.S.C. §

12182(b)(1)(A)(i), 28 C.F.R. § 36.202(a), and 28 C.F.R. § 36.303(a-c).

                                        373.

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      During Plaintiff’s 2017-2018 and 2018-2019 academic school years, MSM

exhibited a continuing pattern of discrimination against Plaintiff under the ADA

and its implementing regulations, on the basis of Plaintiff’s disability, as a result of

MSM’s failure to obtain and timely provide effective educational auxiliary aids

and services, the note-taking accommodation that MSM already granted to

Plaintiff, during Plaintiff’s 2017-2018 and 2018-2019 academic school years. 42

U.S.C. § 12182(b)(2)(A)(ii-iii), 28 C.F.R. § 36.302(a) and 28 C.F.R. § 36.303(a-c).

                                        374.

      As described herein, MSM exhibited a continuing pattern of discrimination

against Plaintiff under the ADA and its implementing regulations, on the basis of

Plaintiff’s disability, by failing to make reasonable modifications in policies,

practices, or procedures, during the entirety of Plaintiff’s medical school education

at MSM, when such modifications were necessary to afford such goods, services,

facilities, privileges, advantages, or accommodations to Plaintiff, regarding the

note-taking accommodation granted to Plaintiff by MSM during the 2017-2018

and 2018-2019 academic school years. 42 U.S.C. § 12182(b)(2)(A)(ii) and 28

C.F.R. § 36.302(a).




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                                       375.

      MSM exhibited a continuing pattern of discrimination against Plaintiff under

the ADA and its implementing regulations, on the basis of Plaintiff’s disability, by

failing to timely provide for Plaintiff’s note-taking accommodation, granted to

Plaintiff by MSM, during the 2017-2018 and 2018-2019 academic school years. 42

U.S.C. § 12182(b)(2)(A)(ii-iii), 28 C.F.R. § 36.302(a), and 28 C.F.R. § 36.303(a-

c).

                                       376.

      MSM exhibited a continuing pattern of discrimination against Plaintiff under

the ADA and its implementing regulations, on the basis of Plaintiff’s disability, as

a result of MSM’s actions and inactions, regarding the note-taking accommodation

MSM granted to Plaintiff and failed to provide to Plaintiff, during Plaintiff’s 2017-

2018 and 2018-2019 academic school years, which resulted in Plaintiff receiving

poor grades, a poor academic knowledgebase, and ultimately being dismissed from

MSM’s medical school program. 42 U.S.C. § 12182(b)(2)(A)(ii-iii), 28 C.F.R. §

36.302(a), 28 C.F.R. § 36.303(a-c), 42 U.S.C. § 12182(b)(1)(D), 28 C.F.R. §

36.204, 42 U.S.C. § 12182(b)(1)(A)(i-iii), and 28 C.F.R. § 36.202(a-b).




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                                          377.

       During the entirety of Plaintiff’s medical school education at MSM, MSM

exhibited a continuing pattern of discrimination against Plaintiff under the ADA

and its implementing regulations, on the basis of Plaintiff’s disability, by affording

Plaintiff only an opportunity to participate in, or benefit from, the aid, benefit,

privilege, service, or accommodation, offered by MSM, that was not equal to that

afforded to others. 42 U.S.C. § 12182(b)(1)(A)(ii) and 28 C.F.R. § 36.202(b).

                                          378.

       The failure of MSM to timely provide appropriate educational services,

accommodations, and adaptations to Plaintiff, has, among other things, exacerbated

the impact of the Plaintiff’s disabilities; interfered with Plaintiff’s ability to

meaningfully participate with Plaintiff’s peers; and deferred Plaintiff’s ability to

engage and be included in educational opportunities, programs, and services to

which Plaintiff would have had access if Plaintiff had received appropriate

accommodations, adaptations, and related services in a timely manner. 42 U.S.C. §

12182(b)(2)(A)(ii-iii), 28 C.F.R. § 36.302(a), 28 C.F.R. § 36.303(a-c), 42 U.S.C. §

12182(b)(1)(D), 28 C.F.R. § 36.204, 42 U.S.C. § 12182(b)(1)(A)(i-iii), and 28

C.F.R. § 36.202(a-b).




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                                         379.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, by failing to provide Plaintiff an

equal opportunity to obtain the same result, to gain the same benefit, or to reach the

same level of achievement, in the most integrated setting appropriate to Plaintiff’s

needs by MSM’s failure to provide for Plaintiff’s note-taking accommodation,

which MSM granted to Plaintiff for the entirety of Plaintiff’s medical school

education at MSM. 42 U.S.C. § 12182(b)(1)(B) and 28 C.F.R. § 36.203(a).

                                         380.

      MSM has knowledge of its obligations under the ADA and its implementing

regulations, and MSM has acted either with intentional animus or in deliberate

indifference of Plaintiff’s federally protected rights.

                                         381.

      MSM knew that harm to Plaintiff’s federally protected rights was

substantially likely as a result of MSM’s actions and inactions, and MSM failed to

act on that likelihood.

                                         382.

      All of the actions and inactions described herein were adverse to Plaintiff.




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                                       383.

      As a result of MSM’s actions, Plaintiff has suffered actual damages, non-

economic damages, embarrassment, humiliation, emotional harm, mental and

physical pain, and anguish.

                                       384.

      As a result of MSM’s actions, Plaintiff has experienced loss of educational

opportunities, loss of employment opportunities, loss of research opportunities,

increased financial debt, and loss of future income.

                                       385.

      Plaintiff has had to hire counsel and currently has over $20,000 in attorney’s

fees on account at $400/hour. 28 C.F.R. § 36.505 and 42 U.S.C.A. § 2000a-3(b).


      COUNT IV - VIOLATION OF THE ADA - DISPARATE TREATMENT

                                       386.

      Plaintiff realleges, repeats, and incorporates by reference herein paragraphs

1 to 284.

                                       387.

      Title III of the Americans with Disabilities Act, 42 U.S.C. § 12182, and its

implementing regulations, 28 C.F.R. § 36.101, et seq., require that,


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      “No individual shall be discriminated against on the basis of disability in the
      full and equal enjoyment of the goods, services, facilities, privileges,
      advantages, or accommodations of any place of public accommodation by
      any person who owns, leases (or leases to), or operates a place of public
      accommodation.” 42 U.S.C. § 12182(a) and 28 C.F.R. § 36.201(a).

                                       388.

      Plaintiff is a person with a disability under the ADA and its implementing

regulations. 42 U.S.C. § 12102 and 28 C.F.R. § 36.105.

                                       389.

      Plaintiff is a qualified individual with disabilities under the ADA.

                                       390.

      MSM by its own admission found Plaintiff to be a qualified individual in

that the note-taking accommodation was granted to Plaintiff, and the note-taking

accommodation was only available for “qualified students.” See Exhibit AI, Pages

1-3, and Exhibit AJ, Page 2.

                                       391.

      MSM is a private entity under Title III of the ADA and its implementing

regulations. 42 U.S.C. § 12181(6), 42 U.S.C. § 12181(7)(J), and 28 C.F.R. §

36.104.




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                                        392.

      Title III of the ADA requires that a postgraduate private school, such as

MSM, not discriminate against students on the basis of disability. 42 U.S.C. §

12182(a) and 28 C.F.R. § 36.201(a).

                                        393.

      MSM excluded Plaintiff from participation in and has denied Plaintiff the

benefits of its services, programs, and activities, as described herein.

                                        394.

      As described herein, MSM exhibited a continuing pattern of discrimination

against Plaintiff under the ADA and its implementing regulations, on the basis of

Plaintiff’s disability, as a result of MSM’s actions and inactions, regarding the

note-taking accommodation MSM granted to Plaintiff and failed to provide to

Plaintiff, during Plaintiff’s 2017-2018 and 2018-2019 academic school years,

which resulted in Plaintiff receiving poor grades, a poor academic knowledgebase,

and ultimately being dismissed from MSM’s medical school program. 42 U.S.C. §

12182(a), 28 C.F.R. § 36.201(a), 42 U.S.C. § 12182(b)(1)(A)(i-ii), 28 C.F.R. §

36.202(a-b), 42 U.S.C. § 12182(b)(1)(B), 28 C.F.R. § 36.203(a), 42 U.S.C. §

12182(b)(2)(A)(ii-iii), 28 C.F.R. § 36.302(a), and 28 C.F.R. § 36.303(a-c).




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                                         395.

      As described herein, MSM exhibited a continuing pattern of discrimination

against Plaintiff under the ADA and its implementing regulations, on the basis of

Plaintiff’s disability, by failing to provide for Plaintiff’s note-taking

accommodation and failing to provide Plaintiff with educational and other services

that are as effective in affording equal opportunity as the services provided to

students without disabilities. 42 U.S.C. § 12182(a), 28 C.F.R. § 36.201(a), 42

U.S.C. § 12182(b)(1)(A)(ii), 28 C.F.R. § 36.202(b), 42 U.S.C. § 12182(b)(2)(A)(ii-

iii), 28 C.F.R. § 36.302(a), and 28 C.F.R. § 36.303(a-c).

                                         396.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because MSM’s Office of

Compliance needed to spend over three and a half months [Plaintiff’s compliance

complaint was filed on or around March 28, 2020 (See Exhibit BB), and MSM’s

written letter of determination was sent to Plaintiff on or around July 14, 2020 (See

Exhibit BO)] investigating Plaintiff’s compliance complaint, which, by MSM’s

Office of Compliance’s own admission, consisted overall of only four to five total

meetings.




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                                         397.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because on information and belief,

the compliance complaints of students without disabilities receive prompt and

equitable resolutions. 42 U.S.C. § 12182(b)(1)(D), 28 C.F.R. § 36.204, 42 U.S.C. §

12182(b)(1)(A)(ii), 28 C.F.R. § 36.202(b), 42 U.S.C. § 12182(b)(2)(A)(iii), and 28

C.F.R. § 36.303(a-c).

                                         398.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, by Alecia Bell’s written letter of

determination to Plaintiff (See Exhibit BO), regarding Plaintiff’s compliance

complaint, which contained numerous erroneous, misleading, unclear, arbitrary,

self-serving and false findings in her written letter of determination sent to Plaintiff

including, but not limited to, the issues described in Paragraphs 213-224. 42 U.S.C.

§ 12182(b)(1)(D), 28 C.F.R. § 36.204, 42 U.S.C. § 12182(b)(1)(A)(ii), and 28

C.F.R. § 36.202(b).

                                         399.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because Plaintiff’s compliance

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complaint is being swept under the rug due to MSM’s current reaffirmation of its

accreditation with the Southern Association of Colleges and Schools Commission

on Colleges (SACSCOC) (See Exhibit BP, Pages 1-2), and due to MSM’s current

reaffirmation of its accreditation with the Liaison Committee on Medical

Education (LCME) (See Exhibit BP, Pages 3-7). 42 U.S.C. § 12182(b)(1)(D), 28

C.F.R. § 36.204, 42 U.S.C. § 12182(b)(2)(A)(ii-iii), 42 U.S.C. §

12182(b)(1)(A)(ii), 28 C.F.R. § 36.202(b), 28 C.F.R. § 36.302(a), and 28 C.F.R. §

36.303(a-c).

                                        400.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because Alecia Bell intentionally

made numerous erroneous, misleading, unclear, arbitrary, self-serving, and false

findings in her written letter of determination so as to preclude Plaintiff from being

able to rely on it during Plaintiff’s dismissal hearing. 42 U.S.C. § 12182(b)(1)(D),

28 C.F.R. § 36.204, 42 U.S.C. § 12182(b)(2)(A)(ii-iii), 28 C.F.R. § 36.302(a), and

28 C.F.R. § 36.303(a-c).

                                        401.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because Plaintiff was not offered

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any explanation as to why MSM’s dismissal hearing against Plaintiff was

postponed and later rescheduled. See Exhibit BE, Page 1, and Exhibit BM, Pages

1-5.

                                        402.

       MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because students without

disabilities are provided with open and honest communication regarding adverse

proceedings against them. 42 U.S.C. § 12182(b)(1)(D), 28 C.F.R. § 36.204, 42

U.S.C. § 12182(b)(1)(A)(ii), and 28 C.F.R. § 36.202(b).

                                        403.

       According to MSM’s 2017-2018 Student Handbook (See Exhibit AD, Page

70), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Page 74), and MSM’s

2019-2020 Student Handbook (See Exhibit AF, Page 75), under the “Compliance

Hotline” heading, that,

       “[MSM] is an organization with strong values of responsibility and integrity.
       Our written standards and policies contain general guidelines for conducting
       business with the highest standards of ethics. The institution is committed to
       an environment where open, honest communications are the expectation, not
       the exception.”




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                                         404.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because at the start of Plaintiff’s

dismissal hearing on or around July 28, 2020, Plaintiff was informed, without

warning, by Dr. Brenda Klement that the committee members had not, and were

not going to, look over Plaintiff’s dismissal hearing exhibits before the hearing,

despite Dr. Brenda Klement affirming that they would (See Exhibit BS), and with

no explanation as to why this decision was being made when Plaintiff was

previously asked what method of disseminating Plaintiff’s dismissal hearing

exhibits Plaintiff wanted. 42 U.S.C. § 12182(b)(1)(D), 28 C.F.R. § 36.204, 42

U.S.C. § 12182(b)(1)(A)(ii), and 28 C.F.R. § 36.202(b).

                                         405.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because on information and belief,

students without disabilities have their dismissal hearing exhibits read by the

committee members before their dismissal hearings. 42 U.S.C. § 12182(b)(1)(D),

28 C.F.R. § 36.204, 42 U.S.C. § 12182(b)(1)(A)(ii), and 28 C.F.R. § 36.202(b).




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                                        406.

      In MSM’s dismissal letter to Plaintiff, MSM alleges, “After careful

consideration of the information you presented during the hearing, the written

information you submitted to the committee (Exhibits A-F) [Plaintiff’s Exhibit

BR], and your academic transcript, the committee voted to dismiss you from

Morehouse School of Medicine.” See Exhibit BT, Page 2.

                                        407.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because all of the committee

members of Plaintiff’s dismissal hearing did not carefully consider Plaintiff’s

exhibits because the exhibits remained in the possession of Dr. Ngozi Anachebe

and Dr. Martha Elks, and not in the possession of all committee members for them

to carefully consider. 42 U.S.C. § 12182(b)(1)(D), 28 C.F.R. § 36.204, 42 U.S.C. §

12182(b)(1)(A)(ii), 28 C.F.R. § 36.202(b), 42 U.S.C. § 12182(b)(2)(A)(iii), and 28

C.F.R. § 36.303(a-c).

                                        408.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because on information and belief,

students without disabilities have their dismissal hearing exhibits truly carefully

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considered by the committee members in their determination of being dismissed

from MSM or not. 42 U.S.C. § 12182(b)(1)(A)(ii), 28 C.F.R. § 36.202(b), 42

U.S.C. § 12182(b)(1)(D), 28 C.F.R. § 36.204, 42 U.S.C. § 12182(b)(2)(A)(iii), and

28 C.F.R. § 36.303(a-c).

                                         409.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, in that during Plaintiff’s dismissal

hearing on or around July 28, 2020, at least one committee member determined

Plaintiff’s reasonable note-taking accommodation, granted by MSM, as non-

essential because Plaintiff had textbooks. 42 U.S.C. § 12182(b)(2)(A)(ii-iii), 28

C.F.R. § 36.302(a), 28 C.F.R. § 36.303(a-c), 42 U.S.C. § 12182(b)(1)(D) and 28

C.F.R. § 36.204.

                                         410.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, in that during Plaintiff’s dismissal

hearing on or around July 28, 2020, at least one committee member determined

Plaintiff’s reasonable note-taking accommodation, granted by MSM, as non-

essential because Plaintiff had access to class recordings. 42 U.S.C. §




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12182(b)(2)(A)(ii-iii), 28 C.F.R. § 36.302(a), 28 C.F.R. § 36.303(a-c), 42 U.S.C. §

12182(b)(1)(D) and 28 C.F.R. § 36.204.

                                        411.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because on information and belief,

MSM does not treat the services and accommodations that students without

disabilities require to be successful, that MSM has agreed to provide, with the

same indifference that MSM showed Plaintiff’s note-taking accommodation, that

MSM granted to Plaintiff. 42 U.S.C. § 12182(b)(2)(A)(ii-iii), 28 C.F.R. §

36.303(a-c), 28 C.F.R. § 36.302(a), 42 U.S.C. § 12182(b)(1)(A)(ii), 28 C.F.R. §

36.202(b), 42 U.S.C. § 12182(b)(1)(B), 28 C.F.R. § 36.203(a), 42 U.S.C. §

12182(a), and 28 C.F.R. § 36.201(a).

                                        412.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, by excluding Plaintiff from equal

participation in MSM’s medical school program via MSM’s failure to provide for

Plaintiff’s note-taking accommodation during the 2017-2018 and 2018-2019

academic school years, and MSM’s ultimate dismissal of Plaintiff from its medical

school program. 42 U.S.C. § 12182(b)(1)(A)(ii), 28 C.F.R. § 36.202(b), 42 U.S.C.

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§ 12182(b)(1)(D), 28 C.F.R. § 36.204, 42 U.S.C. § 12182(b)(2)(A)(ii-iii), 28

C.F.R. § 36.302(a), and 28 C.F.R. § 36.303(a-c).

                                        413.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because on information and belief,

MSM makes sure that its students without disabilities get the services and

accommodations that MSM has agreed to provide them prior to a dismissal

hearing. 42 U.S.C. § 12182(b)(1)(A)(ii), 28 C.F.R. § 36.202(b), 42 U.S.C. §

12182(b)(1)(D), 28 C.F.R. § 36.204, 28 C.F.R. § 36.302(a), 42 U.S.C. §

12182(b)(2)(A)(ii-iii), and 28 C.F.R. § 36.303(a-c).

                                        414.

      In MSM’s dismissal letter to Plaintiff, MSM alleges, “MSM has a policy

that the 1st and 2nd Year Curriculum will consist of no more than 36 months

excluding any leave of absence (Page 104, b. 2019-2020 Student Handbook)

[Plaintiff’s Exhibit AF], and you have reached this time limit.” See Exhibit BT,

Page 2.

                                        415.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because on information and belief,

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MSM has allowed other students to spend more than 36 months during their 1st and

2nd Year Curriculum. 42 U.S.C. § 12182(b)(1)(A)(i-ii), 28 C.F.R. § 36.202(a-b), 42

U.S.C. § 12182(b)(1)(D), 28 C.F.R. § 36.204, 42 U.S.C. § 12182(b)(2)(A)(ii-iii),

28 C.F.R. § 36.302(a), and 28 C.F.R. § 36.303(a-c).

                                        416.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 101, MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 107), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 108) has stated, under the “Dismissal and

Suspension” subheading, under “The Student Academic Progress & Promotion

Committee (SAPP)” heading, that, “The Chair of the SAPP committee will provide

written information on the reasons for the dismissal hearing.”

                                        417.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because Plaintiff was never

notified or provided written information (See Exhibit BD, Page 4, and Exhibit BM,

Page 4) that one of the reasons for MSM’s dismissal hearing against Plaintiff, and

one of the reasons MSM’s dismissal of Plaintiff would ultimately be for, was that

“MSM has a policy that the 1st and 2nd Year Curriculum will consist of no more

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than 36 months excluding any leave of absence (Page 104, b. 2019-2020 Student

Handbook) [Plaintiff’s Exhibit AF], and [Plaintiff had] reached this time limit.”

(See Exhibit BT, Page 2). 42 U.S.C. § 12182(b)(1)(D), 28 C.F.R. § 36.204, and 42

U.S.C. § 12182(b)(1)(A)(i-ii), 28 C.F.R. § 36.202(a-b), 42 U.S.C. §

12182(b)(2)(A)(ii-iii), 28 C.F.R. § 36.302(a), and 28 C.F.R. § 36.303(a-c).

                                        418.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because Plaintiff was not able to

present Plaintiff’s case, evidence, and context, regarding this reason Plaintiff was

dismissed from MSM in accordance with MSM’s Student Handbook (See Exhibit

AD, Page 101, Exhibit AE, Page 107, and Exhibit AF, Page 108). 42 U.S.C. §

12182(b)(1)(D), 28 C.F.R. § 36.204, and 42 U.S.C. § 12182(b)(1)(A)(i-ii), and 28

C.F.R. § 36.202(a-b).

                                        419.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, as on information and belief,

students without disabilities are provided all the reasons for their dismissal

hearings, and have thus been able to properly present their case, evidence, and

context during their dismissal hearings in accordance with MSM’s Student

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Handbook (See Exhibit AD, Page 101, Exhibit AE, Page 107, and Exhibit AF,

Page 108). 42 U.S.C. § 12182(b)(1)(D), 28 C.F.R. § 36.204, 42 U.S.C. §

12182(b)(1)(A)(ii), and 28 C.F.R. § 36.202(b).

                                        420.

      In MSM’s dismissal letter to Plaintiff, MSM alleges, “After careful

consideration of the information you presented during the hearing, the written

information you submitted to the committee (Exhibits A-F) [Plaintiff’s Exhibit

BR], and your academic transcript, the committee voted to dismiss you from

Morehouse School of Medicine. The decision was based on the school’s policy of

receiving a final grade of D or F while in the decelerated track, and for receiving

two or more final grades of D or F (Page 107, iii and viii, respectively, 2019-2020

Student Handbook) [Plaintiff’s Exhibit AF],” (See Exhibit BT, Page 2).

                                        421.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because on information and belief,

students without disabilities who have received two or more final grades of D or F

while in the decelerated track have not been dismissed by MSM. 42 U.S.C. §

12182(b)(1)(D) and 28 C.F.R. § 36.204, 42 U.S.C. § 12182(b)(1)(A)(i-ii), 28

C.F.R. § 36.202(a-b), 42 U.S.C. § 12182(b)(2)(A)(iii), and 28 C.F.R. § 36.303(a).

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                                        422.

      MSM discriminated against Plaintiff under the ADA and its implementing

regulations, on the basis of Plaintiff’s disability, because MSM failed to provide

Plaintiff an equal opportunity to obtain the same result, to gain the same benefit, or

to reach the same level of achievement, in the most integrated setting appropriate

to Plaintiff’s needs. 42 U.S.C. § 12182(b)(1)(B), 28 C.F.R. § 36.203, 42 U.S.C. §

12182(b)(1)(A)(ii), and 28 C.F.R. § 36.202(b).

                                        423.

      MSM has knowledge of its obligations under the ADA and its implementing

regulations, and MSM has acted with intentional animus and deliberate

indifference of Plaintiff’s federally protected rights.

                                        424.

      MSM knew that harm to Plaintiff’s federally protected rights was

substantially likely as a result of MSM’s actions and inactions, and MSM failed to

act on that likelihood.

                                        425.

      All of the actions and inactions described herein were adverse to Plaintiff

and did not happen to students without disabilities.

                                        426.

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      As a result of MSM’s actions, Plaintiff has suffered actual damages, non-

economic damages, embarrassment, humiliation, emotional harm, mental and

physical pain, and anguish.

                                       427.

      As a result of MSM’s actions, Plaintiff has experienced loss of educational

opportunities, loss of employment opportunities, loss of research opportunities,

increased financial debt, and loss of future income.

                                       428.

      Plaintiff has had to hire counsel and currently has over $20,000 in attorney’s

fees on account at $400/hour. 28 C.F.R. § 36.505 and 42 U.S.C.A. § 2000a-3(b).


            COUNT V - VIOLATION OF THE ADA - DISPARATE IMPACT

                                       429.

      Plaintiff realleges, repeats, and incorporates by reference herein paragraphs

1 to 284.

                                       430.

      Title III of the Americans with Disabilities Act, 42 U.S.C. § 12182, and its

implementing regulations, 28 C.F.R. § 36.101, et seq., require that,




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      “No individual shall be discriminated against on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages,

or accommodations of any place of public accommodation by any person who

owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a) and 28 C.F.R. § 36.201(a).

                                       431.

      Plaintiff is a person with a disability under the ADA and its implementing

regulations. 42 U.S.C. § 12102 and 28 C.F.R. § 36.105.

                                       432.

      Plaintiff is a qualified individual under the ADA.

                                       433.

      MSM by its own admission found Plaintiff to be a qualified individual in

that the note-taking accommodation was granted to Plaintiff, and the note-taking

accommodation was only available for “qualified students.” See Exhibit AI, Pages

1-3, and Exhibit AJ, Page 2.

                                       434.

      Morehouse School of Medicine is a private entity under Title III of the ADA

and its implementing regulations. 42 U.S.C. § 12181(6), 42 U.S.C. § 12181(7)(J),

and 28 C.F.R. § 36.104.

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                                        435.

      Title III of the ADA requires that an educational agency, such as MSM, not

discriminate against students on the basis of disability. 42 U.S.C. § 12182(a) and

28 C.F.R. § 36.201(a).

                                        436.

      As described herein, MSM excluded Plaintiff from participation in and has

denied Plaintiff the benefits of MSM’s services, programs, activities, and

ultimately dismissed Plaintiff in MSM’s usage of facially neutral practices and

procedures that operated to freeze the status quo of MSM’s prior discrimination of

Plaintiff, including but not limited to MSM’s failure to provide for Plaintiff’s note-

taking accommodation during the 2017-2018 and 2018-2019 academic school

years. 42 U.S.C. § 12182(a), 28 C.F.R. § 36.201(a), 42 U.S.C. § 12182(b)(1)(A)(i-

ii), 28 C.F.R. § 36.202(a-b), 42 U.S.C. § 12182(b)(1)(B), 28 C.F.R. § 36.203(a), 42

U.S.C. § 12182(b)(1)(D), 28 C.F.R. § 36.204, 42 U.S.C. § 12182(b)(2)(A)(ii-iii),

28 C.F.R. § 36.302(a), and 28 C.F.R. § 36.303(a-c).

                                        437.

      As described herein, MSM discriminated against Plaintiff under the ADA

and its implementing regulations, in its attempt to freeze the status quo of MSM’s

prior discrimination of Plaintiff, by MSM’s dismissal letter to Plaintiff alleging,

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“After careful consideration of the information you presented during the hearing,

the written information you submitted to the committee (Exhibits A-F) [Plaintiff’s

Exhibit BR], and your academic transcript, the committee voted to dismiss you

from Morehouse School of Medicine. The decision was based on the school’s

policy of receiving a final grade of D or F while in the decelerated track, and for

receiving two or more final grades of D or F (Page 107, iii and viii, respectively,

2019-2020 Student Handbook) [Plaintiff’s Exhibit AF],” (See Exhibit BT, Page 2)

but the reason for Plaintiff’s grades are due to the effects of MSM’s failure in

providing for Plaintiff’s note-taking accommodation during the 2017-2018 and

2018-2019 academic school years, including but not limited to Plaintiff’s poor

grades, poor academic knowledgebase, and Plaintiff’s time spent attempting to

achieve a resolution with MSM regarding MSM’s discrimination of Plaintiff. 42

U.S.C. § 12182(a), 28 C.F.R. § 36.201(a), 42 U.S.C. § 12182(b)(1)(A)(i-ii), 28

C.F.R. § 36.202(a-b), 42 U.S.C. § 12182(b)(1)(B), 28 C.F.R. § 36.203(a), 42

U.S.C. § 12182(b)(1)(D), 28 C.F.R. § 36.204, 42 U.S.C. § 12182(b)(2)(A)(ii-iii),

28 C.F.R. § 36.302(a), and 28 C.F.R. § 36.303(a-c).

                                       438.

      All of the actions and inactions described herein were adverse to Plaintiff.

                                       439.

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      As a result of MSM’s actions, Plaintiff has suffered actual damages, non-

economic damages, embarrassment, humiliation, emotional harm, mental and

physical pain, and anguish.

                                       440.

      As a result of MSM’s actions, Plaintiff has experienced loss of educational

opportunities, loss of employment opportunities, loss of research opportunities,

increased financial debt, and loss of future income.

                                       441.

      Plaintiff has had to hire counsel and currently has over $20,000 in attorney’s

fees on account at $400/hour. 28 C.F.R. § 36.505 and 42 U.S.C.A. § 2000a-3(b).


     COUNT VI - VIOLATION OF THE REHABILITATION ACT AND ADA -
                     RETALIATION OR COERCION

                                       442.

      Plaintiff realleges, repeats, and incorporates by reference herein paragraphs

1 to 284.

                                       443.

      Plaintiff is a person with a disability under the Rehabilitation Act and its

implementing regulations. 29 U.S.C. § 705(9), 29 U.S.C. § 705(20), 29 U.S.C. §

705(37)(A)(ii)(II), 42 U.S.C. § 12102, and 34 C.F.R. § 104.3(j).

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                                       444.

      Plaintiff is a person with a disability under the ADA and its implementing

regulations. 42 U.S.C. § 12102 and 28 C.F.R. § 36.105.

                                       445.

      Under the education regulations of the Rehabilitation Act, a “qualified

handicapped person” is:

      “With respect to postsecondary and vocational education services, a
      handicapped person who meets the academic and technical standards
      requisite to admission or participation in the recipient's education program or
      activity.” 34 C.F.R. § 104.3(l)(3).

                                       446.

      Plaintiff is a qualified individual with disabilities under the Rehabilitation

Act. 29 U.S.C. § 794 and 34 C.F.R. § 104.3(l)(3).

                                       447.

      Plaintiff is a qualified individual with disabilities under the ADA.

                                       448.

      MSM by its own admission found Plaintiff to be a qualified individual in

that the note-taking accommodation was granted to Plaintiff, and the note-taking

accommodation was only available for “qualified students.” See Exhibit AI, Pages

1-3, and Exhibit AJ, Page 2.


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                                        449.

      MSM is a program or activity under the Rehabilitation Act. 29 U.S.C. §

794(b)(2)(A), 29 U.S.C. § 794(b)(3)(A), 34 C.F.R. § 104.3(k)(2)(i), and 34 C.F.R.

§ 104.3(k)(3)(i)(B).

                                        450.

      MSM is a private entity under Title III of the ADA and its implementing

regulations. 42 U.S.C. § 12181(6), 42 U.S.C. § 12181(7)(J), and 28 C.F.R. §

36.104.

                                        451.

      MSM is a recipient “to which Federal financial assistance is extended

directly or through another recipient, including any successor, assignee, or

transferee of a recipient, but excluding the ultimate beneficiary of the assistance.”

34 C.F.R. § 104.3(f).

                                        452.

      At all times relevant to the allegations of the within complaint, MSM has

been a recipient of Federal financial assistance including, but not limited to, those

under Title IV of the Higher Education Act, Federal student financial aid in the

form of tuition payments, loans, grants, subsidies, and other funds. 34 C.F.R. §

104.3(h).

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                                       453.

      MSM has signed and filed assurances of compliance with the Department of

Education conditioning the receipt of Federal financial assistance on continued

compliance with the Rehabilitation Act. 34 C.F.R. § 104.5.

                                       454.

      Retaliation is defined as discriminating against an individual because such

“individual has opposed any act or practice made unlawful by this chapter or

because such individual made a charge, testified, assisted, or participated in any

manner in an investigation, proceeding, or hearing under this chapter.” 42 U.S.C. §

12203(a), 28 C.F.R. § 36.206(a), 28 C.F.R. § 35.134(a), and 29 U.S.C. § 794(a,d).

                                       455.

      MSM has violated the rights of Plaintiff under 42 U.S.C. § 12203(a), 28

C.F.R. § 36.206(a), 28 C.F.R. § 35.134(a), and 29 U.S.C. § 794(a,d), as described

herein, due to Plaintiff's opposition of MSM’s failure to provide for Plaintiff’s

note-taking accommodation and Plaintiff filing a compliance complaint, including

the following:

   a. The meetings and communications between Plaintiff and Marla Thompson,

      and Plaintiff and Dr. Ngozi Anachebe, in subdivision heading F,

      “RESOLUTION ATTEMPT BY PLAINTIFF,” where Plaintiff opposed the

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   previous failures of MSM in providing for Plaintiff’s note-taking

   accommodation, and attempted to find a resolution, and Alecia Bell

   notifying Plaintiff via phone, on or around June 19, 2020, and later

   confirmed via email on June 24, 2020, that she could not respond as to why

   these events happened from the responses Marla Thompson and Dr. Ngozi

   Anachebe provided to her (See Exhibit BH, Pages 1-4);

b. Keith Henderson, MSM’s Chief Compliance Officer, choosing not to

   respond to Plaintiff’s email about filing a compliance complaint (See Exhibit

   BA and Exhibit BB, Page 2);

c. On or around June 26, 2020, and June 29, 2020, Plaintiff emailed Alecia

   Bell and asked for more clarity about the processes and procedures regarding

   MSM’s Office of Compliance and Office of General Counsel in

   investigating and dealing with Plaintiff’s compliance complaint, to which

   Alecia Bell, on or around June 29, 2020, stated she did not have answers to

   any of Plaintiff’s questions, when in fact Alecia Bell knew the answers to at

   the very least Plaintiff’s first and second question, because it was the process

   and procedure Alecia Bell was carrying out (See Exhibit BN, Pages 1-2);

d. MSM’s Office of Compliance needed to spend over three and a half months

   [Plaintiff’s compliance complaint was filed on or around March 28, 2020

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   (See Exhibit BB), and MSM’s written letter of determination was sent to

   Plaintiff on or around July 14, 2020 (See Exhibit BO)] investigating

   Plaintiff’s compliance complaint, which by MSM’s Office of Compliance’s

   own admission, consisted overall of only four to five total meetings;

e. Despite MSM’s general policy against retaliation and discrimination (See

   Exhibit AD, Page 66, Exhibit AE, Page 70, and Exhibit AF, Page 71), and

   despite Plaintiff’s compliance complaint outlining MSM’s attempts to

   conceal and MSM’s retaliatory acts made against Plaintiff (See Exhibit BB,

   Pages 1-2), which are described in subdivision heading F, “RESOLUTION

   ATTEMPT BY PLAINTIFF,” Alecia Bell’s written letter of determination

   to Plaintiff failed to address the portion of Plaintiff’s compliance complaint

   outlining MSM’s attempts to conceal and retaliatory acts made against

   Plaintiff (See Exhibit BO, Pages 2-3);

f. Due to MSM’s current reaffirmation of its accreditation with the Southern

   Association of Colleges and Schools Commission on Colleges (SACSCOC)

   (See Exhibit BP, Pages 1-2) and the Liaison Committee on Medical

   Education (LCME) (See Exhibit BP, Pages 3-7), Alecia Bell intentionally

   made numerous erroneous, misleading, unclear, arbitrary, self-serving, and




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   false findings in her written letter of determination sent to Plaintiff

   including, but not limited to, the issues described in Paragraphs 213-224;

g. Alecia Bell intentionally made numerous erroneous, misleading, unclear,

   arbitrary, self-serving, and false findings in her written letter of

   determination sent to Plaintiff including, but not limited to, the issues

   described in Paragraphs 213-224, so as to preclude Plaintiff from being able

   to rely on it during Plaintiff’s dismissal hearing;

h. MSM, a medical school, placing Plaintiff, one of its medical students, and

   who has a disability, in a financially and medically disadvantageous position

   in that Plaintiff was given no warning of when Plaintiff’s health insurance

   benefits would end, on or around June 30, 2020, despite Plaintiff asking for

   answers about what will happen to Plaintiff’s health insurance on or around

   May 27, 2020 (See Exhibit BU, Pages 1-2), leaving Plaintiff uninsured for

   the month of July 2020, and leaving Plaintiff unable to secure health

   insurance until at least August of 2020, during the global COVID-19

   pandemic;

i. MSM, a medical school, placing Plaintiff, one of its medical students, who

   has a disability, in a financially and medically disadvantageous position in

   that Plaintiff lost access to Plaintiff’s doctors and Plaintiff has had to use

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   medications with less frequency than prescribed due to their uninsured high

   costs because MSM cancelled Plaintiff’s health insurance without any

   warning, on or around June 30, 2020, despite Plaintiff asking for answers

   about what will happen to Plaintiff’s health insurance on or around May 27,

   2020 (See Exhibit BU, Pages 1-2), during the global COVID-19 pandemic;

j. On or around July 2, 2020, in response to Plaintiff losing health insurance

   coverage without any warning, Plaintiff fearfully emailed Alecia Bell,

   stating that Plaintiff could not deal with any more surprises, and that

   Plaintiff needed some assurances that Plaintiff will continue to have access

   to Plaintiff’s school email and laptop computer (which will become

   Plaintiff’s own laptop computer after graduating but currently requires a

   MSM-issued password to access and use) at least until the resolution of

   Plaintiff’s issues with MSM, to which Alecia Bell subsequently responded

   via email stating that she would work with Marla Thompson in addressing

   Plaintiff’s request, to which Marla Thompson subsequently responded via

   email to Alecia Bell (with Plaintiff cc-ed) stating, “I will engage the

   Registrar so you have clarity on how they manage this process. We will do

   what we are able to so [Plaintiff] is aware of this information today,” (See

   Exhibit BW, Pages 1-2), and yet Plaintiff has never heard back from anyone

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   at MSM about whether Plaintiff will continue to have access to Plaintiff’s

   school email and laptop computer;

k. On or around June 30, 2020, and on or around July 1, 2020, due to the

   possibility of Plaintiff needing to return to campus to possibly meet with

   anyone, or sign anything, regarding Plaintiff’s issues with MSM, Plaintiff,

   after receiving emails that all students and staff returning to campus are

   required to get tested first, emailed Alecia Bell asking if Plaintiff should

   schedule a COVID-19 test, and Alecia Bell chose not to respond to both

   emails (See Exhibit BX, Pages 1-4), because MSM already had every

   intention of dismissing Plaintiff and the dismissal hearing was just a

   “formality” or sham;

l. MSM scheduling a dismissal hearing against Plaintiff (scheduled for on or

   around June 16, 2020, postponed on or around June 12, 2020, and

   rescheduled for on or around July 28, 2020) after MSM failed to provide for

   Plaintiff’s note-taking accommodation, during the 2017-2018 and 2018-

   2019 academic school years, that MSM granted to Plaintiff;

m. Dr. Brenda Klement choosing not to respond to Plaintiff’s email asking

   about who at MSM had the authority to postpone or cancel Plaintiff’s




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   dismissal hearing, whilst the investigation about Plaintiff’s compliance

   complaint was still being conducted (See Exhibit BE, Pages 1-2);

n. Plaintiff was provided with no official explanation as to why the original

   dismissal hearing was postponed and then later rescheduled;

o. On or around June 5, 2020, Alecia Bell notified Plaintiff via phone that Dr.

   Brenda Klement and herself both decided that since there was supposedly

   not a process in place at MSM concerning dismissal hearings where the

   student also has an ongoing compliance investigation, and because Alecia

   Bell supposedly still did not have enough information collected from other

   parties at MSM about Plaintiff’s then two-plus-month-old compliance

   complaint about MSM failing to provide for Plaintiff’s note-taking

   accommodation, the dismissal hearing against Plaintiff would continue as

   scheduled (See Exhibit BG);

p. On or around June 5, 2020, Alecia Bell notified Plaintiff via phone that

   despite ODS having more or less agreed to the facts in Plaintiff’s

   compliance complaint (Exhibit BB) about MSM failing to provide for

   Plaintiff’s note-taking accommodation, the dismissal hearing against

   Plaintiff would continue as scheduled;




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q. MSM’s scheduling a dismissal hearing against Plaintiff (scheduled for on or

   around June 16, 2020, postponed on or around June 12, 2020, and

   rescheduled for on or around July 28, 2020) while MSM was simultaneously

   conducting an already active and ongoing investigation regarding Plaintiff’s

   compliance complaint, filed on or around March 28, 2020, regarding the

   failure of MSM in providing for Plaintiff’s note-taking accommodation;

r. MSM’s policy that Plaintiff’s questions about MSM’s dismissal hearing

   against Plaintiff and about MSM’s ultimate dismissal of Plaintiff should be

   directed to Dr. Ngozi Anachebe, Associate Dean of Admission and Student

   Affairs at MSM, (See Exhibit BD, Page 5, Exhibit BM, Page 5, Exhibit BT,

   Page 3) despite Plaintiff naming Dr. Ngozi Anachebe as one of the actors in

   MSM’s attempts to conceal and MSM’s retaliatory acts against Plaintiff

   described in Plaintiff’s compliance complaint (See Exhibit BB, Pages 1-2)

   and described in subdivision heading F, “RESOLUTION ATTEMPT BY

   PLAINTIFF,” of which Alecia Bell stated to Plaintiff that she could not

   respond as to why the events described in Plaintiff’s compliance complaint

   (See Exhibit BB, Pages 1-2) and described in subdivision heading F,

   “RESOLUTION ATTEMPT BY PLAINTIFF,” happened from the

   responses Marla Thompson and Dr. Ngozi Anachebe provided to her during

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   Alecia Bell’s investigation of Plaintiff’s compliance complaint (See Exhibit

   BH, Pages 1-4), and which Alecia Bell’s written letter of determination to

   Plaintiff ultimately failed to address (See Exhibit BO, Pages 2-3);

s. MSM’s inclusion of Dr. Ngozi Anachebe in Plaintiff’s dismissal hearing

   despite Plaintiff naming Dr. Ngozi Anachebe as one of the actors in MSM’s

   attempts to conceal and MSM’s retaliatory acts against Plaintiff described in

   Plaintiff’s compliance complaint (See Exhibit BB, Pages 1-2) and described

   in subdivision heading F, “RESOLUTION ATTEMPT BY PLAINTIFF,” of

   which Alecia Bell stated to Plaintiff that she could not respond as to why the

   events described in Plaintiff’s compliance complaint (See Exhibit BB, Pages

   1-2) and described in subdivision heading F, “RESOLUTION ATTEMPT

   BY PLAINTIFF,” happened from the responses Marla Thompson and Dr.

   Ngozi Anachebe provided to her during Alecia Bell’s investigation of

   Plaintiff’s compliance complaint (See Exhibit BH, Pages 1-4), and which

   Alecia Bell’s written letter of determination to Plaintiff ultimately failed to

   address (See Exhibit BO, Pages 2-3);

t. At the start of Plaintiff’s dismissal hearing on or around July 28, 2020,

   Plaintiff was informed, without warning, by Dr. Brenda Klement that the

   committee members had not, and were not, going to look over Plaintiff’s

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   dismissal hearing exhibits before the hearing, despite Dr. Brenda Klement

   affirming that they would (See Exhibit BS), and with no explanation as to

   why this decision was being made when Plaintiff was previously asked what

   method of disseminating Plaintiff’s dismissal hearing exhibits Plaintiff

   wanted;

u. During Plaintiff’s dismissal hearing on or around July 28, 2020, at least one

   committee member determined Plaintiff’s reasonable note-taking

   accommodation, granted by MSM, was non-essential because Plaintiff had

   textbooks;

v. During Plaintiff’s dismissal hearing on or around July 28, 2020, at least one

   committee member determined Plaintiff’s reasonable note-taking

   accommodation, granted by MSM, was non-essential because Plaintiff had

   access to class recordings;

w. MSM choosing not to incorporate appropriate due process standards

   regarding MSM’s dismissal hearing against Plaintiff;

x. Despite MSM’s failure to provide for Plaintiff’s note-taking accommodation

   during the 2017-2018 and 2018-2019 academic school years, MSM

   dismissed Plaintiff from MSM’s medical school program on or around July

   28, 2020;

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y. In an attempt to freeze the status quo of MSM’s prior discrimination of

   Plaintiff, so as to escape the consequences of failing to provide for Plaintiff’s

   note-taking accommodation during Plaintiff’s 2017-2018 and 2018-2019

   academic school years, MSM dismissed Plaintiff from MSM’s medical

   school program on or around July 28, 2020;

z. MSM’s dismissal letter to Plaintiff alleges, “After careful consideration of

   the information you presented during the hearing, the written information

   you submitted to the committee (Exhibits A-F) [Plaintiff’s Exhibit BR], and

   your academic transcript, the committee voted to dismiss you from

   Morehouse School of Medicine,” (See Exhibit BT, Page 2) but all of the

   committee members of Plaintiff’s dismissal hearing did not carefully

   consider Plaintiff’s exhibits because the exhibits remained in the possession

   of Dr. Ngozi Anachebe and Dr. Martha Elks, and not in the possession of all

   committee members;

aa. MSM’s dismissal letter to Plaintiff alleging, “After careful consideration of

   the information you presented during the hearing, the written information

   you submitted to the committee (Exhibits A-F) [Plaintiff’s Exhibit BR], and

   your academic transcript, the committee voted to dismiss you from

   Morehouse School of Medicine. The decision was based on the school’s

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   policy of receiving a final grade of D or F while in the decelerated track, and

   for receiving two or more final grades of D or F (Page 107, iii and viii,

   respectively, 2019-2020 Student Handbook) [Plaintiff’s Exhibit AF],” (See

   Exhibit BT, Page 2) but the reason for Plaintiff’s grades are due to the

   effects of MSM’s failure in providing for Plaintiff’s note-taking

   accommodation during the 2017-2018 and 2018-2019 academic school

   years, including but not limited to Plaintiff’s poor grades and poor academic

   knowledgebase;

bb. MSM’s dismissal letter to Plaintiff alleging, “After careful consideration of

   the information you presented during the hearing, the written information

   you submitted to the committee (Exhibits A-F) [Plaintiff’s Exhibit BR], and

   your academic transcript, the committee voted to dismiss you from

   Morehouse School of Medicine. The decision was based on the school’s

   policy of receiving a final grade of D or F while in the decelerated track, and

   for receiving two or more final grades of D or F (Page 107, iii and viii,

   respectively, 2019-2020 Student Handbook) [Plaintiff’s Exhibit AF],” (See

   Exhibit BT, Page 2) but the reason for Plaintiff’s grades is due to attempts

   made by Plaintiff since January of 2020 to find resolutions to the problems

   Plaintiff was experiencing including, but not limited to, Plaintiff’s time spent

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   combing through two plus years of emails, compiling and conducting

   analytics with regards to Plaintiff’s note-taking accommodation for the

   2017-2018 and 2018-2019 academic school years, Plaintiff’s meetings with

   Marla Thompson and Dr. Ngozi Anachebe, Plaintiff filing a compliance

   complaint that took over three (3) months to investigate, and Plaintiff

   sharing to Marla Thompson and Dr. Ngozi Anachebe Plaintiff’s feelings of

   depression, anxiety, and panic attacks with regards to this entire situation;

cc. MSM’s dismissal letter to Plaintiff alleges, “MSM has a policy that the 1st

   and 2nd Year Curriculum will consist of no more than 36 months excluding

   any leave of absence (Page 104, b. 2019-2020 Student Handbook)

   [Plaintiff’s Exhibit AF], and you have reached this time limit,” (See Exhibit

   BT, Page 2) and on information and belief, MSM has allowed other students

   to spend more than 36 months during their 1st and 2nd Year Curriculum;

dd. Despite that at all relevant times while Plaintiff has been a student at MSM,

   MSM’s 2017-2018 Student Handbook (See Exhibit AD, Page 101, MSM’s

   2018-2019 Student Handbook (See Exhibit AE, Page 107), and MSM’s

   2019-2020 Student Handbook (See Exhibit AF, Page 108) has stated, under

   the “Dismissal and Suspension” subheading, under “The Student Academic

   Progress & Promotion Committee (SAPP)” heading, that, “The Chair of the

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   SAPP committee will provide written information on the reasons for the

   dismissal hearing,” Plaintiff was never notified or provided written

   information (See Exhibit BD, Page 4, and Exhibit BM, Page 4) that one of

   the reasons for MSM’s dismissal hearing against Plaintiff, and one of the

   reasons MSM’s dismissal of Plaintiff would ultimately be for, was that

   “MSM has a policy that the 1st and 2nd Year Curriculum will consist of no

   more than 36 months excluding any leave of absence (Page 104, b. 2019-

   2020 Student Handbook) [Plaintiff’s Exhibit AF], and [Plaintiff had]

   reached this time limit,” (See Exhibit BT, Page 2) and thus Plaintiff was not

   able to present Plaintiff’s case, evidence, and context, regarding this reason

   Plaintiff was dismissed from MSM, in violation of MSM’s Student

   Handbook (See Exhibit AD, Page 101, Exhibit AE, Page 107, and Exhibit

   AF, Page 108);

ee. Despite Plaintiff being asked by Alecia Bell, MSM’s Interim Chief

   Compliance Officer, via phone meeting on or around June 19, 2020, to give

   MSM an opportunity to provide some solutions with regards to Plaintiff’s

   compliance complaint (See Exhibit BN, Page 2), MSM ultimately dismissed

   Plaintiff on or around July 28, 2020;




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   ff. During the course of Plaintiff’s compliance complaint and investigation,

      MSM became aware that Plaintiff has private student loans, and by dragging

      out the investigation of Plaintiff’s compliance complaint and ultimately

      dismissing Plaintiff from MSM’s medical school program, rather than

      providing prompt and equitable relief to Plaintiff, MSM is attempting to

      freeze the status quo of MSM’s prior discrimination of Plaintiff, in attempts

      to escape the consequences of failing to provide for Plaintiff’s note-taking

      accommodation during Plaintiff’s 2017-2018 and 2018-2019 academic

      school years, by throwing Plaintiff in a financially impossible position in

      which Plaintiff will have to start paying back private and federal student

      loans while simultaneously litigating against MSM.

                                        456.

      In addition, it shall be unlawful to “coerce, intimidate, threaten, or interfere

with any individual in the exercise or enjoyment of, or on account of his or her

having exercised or enjoyed, or on account of his or her having aided or

encouraged any other individual in the exercise or enjoyment of, any right granted

or protected” by the ADA, the ADA’s implementing regulations, and the

Rehabilitation Act. 42 U.S.C. § 12203(b), 28 C.F.R. § 36.206(b), 28 C.F.R. §

35.134(b), and 29 U.S.C. § 794(a,d).

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                                       457.

      MSM has violated the rights of Plaintiff under 42 U.S.C. § 12203(b), 28

C.F.R. § 36.206(b), 28 C.F.R. § 35.134(b), and 29 U.S.C. § 794(a,d), as described

herein, due to Plaintiff’s exercise or enjoyment of, or on account of Plaintiff having

exercised or asserted Plaintiff’s rights under the Rehabilitation Act and the ADA,

including the following:

   a. The meetings and communications between Plaintiff and Marla Thompson,

      and Plaintiff and Dr. Ngozi Anachebe, in subdivision heading F,

      “RESOLUTION ATTEMPT BY PLAINTIFF,” where Plaintiff opposed the

      previous failures of MSM in providing for Plaintiff’s note-taking

      accommodation, and attempted to find a resolution, and Alecia Bell

      notifying Plaintiff via phone, on or around June 19, 2020, and later

      confirmed via email on June 24, 2020, that she could not respond as to why

      these events happened from the responses Marla Thompson and Dr. Ngozi

      Anachebe provided to her (See Exhibit BH, Pages 1-4);

   b. Keith Henderson, MSM’s Chief Compliance Officer, choosing not to

      respond to Plaintiff’s email about filing a compliance complaint (See Exhibit

      BA and Exhibit BB, Page 2);




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c. On or around June 26, 2020, and June 29, 2020, Plaintiff emailed Alecia

   Bell and asked for more clarity about the processes and procedures regarding

   MSM’s Office of Compliance and Office of General Counsel in

   investigating and dealing with Plaintiff’s compliance complaint, to which

   Alecia Bell, on or around June 29, 2020, stated she did not have answers to

   any of Plaintiff’s questions, when in fact Alecia Bell knew the answers to at

   the very least Plaintiff’s first and second question, because it was the process

   and procedure Alecia Bell was carrying out (See Exhibit BN, Pages 1-2);

d. MSM’s Office of Compliance needed to spend over three and a half months

   [Plaintiff’s compliance complaint was filed on or around March 28, 2020

   (See Exhibit BB), and MSM’s written letter of determination was sent to

   Plaintiff on or around July 14, 2020 (See Exhibit BO)] investigating

   Plaintiff’s compliance complaint, which by MSM’s Office of Compliance’s

   own admission, consisted overall of only four to five total meetings;

e. Despite MSM’s general policy against retaliation and discrimination (See

   Exhibit AD, Page 66, Exhibit AE, Page 70, and Exhibit AF, Page 71), and

   despite Plaintiff’s compliance complaint outlining MSM’s attempts to

   conceal and MSM’s retaliatory acts made against Plaintiff (See Exhibit BB,

   Pages 1-2), which are described in subdivision heading F, “RESOLUTION

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   ATTEMPT BY PLAINTIFF,” Alecia Bell’s written letter of determination

   to Plaintiff failed to address the portion of Plaintiff’s compliance complaint

   outlining MSM’s attempts to conceal and retaliatory acts made against

   Plaintiff (See Exhibit BO, Pages 2-3);

f. Due to MSM’s current reaffirmation of its accreditation with the Southern

   Association of Colleges and Schools Commission on Colleges (SACSCOC)

   (See Exhibit BP, Pages 1-2) and the Liaison Committee on Medical

   Education (LCME) (See Exhibit BP, Pages 3-7), Alecia Bell intentionally

   made numerous erroneous, misleading, unclear, arbitrary, self-serving, and

   false findings in her written letter of determination sent to Plaintiff

   including, but not limited to, the issues described in Paragraphs 213-224;

g. Alecia Bell intentionally made numerous erroneous, misleading, unclear,

   arbitrary, self-serving, and false findings in her written letter of

   determination sent to Plaintiff including, but not limited to, the issues

   described in Paragraphs 213-224, so as to preclude Plaintiff from being able

   to rely on it during Plaintiff’s dismissal hearing;

h. MSM, a medical school, placing Plaintiff, one of its medical students, and

   who has a disability, in a financially and medically disadvantageous position

   in that Plaintiff was given no warning of when Plaintiff’s health insurance

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   benefits would end, on or around June 30, 2020, despite Plaintiff asking for

   answers about what will happen to Plaintiff’s health insurance on or around

   May 27, 2020 (See Exhibit BU, Pages 1-2), leaving Plaintiff uninsured for

   the month of July 2020, and leaving Plaintiff unable to secure health

   insurance until at least August of 2020, during the global COVID-19

   pandemic;

i. MSM, a medical school, placing Plaintiff, one of its medical students, who

   has a disability, in a financially and medically disadvantageous position in

   that Plaintiff lost access to Plaintiff’s doctors and Plaintiff has had to use

   medications with less frequency than prescribed due to their uninsured high

   costs because MSM cancelled Plaintiff’s health insurance without any

   warning, on or around June 30, 2020, despite Plaintiff asking for answers

   about what will happen to Plaintiff’s health insurance on or around May 27,

   2020 (See Exhibit BU, Pages 1-2), during the global COVID-19 pandemic;

j. On or around July 2, 2020, in response to Plaintiff losing health insurance

   coverage without any warning, Plaintiff fearfully emailed Alecia Bell,

   stating that Plaintiff could not deal with any more surprises, and that

   Plaintiff needed some assurances that Plaintiff will continue to have access

   to Plaintiff’s school email and laptop computer (which will become

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   Plaintiff’s own laptop computer after graduating but currently requires a

   MSM-issued password to access and use) at least until the resolution of

   Plaintiff’s issues with MSM, to which Alecia Bell subsequently responded

   via email stating that she would work with Marla Thompson in addressing

   Plaintiff’s request, to which Marla Thompson subsequently responded via

   email to Alecia Bell (with Plaintiff cc-ed) stating, “I will engage the

   Registrar so you have clarity on how they manage this process. We will do

   what we are able to so [Plaintiff] is aware of this information today,” (See

   Exhibit BW, Pages 1-2), and yet Plaintiff has never heard back from anyone

   at MSM about whether Plaintiff will continue to have access to Plaintiff’s

   school email and laptop computer;

k. On or around June 30, 2020, and on or around July 1, 2020, due to the

   possibility of Plaintiff needing to return to campus to possibly meet with

   anyone, or sign anything, regarding Plaintiff’s issues with MSM, Plaintiff,

   after receiving emails that all students and staff returning to campus are

   required to get tested first, emailed Alecia Bell asking if Plaintiff should

   schedule a COVID-19 test, and Alecia Bell chose not to respond to both

   emails (See Exhibit BX, Pages 1-4), because MSM already had every




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   intention of dismissing Plaintiff and the dismissal hearing was just a

   “formality” or sham;

l. MSM scheduling a dismissal hearing against Plaintiff (scheduled for on or

   around June 16, 2020, postponed on or around June 12, 2020, and

   rescheduled for on or around July 28, 2020) after MSM failed to provide for

   Plaintiff’s note-taking accommodation, during the 2017-2018 and 2018-

   2019 academic school years, that MSM granted to Plaintiff;

m. Dr. Brenda Klement choosing not to respond to Plaintiff’s email asking

   about who at MSM had the authority to postpone or cancel Plaintiff’s

   dismissal hearing, whilst the investigation about Plaintiff’s compliance

   complaint was still being conducted (See Exhibit BE, Pages 1-2);

n. Plaintiff was provided with no official explanation as to why the original

   dismissal hearing was postponed and then later rescheduled;

o. On or around June 5, 2020, Alecia Bell notified Plaintiff via phone that Dr.

   Brenda Klement and herself both decided that since there was supposedly

   not a process in place at MSM concerning dismissal hearings where the

   student also has an ongoing compliance investigation, and because Alecia

   Bell supposedly still did not have enough information collected from other

   parties at MSM about Plaintiff’s then two-plus-month-old compliance

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   complaint about MSM failing to provide for Plaintiff’s note-taking

   accommodation, the dismissal hearing against Plaintiff would continue as

   scheduled (See Exhibit BG);

p. On or around June 5, 2020, Alecia Bell notified Plaintiff via phone that

   despite ODS having more or less agreed to the facts in Plaintiff’s

   compliance complaint (Exhibit BB) about MSM failing to provide for

   Plaintiff’s note-taking accommodation, the dismissal hearing against

   Plaintiff would continue as scheduled;

q. MSM’s scheduling a dismissal hearing against Plaintiff (scheduled for on or

   around June 16, 2020, postponed on or around June 12, 2020, and

   rescheduled for on or around July 28, 2020) while MSM was simultaneously

   conducting an already active and ongoing investigation regarding Plaintiff’s

   compliance complaint, filed on or around March 28, 2020, regarding the

   failure of MSM in providing for Plaintiff’s note-taking accommodation;

r. MSM’s policy that Plaintiff’s questions about MSM’s dismissal hearing

   against Plaintiff and about MSM’s ultimate dismissal of Plaintiff should be

   directed to Dr. Ngozi Anachebe, Associate Dean of Admission and Student

   Affairs at MSM, (See Exhibit BD, Page 5, Exhibit BM, Page 5, Exhibit BT,

   Page 3) despite Plaintiff naming Dr. Ngozi Anachebe as one of the actors in

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   MSM’s attempts to conceal and MSM’s retaliatory acts against Plaintiff

   described in Plaintiff’s compliance complaint (See Exhibit BB, Pages 1-2)

   and described in subdivision heading F, “RESOLUTION ATTEMPT BY

   PLAINTIFF,” of which Alecia Bell stated to Plaintiff that she could not

   respond as to why the events described in Plaintiff’s compliance complaint

   (See Exhibit BB, Pages 1-2) and described in subdivision heading F,

   “RESOLUTION ATTEMPT BY PLAINTIFF,” happened from the

   responses Marla Thompson and Dr. Ngozi Anachebe provided to her during

   Alecia Bell’s investigation of Plaintiff’s compliance complaint (See Exhibit

   BH, Pages 1-4), and which Alecia Bell’s written letter of determination to

   Plaintiff ultimately failed to address (See Exhibit BO, Pages 2-3);

s. MSM’s inclusion of Dr. Ngozi Anachebe in Plaintiff’s dismissal hearing

   despite Plaintiff naming Dr. Ngozi Anachebe as one of the actors in MSM’s

   attempts to conceal and MSM’s retaliatory acts against Plaintiff described in

   Plaintiff’s compliance complaint (See Exhibit BB, Pages 1-2) and described

   in subdivision heading F, “RESOLUTION ATTEMPT BY PLAINTIFF,” of

   which Alecia Bell stated to Plaintiff that she could not respond as to why the

   events described in Plaintiff’s compliance complaint (See Exhibit BB, Pages

   1-2) and described in subdivision heading F, “RESOLUTION ATTEMPT

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   BY PLAINTIFF,” happened from the responses Marla Thompson and Dr.

   Ngozi Anachebe provided to her during Alecia Bell’s investigation of

   Plaintiff’s compliance complaint (See Exhibit BH, Pages 1-4), and which

   Alecia Bell’s written letter of determination to Plaintiff ultimately failed to

   address (See Exhibit BO, Pages 2-3);

t. At the start of Plaintiff’s dismissal hearing on or around July 28, 2020,

   Plaintiff was informed, without warning, by Dr. Brenda Klement that the

   committee members had not, and were not, going to look over Plaintiff’s

   dismissal hearing exhibits before the hearing, despite Dr. Brenda Klement

   affirming that they would (See Exhibit BS), and with no explanation as to

   why this decision was being made when Plaintiff was previously asked what

   method of disseminating Plaintiff’s dismissal hearing exhibits Plaintiff

   wanted;

u. During Plaintiff’s dismissal hearing on or around July 28, 2020, at least one

   committee member determined Plaintiff’s reasonable note-taking

   accommodation, granted by MSM, was non-essential because Plaintiff had

   textbooks;

v. During Plaintiff’s dismissal hearing on or around July 28, 2020, at least one

   committee member determined Plaintiff’s reasonable note-taking

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   accommodation, granted by MSM, was non-essential because Plaintiff had

   access to class recordings;

w. MSM choosing not to incorporate appropriate due process standards

   regarding MSM’s dismissal hearing against Plaintiff;

x. Despite MSM’s failure to provide for Plaintiff’s note-taking accommodation

   during the 2017-2018 and 2018-2019 academic school years, MSM

   dismissed Plaintiff from MSM’s medical school program on or around July

   28, 2020;

y. In an attempt to freeze the status quo of MSM’s prior discrimination of

   Plaintiff, so as to escape the consequences of failing to provide for Plaintiff’s

   note-taking accommodation during Plaintiff’s 2017-2018 and 2018-2019

   academic school years, MSM dismissed Plaintiff from MSM’s medical

   school program on or around July 28, 2020;

z. MSM’s dismissal letter to Plaintiff alleges, “After careful consideration of

   the information you presented during the hearing, the written information

   you submitted to the committee (Exhibits A-F) [Plaintiff’s Exhibit BR], and

   your academic transcript, the committee voted to dismiss you from

   Morehouse School of Medicine,” (See Exhibit BT, Page 2) but all of the

   committee members of Plaintiff’s dismissal hearing did not carefully

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   consider Plaintiff’s exhibits because the exhibits remained in the possession

   of Dr. Ngozi Anachebe and Dr. Martha Elks, and not in the possession of all

   committee members;

aa. MSM’s dismissal letter to Plaintiff alleging, “After careful consideration of

   the information you presented during the hearing, the written information

   you submitted to the committee (Exhibits A-F) [Plaintiff’s Exhibit BR], and

   your academic transcript, the committee voted to dismiss you from

   Morehouse School of Medicine. The decision was based on the school’s

   policy of receiving a final grade of D or F while in the decelerated track, and

   for receiving two or more final grades of D or F (Page 107, iii and viii,

   respectively, 2019-2020 Student Handbook) [Plaintiff’s Exhibit AF],” (See

   Exhibit BT, Page 2) but the reason for Plaintiff’s grades are due to the

   effects of MSM’s failure in providing for Plaintiff’s note-taking

   accommodation during the 2017-2018 and 2018-2019 academic school

   years, including but not limited to Plaintiff’s poor grades and poor academic

   knowledgebase;

bb. MSM’s dismissal letter to Plaintiff alleging, “After careful consideration of

   the information you presented during the hearing, the written information

   you submitted to the committee (Exhibits A-F) [Plaintiff’s Exhibit BR], and

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   your academic transcript, the committee voted to dismiss you from

   Morehouse School of Medicine. The decision was based on the school’s

   policy of receiving a final grade of D or F while in the decelerated track, and

   for receiving two or more final grades of D or F (Page 107, iii and viii,

   respectively, 2019-2020 Student Handbook) [Plaintiff’s Exhibit AF],” (See

   Exhibit BT, Page 2) but the reason for Plaintiff’s grades is due to attempts

   made by Plaintiff since January of 2020 to find resolutions to the problems

   Plaintiff was experiencing including, but not limited to, Plaintiff’s time spent

   combing through two plus years of emails, compiling and conducting

   analytics with regards to Plaintiff’s note-taking accommodation for the

   2017-2018 and 2018-2019 academic school years, Plaintiff’s meetings with

   Marla Thompson and Dr. Ngozi Anachebe, Plaintiff filing a compliance

   complaint that took over three (3) months to investigate, and Plaintiff

   sharing to Marla Thompson and Dr. Ngozi Anachebe Plaintiff’s feelings of

   depression, anxiety, and panic attacks with regards to this entire situation;

cc. MSM’s dismissal letter to Plaintiff alleges, “MSM has a policy that the 1st

   and 2nd Year Curriculum will consist of no more than 36 months excluding

   any leave of absence (Page 104, b. 2019-2020 Student Handbook)

   [Plaintiff’s Exhibit AF], and you have reached this time limit,” (See Exhibit

                                      175
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   BT, Page 2) and on information and belief, MSM has allowed other students

   to spend more than 36 months during their 1st and 2nd Year Curriculum;

dd. Despite that at all relevant times while Plaintiff has been a student at MSM,

   MSM’s 2017-2018 Student Handbook (See Exhibit AD, Page 101, MSM’s

   2018-2019 Student Handbook (See Exhibit AE, Page 107), and MSM’s

   2019-2020 Student Handbook (See Exhibit AF, Page 108) has stated, under

   the “Dismissal and Suspension” subheading, under “The Student Academic

   Progress & Promotion Committee (SAPP)” heading, that, “The Chair of the

   SAPP committee will provide written information on the reasons for the

   dismissal hearing,” Plaintiff was never notified or provided written

   information (See Exhibit BD, Page 4, and Exhibit BM, Page 4) that one of

   the reasons for MSM’s dismissal hearing against Plaintiff, and one of the

   reasons MSM’s dismissal of Plaintiff would ultimately be for, was that

   “MSM has a policy that the 1st and 2nd Year Curriculum will consist of no

   more than 36 months excluding any leave of absence (Page 104, b. 2019-

   2020 Student Handbook) [Plaintiff’s Exhibit AF], and [Plaintiff had]

   reached this time limit,” (See Exhibit BT, Page 2) and thus Plaintiff was not

   able to present Plaintiff’s case, evidence, and context, regarding this reason

   Plaintiff was dismissed from MSM, in violation of MSM’s Student

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   Handbook (See Exhibit AD, Page 101, Exhibit AE, Page 107, and Exhibit

   AF, Page 108);

ee. Despite Plaintiff being asked by Alecia Bell, MSM’s Interim Chief

   Compliance Officer, via phone meeting on or around June 19, 2020, to give

   MSM an opportunity to provide some solutions with regards to Plaintiff’s

   compliance complaint (See Exhibit BN, Page 2), MSM ultimately dismissed

   Plaintiff on or around July 28, 2020;

ff. During the course of Plaintiff’s compliance complaint and investigation,

   MSM became aware that Plaintiff has private student loans, and by dragging

   out the investigation of Plaintiff’s compliance complaint and ultimately

   dismissing Plaintiff from MSM’s medical school program, rather than

   providing prompt and equitable relief to Plaintiff, MSM is attempting to

   freeze the status quo of MSM’s prior discrimination of Plaintiff, in attempts

   to escape the consequences of failing to provide for Plaintiff’s note-taking

   accommodation during Plaintiff’s 2017-2018 and 2018-2019 academic

   school years, by throwing Plaintiff in a financially impossible position in

   which Plaintiff will have to start paying back private and federal student

   loans while simultaneously litigating against MSM.

                                    458.

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      The actions and inactions of MSM described herein were made for the sole

purpose of retaliating and discriminating against Plaintiff's opposition to MSM’s

failure to provide for Plaintiff’s note-taking accommodation and Plaintiff filing a

compliance complaint, despite MSM advertising that “the atmosphere here at

MSM to be one that fosters learning, enhances emotional well-being, and helps

you in your professional growth” (See Exhibit BY, Page 1). 42 U.S.C. § 12203(a),

29 U.S.C. § 794(a,d), 28 C.F.R. § 36.206, and 28 C.F.R. § 35.134.

                                       459.

      The actions and inactions of MSM described herein were made for the sole

purpose of interfering, coercing, intimidating, and threatening Plaintiff due to

Plaintiff's exercise or enjoyment of, or on account of Plaintiff having exercised or

asserted, Plaintiff’s rights under the Rehabilitation Act and the ADA, despite MSM

advertising that “the atmosphere here at MSM to be one that fosters learning,

enhances emotional well-being, and helps you in your professional growth” (See

Exhibit BY, Page 1). 42 U.S.C. § 12203(b), 29 U.S.C. § 794(a,d), 28 C.F.R. §

36.206, and 28 C.F.R. § 35.134.

                                       460.

      According to MSM’s 2017-2018 Student Handbook (See Exhibit AD, Page

70), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Page 74), and MSM’s

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2019-2020 Student Handbook (See Exhibit AF, Page 75), under the “Compliance

Hotline” heading, that,

      “[MSM] is an organization with strong values of responsibility and integrity.
      Our written standards and policies contain general guidelines for conducting
      business with the highest standards of ethics. The institution is committed to
      an environment where open, honest communications are the expectation, not
      the exception.”
                                      461.

      MSM has knowledge of its obligations under the ADA and Rehabilitation

Act and has acted with intentional animus and deliberate indifference of Plaintiff’s

federally protected rights.

                                         462.

      MSM knew that harm to Plaintiff’s federally protected rights was

substantially likely as a result of MSM’s actions and inactions, and MSM failed to

act on that likelihood.

                                         463.

      These actions and inactions of MSM described herein were materially

adverse to Plaintiff and would dissuade a reasonable person from making or

supporting a charge of discrimination.

                                         464.

      The willful actions and inactions of MSM have placed Plaintiff in a

financially and medically disadvantageous position.
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                                       465.

      As a result of MSM’s actions, Plaintiff has suffered actual damages, non-

economic damages, embarrassment, humiliation, emotional harm, mental and

physical pain, and anguish.

                                       466.

      As a result of MSM’s actions, Plaintiff has experienced loss of educational

opportunities, loss of employment opportunities, loss of research opportunities,

increased financial debt, and loss of future income.

                                       467.

      Plaintiff has had to hire counsel and currently has over $20,000 in attorney’s

fees on account at $400/hour. 29 U.S.C.A. § 794a(b), 28 C.F.R. § 36.505, and 42

U.S.C.A. § 2000a-3(b).


  COUNT VII - VIOLATION OF O.C.G.A. § 51–6–1, § 51–6–2, AND § 51–6–4 -
 FRAUD - WILLFUL MISREPRESENTATION AND CONCEALMENT OF FACT

                                       468.

      Plaintiff realleges, repeats, and incorporates by reference herein paragraphs

1 to 284.

                                       469.

      O.C.G.A. § 51-6-2(a), states that:

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      “Willful misrepresentation of a material fact, made to induce another to act,
      upon which such person acts to his injury, will give him a right of action.
      Mere concealment of a material fact, unless done in such a manner as to
      deceive and mislead, will not support an action.” O.C.G.A. § 51-6-2(a).

                                       470.

      O.C.G.A. § 51-6-4(a), states that:

      “A fraud may be committed by acts as well as words.” O.C.G.A. § 51-6-
      4(a).

                                       471.

   MSM willfully misrepresented material facts to Plaintiff under O.C.G.A. § 51-

6-2(a), as described herein, including the following:

   a. During the interactive accommodation review process, including but not

      limited to on or around April 12, 2017, prior to school starting on or around

      July 3, 2017, Plaintiff was made to believe that there was a system in place

      to satisfy Plaintiff’s note-taking accommodation at MSM;

   b. During the interactive accommodation review process, including but not

      limited to on or around April 12, 2017, prior to school starting on or around

      July 3, 2017, Plaintiff was made to believe that the note-taking

      accommodation would operate efficiently in providing notes for Plaintiff’s

      accommodation;




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c. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson knew there was not a system in place to

   satisfy Plaintiff’s note-taking accommodation;

d. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson knew the note-taking accommodation for

   Plaintiff was not an established system at MSM;

e. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson knew the note-taking accommodation for

   Plaintiff had not been previously provided by her;

f. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson communicated that Plaintiff’s requested note-

   taking accommodation would come with a 24-48-hour turnaround time goal

   for any class Plaintiff was taking;

g. The 24-48-hour turnaround time goal for the availability of notes for

   Plaintiff’s note-taking accommodation was never measured or evaluated by

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      either Marla Thompson or Dr. Brandi Knight during the entirety of the time

      Plaintiff has been a student at MSM;

   h. Neither Marla Thompson nor Dr. Brandi Knight had any intention of ever

      measuring or evaluating the 24-48-hour turnaround time goal for Plaintiff’s

      note-taking accommodation to ensure that this goal was met;

   i. Marla Thompson willfully misrepresented material facts to Plaintiff in order

      to induce Plaintiff into enrolling in MSM’s medical school program on or

      around May 15, 2017, which was the deadline for students, whom had been

      accepted into multiple medical schools, to choose what medical school they

      would matriculate to.

                                      472.

   MSM concealed material facts so as to deceive and mislead Plaintiff under

O.C.G.A. § 51-6-2(a) and O.C.G.A. § 51-6-4(a), as described herein, including the

following:

   a. During the interactive accommodation review process, including but not

      limited to on or around April 12, 2017, prior to school starting on or around

      July 3, 2017, Plaintiff was neither warned nor advised that the note-taking

      accommodation would be a new process for Marla Thompson;




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b. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson neither warned nor advised Plaintiff that

   there was currently no system in place to satisfy Plaintiff’s note-taking

   accommodation;

c. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson neither warned nor advised Plaintiff that

   Plaintiff’s note-taking accommodation would not be available upon

   Plaintiff’s arrival to MSM;

d. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson neither warned nor advised Plaintiff that

   Plaintiff’s note-taking accommodation would have an initial delay in the

   production of any notes for Plaintiff;

e. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson neither warned nor advised Plaintiff that

   there was currently no system in place to ensure the promised 24-48-hour

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      turnaround time goal for notes was met for Plaintiff’s note-taking

      accommodation;

   f. During the interactive accommodation review process, including but not

      limited to on or around April 12, 2017, prior to school starting on or around

      July 3, 2017, Marla Thompson neither warned nor advised Plaintiff that she

      had no intention of ever measuring or evaluating the 24-48-hour turnaround

      time goal for Plaintiff’s note-taking accommodation to ensure that this goal

      was met;

   g. Marla Thompson concealed material facts so as to deceive and mislead

      Plaintiff into enrolling in MSM’s medical school program on or around May

      15, 2017, which was the deadline for students, whom had been accepted into

      multiple medical schools, to choose what medical school they would

      matriculate to.

                                      473.

      Plaintiff relied upon the representations made to Plaintiff by Marla

Thompson during the interactive accommodation review process in determining

that Plaintiff would attend MSM to study medicine on or around May 15, 2017,

which was the deadline for students, whom had been accepted into multiple

medical schools, to choose what medical school they would matriculate to.

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                                        474.

      Plaintiff justifiably relied on the information provided to Plaintiff by Marla

Thompson because she was the person in charge of determining Plaintiff’s

eligibility for accommodations and managing the accommodation’s

implementation.

                                        475.

      Plaintiff exercised due diligence in alerting MSM’s ODS of Plaintiff’s

disability nearly four months before classes began for Plaintiff’s first year of

medical school on or around July 3, 2017.

                                        476.

      Plaintiff exercised due diligence in inquiring if MSM’s ODS could

accommodate Plaintiff’s disability nearly four months before classes began for

Plaintiff’s first year of medical school on or around July 3, 2017.

                                        477.

      Information contrary to what Marla Thompson communicated to Plaintiff

during the interactive accommodation review process was not available to Plaintiff,

nor would a reasonable person doubt statements, regarding accommodations, from

the person in charge of MSM’s ODS.

                                        478.

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       The actions of Marla Thompson were in furtherance of and within the scope

of MSM’s business.

                                         479.

       The actions of Marla Thompson showed willful misconduct, fraud, and

conscious indifference to the consequences Plaintiff would suffer due to her willful

misrepresentations of a material fact and concealment of material fact.

                                         480.

       MSM never allowed Plaintiff to objectively weigh other medical schools

Plaintiff was accepted to more heavily in Plaintiff’s decision-making process of

where Plaintiff would attend medical school due to the misrepresentations of the

capabilities and management of MSM’s accommodations for students with

disabilities.

                                         481.

       O.C.G.A. § 51-6-1, states that:

       “Fraud, accompanied by damage to the party defrauded, always gives a right
       of action to the injured party.” O.C.G.A. § 51-6-1.

                                         482.

       As a result of MSM’s misrepresentations, Plaintiff has received economic

injury proximately resulting from Plaintiff’s reliance of Marla Thompson’s willful

misrepresentations, including but not limited to the student loans Plaintiff has
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taken out for the past three years to pay for MSM’s tuition and necessary expenses

as a student (including but not limited to rent, food, school supplies, transportation

expenses, and medical expenses), debt therefore, plus the interest that has accrued

thereon.

                                        483.

      As a result of MSM’s misrepresentations, Plaintiff has received economic

injury proximately resulting from Plaintiff’s reliance of Marla Thompson’s willful

misrepresentation including, but not limited to, the need to restart medical school.

                                        484.

      As a result of MSM’s misrepresentations, Plaintiff has suffered economic

injury by taking out loans to attend MSM for three (3) years in the amount of

$184,279.00, and their presently accrued interest of $18,494.00, totaling

$202,773.00.

                                        485.

      Due to the tortious acts by MSM, Plaintiff must restart medical school and

thus has lost four (4) years from Plaintiff’s work-life expectancy, proximately

causing the following special damages.

                                        486.




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      Due to the tortious acts by MSM, Plaintiff will graduate and become a

medical resident at least four (4) years later than Plaintiff should have.

                                        487.

      In 2020, 87 out of 89 (98%) medical students at MSM applying to residency

programs were matched into one. See Exhibit BZ, Page 5.

                                        488.

      According to the 2019-2020 Survey of Resident/Fellow Stipends and

Benefits Report, authored by the Association of American Medical Colleges

(hereafter referred to as “AAMC”), the unweighted mean stipend for the 2019-

2020’s first, second, third, and fourth year of residency is $57,191; $59,339;

$61,636; and $64,255, respectively. See Exhibit CA, Page 6.

                                        489.

      The sum of $57,191; $59,339; $61,636; and $64,255 equals $242,421 and

represents that amount of lost wages Plaintiff has sustained when Plaintiff’s losses

are calculated as the loss of Plaintiff’s income in the four (4) years after what

should have been Plaintiff’s medical school career.




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                                       490.

      As a result of MSM’s misrepresentations, Plaintiff has suffered actual

damages, non-economic damages, embarrassment, humiliation, emotional harm,

mental and physical pain, and anguish.

                                       491.

      As a result of MSM’s misrepresentations, Plaintiff has experienced loss of

educational opportunities, loss of employment opportunities, loss of research

opportunities, increased financial debt, and loss of future income.


 COUNT VIII - VIOLATION OF O.C.G.A. § 51–6–1, § 51–6–2, AND § 51–6–4 -
   FRAUD - FRAUDULENT OR RECKLESS MISREPRESENTATION, AND
                      CONCEALMENT OF FACT

                                       492.

      Plaintiff realleges, repeats, and incorporates by reference herein paragraphs

1 to 284.

                                       493.

      O.C.G.A. § 51-6-2(b), states that:

      “In all cases of deceit, knowledge of the falsehood constitutes an essential
      element of the tort. A fraudulent or reckless representation of facts as true
      when they are not, if intended to deceive, is equivalent to a knowledge of
      their falsehood even if the party making the representation does not know
      that such facts are false.” O.C.G.A. § 51-6-2(a).


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                                      494.

      O.C.G.A. § 51-6-4(a), states that:

      “A fraud may be committed by acts as well as words.” O.C.G.A. § 51-6-
      4(a).

                                      495.

   MSM fraudulently or recklessly represented facts as true to Plaintiff, when they

were not, under O.C.G.A. § 51-6-2(b), as described herein, including the

following:

   a. During the interactive accommodation review process, including but not

      limited to on or around April 12, 2017, prior to school starting on or around

      July 3, 2017, Plaintiff was made to believe that there was a system in place

      to satisfy Plaintiff’s note-taking accommodation at MSM;

   b. During the interactive accommodation review process, including but not

      limited to on or around April 12, 2017, prior to school starting on or around

      July 3, 2017, Plaintiff was made to believe that the note-taking

      accommodation would operate efficiently in providing notes for Plaintiff’s

      accommodation;

   c. During the interactive accommodation review process, including but not

      limited to on or around April 12, 2017, prior to school starting on or around

      July 3, 2017, Marla Thompson blinded herself to the truth or falsity
                                           191
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   regarding that there was not a system in place to satisfy Plaintiff’s note-

   taking accommodation nor had it previously been provided by her;

d. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson blinded herself to the truth or falsity

   regarding that the note-taking accommodation for Plaintiff was not an

   established system at MSM;

e. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson demonstrated a refusal to know the true

   capabilities and deficiencies regarding MSM’s ability to satisfy Plaintiff’s

   note-taking accommodation;

f. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson communicated that Plaintiff’s requested note-

   taking accommodation would come with a 24-48-hour turnaround time goal

   for any class Plaintiff was taking;

g. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

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      July 3, 2017, Marla Thompson blinded herself to the truth or falsity

      regarding that there was not a system in place to measure or evaluate the 24-

      48-hour turnaround time goal for Plaintiff’s note-taking accommodation;

   h. Marla Thompson fraudulently or recklessly represented facts as true to

      Plaintiff, when they were not, in order to induce Plaintiff into enrolling in

      MSM’s medical school program on or around May 15, 2017, which was the

      deadline for students, whom had been accepted into multiple medical

      schools, to choose what medical school they would matriculate to.

                                       496.

   MSM concealed material facts so as to deceive and mislead Plaintiff under

O.C.G.A. § 51-6-2(a) and O.C.G.A. § 51-6-4(a), as described herein, including the

following:

   a. During the interactive accommodation review process, including but not

      limited to on or around April 12, 2017, prior to school starting on or around

      July 3, 2017, Plaintiff was neither warned nor advised that the note-taking

      accommodation would be a new process for Marla Thompson;

   b. During the interactive accommodation review process, including but not

      limited to on or around April 12, 2017, prior to school starting on or around

      July 3, 2017, Marla Thompson neither warned nor advised Plaintiff that

                                         193
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   there was currently no system in place to satisfy Plaintiff’s note-taking

   accommodation;

c. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson neither warned nor advised Plaintiff that

   Plaintiff’s note-taking accommodation would not be available upon

   Plaintiff’s arrival to MSM;

d. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson neither warned nor advised Plaintiff that

   Plaintiff’s note-taking accommodation would have an initial delay in the

   production of any notes for Plaintiff;

e. During the interactive accommodation review process, including but not

   limited to on or around April 12, 2017, prior to school starting on or around

   July 3, 2017, Marla Thompson neither warned nor advised Plaintiff that

   there was currently no system in place to ensure the promised 24-48-hour

   turnaround time goal for notes was met for Plaintiff’s note-taking

   accommodation;




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   f. During the interactive accommodation review process, including but not

      limited to on or around April 12, 2017, prior to school starting on or around

      July 3, 2017, Marla Thompson neither warned nor advised Plaintiff that she

      had no intention of ever measuring or evaluating the 24-48-hour turnaround

      time goal for Plaintiff’s note-taking accommodation to ensure that this goal

      was met;

   g. Marla Thompson concealed material facts so as to deceive and mislead

      Plaintiff into enrolling in MSM’s medical school program on or around May

      15, 2017, which was the deadline for students, whom had been accepted into

      multiple medical schools, to choose what medical school they would

      matriculate to.

                                      497.

      Plaintiff relied upon the representations made to Plaintiff by Marla

Thompson during the interactive accommodation review process in determining

that Plaintiff would attend MSM to study medicine on or around May 15, 2017,

which was the deadline for students, whom had been accepted into multiple

medical schools, to choose what medical school they would matriculate to.




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                                        498.

      Plaintiff justifiably relied on the information provided to Plaintiff by Marla

Thompson because she was the person in charge of determining Plaintiff’s

eligibility for accommodations and managing the accommodation’s

implementation.

                                        499.

      Plaintiff exercised due diligence in alerting MSM’s ODS of Plaintiff’s

disability nearly four months before classes began for Plaintiff’s first year of

medical school on or around July 3, 2017.

                                        500.

      Plaintiff exercised due diligence in inquiring if MSM’s ODS could

accommodate Plaintiff’s disability nearly four months before classes began for

Plaintiff’s first year of medical school on or around July 3, 2017.

                                        501.

      Information contrary to what Marla Thompson communicated to Plaintiff

during the interactive accommodation review process was not available to Plaintiff,

nor would a reasonable person doubt statements, regarding accommodations, from

the person in charge of MSM’s ODS.




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                                         502.

       The actions of Marla Thompson were in furtherance of and within the scope

of MSM’s business.

                                         503.

       The actions of Marla Thompson showed willful misconduct, fraud, and

conscious indifference to the consequences Plaintiff would suffer due to her

fraudulent or reckless representations, and due to her concealment of fact.

                                         504.

       MSM never allowed Plaintiff to objectively weigh other medical schools

Plaintiff was accepted to more heavily in Plaintiff’s decision-making process of

where Plaintiff would attend medical school due to the misrepresentations of the

capabilities and management of MSM’s accommodations for students with

disabilities.

                                         505.

       O.C.G.A. § 51-6-1, states that:

       “Fraud, accompanied by damage to the party defrauded, always gives a right
       of action to the injured party.” O.C.G.A. § 51-6-1.

                                         506.

       As a result of MSM’s misrepresentations, Plaintiff has received economic

injury proximately resulting from Plaintiff’s reliance of Marla Thompson’s willful
                                          197
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misrepresentations, including but not limited to the student loans Plaintiff has

taken out for the past three years to pay for MSM’s tuition and necessary expenses

as a student (including but not limited to rent, food, school supplies, transportation

expenses, and medical expenses), debt therefore, plus the interest that has accrued

thereon.

                                        507.

      As a result of MSM’s misrepresentations, Plaintiff has received economic

injury proximately resulting from Plaintiff’s reliance of Marla Thompson’s willful

misrepresentation including, but not limited to, the need to restart medical school.

                                        508.

      As a result of MSM’s misrepresentations, Plaintiff has suffered economic

injury by taking out loans to attend MSM for three (3) years in the amount of

$184,279.00, and their presently accrued interest of $18,494.00, totaling

$202,773.00.

                                        509.

      Due to the tortious acts by MSM, Plaintiff must restart medical school and

thus has lost four (4) years from Plaintiff’s work-life expectancy, proximately

causing the following special damages.

                                        510.

                                         198
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      Due to the tortious acts by MSM, Plaintiff will graduate and become a

medical resident at least four (4) years later than Plaintiff should have.

                                        511.

      In 2020, 87 out of 89 (98%) medical students at MSM applying to residency

programs were matched into one. See Exhibit BZ, Page 5.

                                        512.

      According to the 2019-2020 Survey of Resident/Fellow Stipends and

Benefits Report, authored by the Association of American Medical Colleges

(hereafter referred to as “AAMC”), the unweighted mean stipend for the 2019-

2020’s first, second, third, and fourth year of residency is $57,191; $59,339;

$61,636; and $64,255, respectively. See Exhibit CA, Page 6.

                                        513.

      The sum of $57,191; $59,339; $61,636; and $64,255 equals $242,421 and

represents that amount of lost wages Plaintiff has sustained when Plaintiff’s losses

are calculated as the loss of Plaintiff’s income in the four (4) years after what

should have been Plaintiff’s medical school career.




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                                       514.

      As a result of MSM’s misrepresentations, Plaintiff has suffered actual

damages, non-economic damages, embarrassment, humiliation, emotional harm,

mental and physical pain, and anguish.

                                       515.

      As a result of MSM’s misrepresentations, Plaintiff has experienced loss of

educational opportunities, loss of employment opportunities, loss of research

opportunities, increased financial debt, and loss of future income.


               COUNT IX - NEGLIGENT MISREPRESENTATION

                                       516.

      Plaintiff realleges, repeats, and incorporates by reference herein paragraphs

1 to 284.

                                       517.

      The essential elements of negligent misrepresentation consist of a party’s

negligent supply of false information to foreseeable persons, known or unknown; a

persons’ reasonable reliance upon that false information; economic injury

proximately resulting from such reliance.

                                       518.


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      MSM negligently made the foregoing, and following, false and misleading

representations to Plaintiff in order to induce Plaintiff into believing that MSM

could satisfy Plaintiff’s accommodations, including, but not limited to, Plaintiff’s

note-taking accommodation.

                                       519.

      MSM negligently made the foregoing, and following, false and misleading

representations to Plaintiff in order to induce Plaintiff into enrolling at MSM.

                                       520.

      During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Plaintiff was made to believe that there was a system in place to satisfy

Plaintiff’s note-taking accommodation at MSM.

                                       521.

      During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Plaintiff was made to believe that the note-taking accommodation would

operate efficiently in providing notes for Plaintiff’s accommodation.

                                       522.




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      During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Marla Thompson knew there was not a system in place to satisfy Plaintiff’s

note-taking accommodation.

                                       523.

      During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Marla Thompson knew the note-taking accommodation for Plaintiff was not

an established system at MSM.

                                       524.

      During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Marla Thompson knew the note-taking accommodation for Plaintiff had not

been previously provided by her.

                                       525.

      During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Plaintiff was neither warned nor advised that the note-taking accommodation

would be a new process for Marla Thompson.

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                                       526.

       During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Marla Thompson neither warned nor advised Plaintiff that there was

currently no system in place to satisfy Plaintiff’s note-taking accommodation.

                                       527.

       During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Marla Thompson neither warned nor advised Plaintiff that Plaintiff’s note-

taking accommodation would not be available upon Plaintiff’s arrival to MSM.

                                       528.

       During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Marla Thompson neither warned nor advised Plaintiff that Plaintiff’s note-

taking accommodation would have an initial delay in the production of any notes

for Plaintiff.

                                       529.

       During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

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2017, Marla Thompson communicated that Plaintiff’s requested note-taking

accommodation would come with a 24-48-hour turnaround time goal for any class

Plaintiff was taking.

                                       530.

      Instead, the 24-48-hour turnaround time goal for the availability of notes for

Plaintiff’s note-taking accommodation was never measured or evaluated by either

Marla Thompson or Dr. Brandi Knight during the entirety of the time Plaintiff has

been a student at MSM.

                                       531.

      Neither Marla Thompson nor Dr. Brandi Knight had any intention of

measuring or evaluating the 24-48-hour turnaround time goal for Plaintiff’s note-

taking accommodation to ensure that this goal was met.

                                       532.

      During the interactive accommodation review process, including but not

limited to on or around April 12, 2017, prior to school starting on or around July 3,

2017, Marla Thompson neither warned nor advised Plaintiff that there was

currently no system in place to ensure the promised 24-48-hour turnaround time

goal for notes was met for Plaintiff’s note-taking accommodation.

                                       533.

                                         204
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      Plaintiff relied upon the representations made to Plaintiff by Marla

Thompson during the interactive accommodation review process in determining

that Plaintiff would attend MSM to study medicine on or around May 15, 2017,

which was the deadline for students, whom had been accepted into multiple

medical schools, to choose what medical school they would matriculate to.

                                        534.

      Plaintiff justifiably relied on the information provided to Plaintiff by Marla

Thompson because she was the person in charge of determining Plaintiff’s

eligibility for accommodations and managing their implementation.

                                        535.

      Plaintiff exercised due diligence in alerting MSM’s ODS of Plaintiff’s

disability nearly four months before classes began for Plaintiff’s first year of

medical school on or around July 3, 2017.

                                        536.

      Plaintiff exercised due diligence in inquiring if MSM’s ODS could

accommodate Plaintiff’s disability nearly four months before classes began for

Plaintiff’s first year of medical school on or around July 3, 2017.

                                        537.




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       Information contrary to what Marla Thompson communicated to Plaintiff

during the interactive accommodation review process was not available to Plaintiff

nor would a reasonable person doubt statements, regarding accommodations, from

the person in charge of MSM’s ODS.

                                      538.

       The actions of Marla Thompson were in furtherance of and within the scope

of MSM’s business.

                                      539.

       The actions of Marla Thompson showed willful misconduct, fraud, and

conscious indifference to the consequences Plaintiff would suffer due to her

negligent misrepresentations.

                                      540.

       MSM never allowed Plaintiff to objectively weigh other medical schools

Plaintiff was accepted to more heavily in Plaintiff’s decision-making process of

where Plaintiff would attend medical school due to the misrepresentations of the

capabilities and management of MSM’s accommodations for students with

disabilities.

                                      541.




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      As a result of MSM’s misrepresentations, Plaintiff has received economic

injury proximately resulting from Plaintiff’s reliance of Marla Thompson’s

negligent misrepresentations, including but not limited to the student loans Plaintiff

has taken out for the past three years to pay for MSM’s tuition and necessary

expenses as a student (including but not limited to rent, food, school supplies,

transportation expenses, and medical expenses), debt therefore, plus the interest

that has accrued thereon.

                                       542.

      As a result of MSM’s misrepresentations, Plaintiff has received economic

injury proximately resulting from Plaintiff’s reliance of Marla Thompson’s

negligent misrepresentations including, but not limited to, the need to restart

medical school.

                                       543.

      As a result of MSM’s misrepresentations, Plaintiff has suffered economic

injury by taking out loans to attend MSM for three (3) years in the amount of

$184,279.00, and their presently accrued interest of $18,494.00, totaling

$202,773.00.




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                                       544.

      Due to the tortious acts by MSM, Plaintiff must restart medical school and

thus has lost four (4) years from Plaintiff’s work-life expectancy, proximately

causing the following special damages.

                                       545.

      Due to the tortious acts by MSM, Plaintiff will graduate and become a

medical resident four (4) years later than Plaintiff should have.

                                       546.

      In 2020, 87 out of 89 (98%) medical students at MSM applying to residency

programs were matched into one. See Exhibit BZ, Page 5.

                                       547.

      According to the 2019-2020 Survey of Resident/Fellow Stipends and

Benefits Report, authored by the Association of American Medical Colleges

(hereafter referred to as “AAMC”), the unweighted mean stipend for the 2019-

2020’s first, second, third, and fourth year of residency is $57,191; $59,339;

$61,636; and $64,255, respectively. See Exhibit CA, Page 6.

                                       548.

      The sum of $57,191; $59,339; $61,636; and $64,255 equals $242,421 and

represents that amount of lost wages Plaintiff has sustained when Plaintiff’s losses

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are calculated as the loss of Plaintiff’s income in the four (4) years after what

should have been Plaintiff’s medical school career.

                                        549.

      As a result of MSM’s misrepresentations, Plaintiff has suffered actual

damages, non-economic damages, embarrassment, humiliation, emotional harm,

mental and physical pain, and anguish.

                                        550.

      As a result of MSM’s misrepresentations, Plaintiff has experienced loss of

educational opportunities, loss of employment opportunities, loss of research

opportunities, increased financial debt, and loss of future income.


                       COUNT X - BREACH OF CONTRACT

                                        551.

      Plaintiff realleges, repeats, and incorporates by reference herein paragraphs

1 to 284.

                                        552.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 171), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 180), and MSM’s 2019-2020 Student


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Handbook (See Exhibit AF, Pages 227-228 6) has stated, under the

“Acknowledgment” heading, that, “I hereby acknowledge that I have received the

Morehouse School of Medicine (MSM) 2017-2018 7 Student Handbook. I accept

responsibility for reading and understanding the policies, procedures, rules and

benefits in the Student Handbook and I agree to abide by its contents which set

forth the terms and conditions of my enrollment and subsequent matriculation as

an MSM student. I understand that if I have questions about the Handbook or its

contents, I am to discuss them with the Dean of Students or the Dean’s designee.

Circumstances may require that the policies, procedures, rules and benefits

described in this Handbook change as MSM deems necessary or appropriate. I

understand that I will be notified of such changes and dates of implementation by

my MSM e-mail account or through other appropriate means,” followed by a place

where Plaintiff prints Plaintiff’s name and the date, signs Plaintiff’s name, and that

page was ripped out of the Student Handbook and collected during Plaintiff’s

orientation at the start of the 2017-2018, 2018-2019, and 2019-2020 academic

school years.

                                          553.



6
    It is on page 228 in Exhibit AF, but it is labeled as page 227.
7
    or 2018-2019 or 2019-2020.
                                            210
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      There existed a contract between MSM and Plaintiff based on, including but

not limited to, MSM’s 2017-2018, 2018-2019, and 2019-2020 Student Handbooks.

                                      554.

      According to MSM’s 2017-2018 Student Handbook (See Exhibit AD, Page

70), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Page 74), and MSM’s

2019-2020 Student Handbook (See Exhibit AF, Page 75), under the “Compliance

Hotline” heading:

      “[MSM] is an organization with strong values of responsibility and integrity.
      Our written standards and policies contain general guidelines for conducting
      business with the highest standards of ethics. The institution is committed to
      an environment where open, honest communications are the expectation, not
      the exception.”
                                      555.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 34), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 37), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 39) has stated, under the “Disability Services”

heading, that

      “Morehouse School of Medicine’s Office of Disability Services (ODS)
      serves as the primary resource for students with documented disabilities,
      disability concerns, and making requests for reasonable academic
      adjustments and accommodations. The ODS works in collaboration with
      faculty, staff and departments throughout MSM to develop successful
      strategies for maximizing students’ academic achievement and participation
      in extracurricular activities and programs.”
                                        211
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                                     556.

      Despite MSM’s commitments and policies as outlined above in its contract

with Plaintiff, MSM’s ODS did not develop any successful strategies concerning

Plaintiff’s note-taking accommodation with regard to maximizing Plaintiff’s

academic achievement during Plaintiff’s 2017-2018 and 2018-2019 academic

school years.

                                     557.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Pages 34-35), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 37), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Pages 39-40) has stated, under the “Disability

Services” heading, that,

      “Services and reasonable accommodations are designed to meet the
      individual needs of each student in accordance with Section 504 of the
      Federal Rehabilitation Act of 1973 and the Americans with Disabilities Act
      of 1990, as amended by the ADAAA. These regulations require that any
      qualified person receive academic adjustments that are necessary and
      effective, and which do not compromise the academic standards of the
      School, to ensure equal access to educational opportunities, services,
      programs and activities at the School.”

                                     558.

      Despite MSM’s commitments and policies as outlined above in its contract

with Plaintiff, and though MSM granted the note-taking accommodation to
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Plaintiff, MSM failed to meet the individual needs of Plaintiff and provide for

Plaintiff’s note-taking accommodation during the 2017-2018 and 2018-2019

academic school years.

                                         559.

        At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 65), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 70), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 71) has stated, under the “General Information”

subheading, under the “Nondiscrimination and Anti-Harassment Policies” heading,

that,

        “Morehouse School of Medicine is committed to providing academic and
        employment environments that are free from unlawful discrimination,
        including harassment, on the basis of protected characteristics, including
        race, color, national or ethnic origin, sex, age, disability, religion, veteran
        status, sexual orientation, genetic information, gender identity, or any other
        characteristic protected by applicable law in the administration of the
        School’s programs and activities.”
                                          560.

        At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 67), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 72), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 73) has stated, under the “Investigation and

Disposition of Complaints” subheading, under the “Nondiscrimination and Anti-
                                           213
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Harassment Policies” heading, that, MSM has a “responsibility to provide a safe

and nondiscriminatory environment for the MSM community.”

                                        561.

      Despite MSM’s commitments and policies, as outlined above about

providing a safe and nondiscriminatory environment, in its contract with Plaintiff,

Plaintiff’s academic environment at MSM was not free from unlawful

discrimination, despite Plaintiff’s continually reporting incidents to the Title IX

Coordinator, Marla Thompson.

                                        562.

      Despite MSM’s commitments and policies, as outlined above about

providing a safe and nondiscriminatory environment, in its contract with Plaintiff,

during Plaintiff’s dismissal hearing on or around July 28, 2020, at least one

committee member determined Plaintiff’s reasonable note-taking accommodation,

granted by MSM, as non-essential because Plaintiff had textbooks.

                                        563.

      Despite MSM’s commitments and policies, as outlined above about

providing a safe and nondiscriminatory environment, in its contract with Plaintiff,

during Plaintiff’s dismissal hearing on or around July 28, 2020, at least one

committee member determined Plaintiff’s reasonable note-taking accommodation,

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granted by MSM, was non-essential because Plaintiff had access to class

recordings.

                                        564.

       Despite MSM’s commitments and policies, as outlined above about

providing a safe and nondiscriminatory environment, in its contract with Plaintiff,

and despite that during Plaintiff’s dismissal hearing on or around July 28, 2020,

Plaintiff continually stressed that Plaintiff’s note-taking accommodation was

necessary to ensure Plaintiff had meaningful access to MSM’s medical school

program, MSM dismissed Plaintiff from its medical school program (See Exhibit

BT).

                                        565.

       Despite MSM’s commitments and policies, as outlined above about

providing a safe and nondiscriminatory environment, in its contract with Plaintiff,

and despite that during Plaintiff’s dismissal hearing on or around July 28, 2020,

Plaintiff continually stressed the failure to provide for Plaintiff’s note-taking

accommodation, that MSM had granted to Plaintiff for the entirety of Plaintiff’s

medical school education, was very clear disability discrimination, MSM

dismissed Plaintiff from its medical school program (See Exhibit BT).

                                        566.

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      Despite MSM’s commitments and policies, as outlined above about

providing a safe and nondiscriminatory environment, in its contract with Plaintiff,

and despite that during Plaintiff’s dismissal hearing on or around July 28, 2020,

Plaintiff continually stressed that the time periods in which MSM failed to provide

Plaintiff’s note-taking accommodation were necessary for Plaintiff to learn and

understand normal human physiology, and that MSM has told its students that one

cannot learn abnormal human physiology (the classes Plaintiff failed during the

2019-2020 academic school year) without first learning normal human physiology,

MSM dismissed Plaintiff from its medical school program (See Exhibit BT).

                                        567.

      Despite MSM’s commitments and policies, as outlined above about

providing a safe and nondiscriminatory environment, in its contract with Plaintiff,

and despite during Plaintiff’s dismissal hearing on or around July 28, 2020,

Plaintiff explained, and provided evidence (See Exhibit BR - the collective of the

following exhibits used at Plaintiff’s dismissal hearing), that Plaintiff’s prior

written complaints and reports about discrimination against Plaintiff, including but

not limited to the failure of MSM in providing for Plaintiff’s note-taking

accommodation during the 2017-2018 and 2018-2019 academic school years,

submitted to Marla Thompson, Title IX Coordinator, on or around August 1, 2017

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(See Exhibit AK), on or around May 7, 2018 (See Exhibit AO), on or around

February 25-26, 2019 (See Exhibit AS), and on or around February 18, 2020 (See

Exhibit AW and Exhibit AX), were not promptly investigated by MSM, that

appropriate corrective actions were not taken as expeditiously as possible by

MSM, that MSM never provided Plaintiff with any written notification regarding

the results of any investigation, and that MSM did not follow up as appropriate to

ensure any remedial actions it instituted were effective, in violation of MSM’s

commitments and policies in its contract with Plaintiff (See Exhibit AD, Page 67-

68, Exhibit AE, Page 72, and Exhibit AF, Page 73), MSM dismissed Plaintiff from

its medical school program (See Exhibit BT).

                                       568.

      Despite MSM’s commitments and policies, as outlined above about

providing a safe and nondiscriminatory environment, in its contract with Plaintiff,

and despite during Plaintiff’s dismissal hearing on or around July 28, 2020,

Plaintiff spoke about attempts made by Plaintiff since January of 2020 to find

resolutions to the problems Plaintiff was experiencing including, but not limited to,

Plaintiff’s time spent combing through two plus years of emails, compiling and

conducting analytics with regards to Plaintiff’s note-taking accommodation for the

2017-2018 and 2018-2019 academic school years, Plaintiff’s meetings with Marla

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Thompson and Dr. Ngozi Anachebe, Plaintiff filing a compliance complaint, and

Plaintiff sharing to Marla Thompson and Dr. Ngozi Anachebe Plaintiff’s feelings

of depression, anxiety, and panic attacks with regards to this entire situation, MSM

dismissed Plaintiff from its medical school program (See Exhibit BT).

                                       569.

      Despite Plaintiff being asked by Alecia Bell, MSM’s Interim Chief

Compliance Officer, via phone meeting on or around June 19, 2020, to give MSM

an opportunity to provide some solutions with regards to Plaintiff’s compliance

complaint (See Exhibit BN, Page 2), MSM dismissed Plaintiff from its medical

school program (See Exhibit BT).

                                       570.

      In its dismissal letter to Plaintiff, MSM alleges,

      “After careful consideration of the information you presented during the
      hearing, the written information you submitted to the committee (Exhibits
      A-F) [Plaintiff’s Exhibit BR], and your academic transcript, the committee
      voted to dismiss you from Morehouse School of Medicine. The decision was
      based on the school’s policy of receiving a final grade of D or F while in the
      decelerated track, and for receiving two or more final grades of D or F (Page
      107, iii and viii, respectively, 2019-2020 Student Handbook) [Plaintiff’s
      Exhibit AF].” See Exhibit BT, Page 2.

                                       571.

      Despite MSM’s commitments and policies, as outlined above about

providing a safe and nondiscriminatory environment, in its contract with Plaintiff,
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all of the committee members of Plaintiff’s dismissal hearing did not carefully

consider Plaintiff’s exhibits because, as Plaintiff was notified at the beginning of

Plaintiff’s dismissal hearing, the exhibits would remain in the possession of Dr.

Ngozi Anachebe and Dr. Martha Elks (Senior Associate Dean of Educational

Affairs), and not in the possession of all committee members for them to carefully

consider.

                                        572.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 101), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 107), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 108) has stated, under the “Dismissal and

Suspension” subheading, under “The Student Academic Progress & Promotion

Committee (SAPP)” heading, that,

      “The Chair of the SAPP committee will provide written information on the
      reasons for the dismissal hearing. The student is invited to appear in person
      to present their case, evidence, and context for the academic deficiencies.”

                                      573.
      In MSM’s dismissal letter to Plaintiff on or around July 30, 2020, MSM
alleges,
      “MSM has a policy that the 1st and 2nd Year Curriculum will consist of no
      more than 36 months excluding any leave of absence (Page 104, b. 2019-
      2020 Student Handbook) [Plaintiff’s Exhibit AF], and you have reached this
      time limit.” See Exhibit BT, Page 2.

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                                       574.

      Despite MSM’s commitments and policies as outlined above in its contract

with Plaintiff, Plaintiff was never notified or provided written information (See

Exhibit BD, Page 4, and Exhibit BM, Page 4) that one of the reasons for MSM’s

dismissal hearing against Plaintiff, and one of the reasons MSM’s dismissal of

Plaintiff would ultimately be for, was that “MSM has a policy that the 1st and 2nd

Year Curriculum will consist of no more than 36 months excluding any leave of

absence (Page 104, b. 2019-2020 Student Handbook) [Plaintiff’s Exhibit AF], and

[Plaintiff had] reached this time limit” (See Exhibit BT, Page 2), thus MSM did not

give Plaintiff notice and an opportunity to present Plaintiff’s case, evidence, and

context, regarding this particular reason Plaintiff was dismissed from MSM, nor

was it ever brought up by anyone during Plaintiff’s dismissal hearing.

                                       575.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 35), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 37), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 40) has stated, under the “Disability Services”

heading, that,

      “Any applicant, student, resident, or employee who believes he or she has
      been denied any service or benefit or otherwise discriminated against or
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        harassed due to a disability may contact the Title IX Coordinator [Marla
        Thompson] or the Deputy Title IX Coordinator.”

                                        576.

        At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 65), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 70), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 71) has stated, under the “General Information”

subheading, under the “Nondiscrimination and Anti-Harassment Policies” heading,

that,

        “The School encourages any individual who feels he or she has been
        discriminated against or harassed on any legally protected characteristic to
        promptly report the incident to the Title IX Coordinator [Marla Thompson]
        or the Deputy Title IX Coordinator[.]”

                                        577.

        At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 67), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 71), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 72) has stated, under the “Complaint Procedures”

subheading, under the “Nondiscrimination and Anti-Harassment Policies” heading,

that,




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      “Complaints filed with the Title IX Coordinator [Marla Thompson] or the
      Deputy Title IX Coordinator 8 must be in writing and, specifically in cases
      involving incidents of sex discrimination, sexual harassment or sexual
      violence, provide the following information: (i) name of and contact
      information for the complaining Person(s) ("Complainant(s)"); (ii) nature,
      location and date of alleged violation; (iii) names of and contact information
      for the Person(s) accused of the alleged violation (where known)
      ("Respondent(s)"); (iv) requested relief or corrective action (specification of
      desired relief shall be the option of the Complainant); and (v) any other
      background or supplemental information that the Complainant believes to be
      relevant (e.g., names of other persons affected by the violation, etc.).”

                                       578.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 67-68), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 72), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 73) has stated, under the “Investigation and

Disposition of Complaints” subheading, under the “Nondiscrimination and Anti-

Harassment Policies” heading, that,

      “All reports and complaints of discrimination and harassment will be
      promptly investigated, and appropriate corrective action will be taken as
      expeditiously as possible…The amount of time needed to conduct an
      investigation will depend in part on the nature of the allegation(s) and the
      evidence to be investigated (e.g., the number and/or availability of witnesses
      involved). Within 60 days of receipt of the complaint, the Title IX
      Coordinator [Marla Thompson] or Deputy Title IX Coordinator will provide
      an interim notice of the outcome of the investigation or will advise the
      parties of the additional estimated amount of time needed for the
8
 Both of MSM’s 2018-2019 and 2019-2020 Student Handbooks do not include the
phrase “or the Deputy Title IX Coordinator” in this statement.
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       investigation. Within 10 business days following the completion of an
       investigation, the Title IX Coordinator [Marla Thompson] or Deputy Title
       IX Coordinator will simultaneously provide written notification to the
       Complainant and Respondent of the results of the investigation…MSM will
       take the appropriate corrective action based on results of the investigation
       and will follow up as appropriate to ensure that the remedial action is
       effective. Complainants are encouraged to report any reoccurrences of
       conduct that were found to violate MSM's nondiscrimination and anti-
       harassment policies or any other related concerns.”

                                       579.

       In accordance with MSM’s 2017-2018 Student Handbook (See Exhibit AD,

Page 65-67), MSM’s 2018-2019 Student Handbook (See Exhibit AE, Page 70-71),

and MSM’s 2019-2020 Student Handbook (See Exhibit AF, Page 71-72), Plaintiff

contacted Marla Thompson, Title IX Coordinator and Manager of MSM’s ODS,

via email and provided written complaints and reports about discrimination,

including but not limited to the failure of MSM in providing for Plaintiff’s note-

taking accommodation during the 2017-2018 and 2018-2019 academic school

years, that Plaintiff was experiencing, or experienced, on a multitude of occasions,

including but not limited to on or around August 1, 2017 (See Exhibit AK); on or

around May 7, 2018 (See Exhibit AO); on or around February 25-26, 2019 (See

Exhibit AS); and on or around February 18, 2020 (See Exhibit AW and Exhibit

AX).

                                       580.

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        Despite MSM’s commitments and policies as outlined above in its contract

with Plaintiff, Plaintiff’s written discrimination complaints and reports were not

promptly investigated by MSM; appropriate corrective actions were not taken as

expeditiously as possible by MSM; MSM never provided Plaintiff with any written

notification regarding the results of any investigation; and MSM did not follow up

as appropriate to ensure any remedial actions it instituted were effective.

                                       581.

        At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 66), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 70), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 71) has stated, under the “General Information”

subheading, under the “Nondiscrimination and Anti-Harassment Policies” heading,

that,

        “MSM's general policy against discrimination, harassment and retaliation
        applies to conduct by and perpetrated against all faculty, staff,
        administration, supervisors, employees, residents, students, applicants,
        volunteers, patients and visitors to campus, including guests, patrons,
        independent contractors or clients of MSM (“Person(s)”) that is prohibited
        by Title VII of the Civil Rights Act of 1964, Section 504 of the
        Rehabilitation Act, the Americans with Disabilities Act (including ADAAA
        amendments), and the Age Discrimination Act of 1975.”

                                       582.


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      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 68), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 72), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 73) has stated, under the “Prohibition Against

Retaliation” subheading, under the “Nondiscrimination and Anti-Harassment

Policies” heading, that,

      “Anyone who, in good faith, reports what s/he believes to be discrimination
      or harassment, who participates or cooperates in any investigation, or who
      otherwise opposes unlawful conduct believed to be in violation of this policy
      will not be subjected to retaliation. Anyone who believes he or she has been
      the victim of retaliation for reporting discrimination or harassment,
      participating or cooperating in an investigation or otherwise opposing
      unlawful conduct believed to be in violation of this policy should
      immediately contact the Title IX Coordinator [Marla Thompson] or the
      Deputy Title IX Coordinator, who have authority to investigate all such
      claims. Any individual found to have retaliated against another individual
      who engaged in conduct consistent with the protections afforded under this
      Policy will be in violation of this policy and will be subject to disciplinary
      action.”

                                      583.

      At all relevant times while Plaintiff has been a student at MSM, MSM’s

2017-2018 Student Handbook (See Exhibit AD, Page 67), MSM’s 2018-2019

Student Handbook (See Exhibit AE, Page 71), and MSM’s 2019-2020 Student

Handbook (See Exhibit AF, Page 72) has stated, under the “General Information”




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subheading, under the “Nondiscrimination and Anti-Harassment Policies” heading,

that,

        “Any Person 9 or non-MSM visitor, guest, patron, independent contractor, or
        client who fails to address or report any form of discrimination, harassment
        and/or retaliation allegedly perpetrated by or against MSM administrators,
        faculty, staff, supervisors, volunteers, students or employees of which they
        know or should have known may be subjected to sanctions.”

                                        584.

        Despite MSM’s commitments and policies, as outlined above about

retaliation, in its contract with Plaintiff, Alecia Bell’s, MSM’s Interim Chief

Compliance Officer, written letter of determination (See Exhibit BO, Pages 2-3),

submitted to Plaintiff on or around July 14, 2020, failed to address the portion of

Plaintiff’s compliance complaint outlining MSM’s attempts to conceal and

retaliatory acts made against Plaintiff (See Exhibit BB, Pages 1-2), events which

are described in subdivision heading F, “RESOLUTION ATTEMPT BY

PLAINTIFF,” despite Alecia Bell telling Plaintiff that she could not respond as to




9
  In MSM’s 2017-2018 Student Handbook (See Exhibit AD, Page 66), MSM’s
2018-2019 Student Handbook (See Exhibit AE, Page 70), and MSM’s 2019-2020
Student Handbook (See Exhibit AF, Page 71), “Person(s)” is defined as “faculty,
staff, administration, supervisors, employees, residents, students, applicants,
volunteers, patients, and visitors to campus, including guests, patrons, independent
contracts or clients of MSM.”
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why this happened from the responses of Marla Thompson and Dr. Ngozi

Anachebe provided to her on or around June 19, 2020 (See Exhibit BH, Pages 1-4).

                                        585.

         Despite MSM’s commitments and policies, as outlined above about

discrimination and retaliation, in its contract with Plaintiff, on information and

belief, no faculty, staff, administrator, supervisor, or employee of MSM has ever

attempted to address or report Plaintiff’s discrimination or the retaliation

perpetrated against Plaintiff despite knowing about it or should have known about

it, including but not limited to Marla Thompson, Dr. Brandi Knight, Dr. Ngozi

Anachebe, Dr. Martha Elks, the Office of Counseling Services, Alecia Bell, all

committee members of Plaintiff’s dismissal hearing, and other faculty, staff,

administrators, supervisors, and employees to be identified through discovery and

trial.

                                        586.

         Despite MSM’s commitments as outlined in MSM’s 2017-2018, 2018-2019,

and 2019-2020 Student Handbooks, Plaintiff was subjected to retaliation,

discrimination, willful misconduct, malice, fraud, wantonness, oppression, and

conscious indifference to the consequences Plaintiff would suffer due to the actions

and inactions by MSM’s faculty, staff, and administrators.

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                                       587.

       MSM’s breach of its contract with Plaintiff was more than de minimus, and

MSM failed to even maintain substantial compliance with its contract with

Plaintiff.

                                       588.

       The actions of all agents and employees of MSM alleged herein were in

furtherance of and within the scope of MSM’s business.

                                       589.

       Plaintiff has suffered economic injury due to MSM’s willful and arbitrary

breach of contract with Plaintiff. O.C.G.A. § 13-6-2.

                                       590.

       As a result of MSM’s actions, Plaintiff has suffered actual damages, non-

economic damages, embarrassment, humiliation, emotional harm, mental and

physical pain, and anguish. O.C.G.A. § 13-6-2.

                                       591.

       As a result of MSM’s actions, Plaintiff has experienced loss of educational

opportunities, loss of employment opportunities, loss of research opportunities,

increased financial debt, and loss of future income. O.C.G.A. § 13-6-2.

                                       592.

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      Plaintiff has suffered economic injury due to MSM’s willful and arbitrary

breach of contract with Plaintiff having taken out loans to attend MSM for three

(3) years in the amount of $184,279.00, and their presently accrued interest of

$18,494.00, totaling $202,773.00. O.C.G.A. § 13-6-2.

                                       593.

      Due to MSM’s willful and arbitrary breach of contract with Plaintiff, MSM

has taken away any reasonable opportunity for Plaintiff to ever study medicine,

Plaintiff has suffered economic injury by the loss of earning capacity that would

reasonably have resulted had Plaintiff received a Doctor of Medicine degree, to be

determined at time of trial by expert testimony. O.C.G.A. § 13-6-2.


                       COUNT XI - PUNITIVE DAMAGES

                                       594.

      Plaintiff realleges, repeats, and incorporates by reference herein paragraphs

1 to 284.

                                       595.

      By reason of MSM’s actions and inactions, which showed willful

misconduct, malice, fraud, wantonness, oppression, and that entire want of care




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which would raise the presumption of conscious indifference to the consequences,

Plaintiff is entitled to punitive damages.

                                        596.

      By reason of MSM’s actions and inactions, which showed MSM acted, or

failed to act, with the specific intent to cause harm, there should be no limitation

regarding the amount of punitive damages which may be awarded.




      WHEREFORE, Plaintiff, JAMES GREGORY HOWELL, JR., requests

judgment against Defendant, THE MOREHOUSE SCHOOL OF MEDICINE,

INC. and that the Court:


PRAYER - COUNT I - VIOLATION OF THE REHABILITATION ACT - FAILURE
                        TO ACCOMMODATE

          A) That Plaintiff’s claim be tried before a jury;
          B) That Judgment be entered against Defendant, THE MOREHOUSE
             SCHOOL OF MEDICINE, INC. for its violation of the Rehabilitation
             Act;
          C) Grant a permanent injunction against MSM prohibiting it from
             engaging in any practice or policy which interferes with, or fails to
             fulfill, the Rehabilitation Act rights of its students;
          D) Order that MSM reinstate Plaintiff in its medical school program;
          E) Order that MSM allow Plaintiff to restart Plaintiff’s entire medical
             education so as to ensure Plaintiff receives a proper and satisfactory
             medical education, with Plaintiff’s academic accommodations

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      provided for, and removes and deletes Plaintiff’s entire previous
      academic record at MSM;
   F) Order that MSM designate an experienced individual who is
      responsible for compliance under the Rehabilitation Act;
   G) Order that MSM designate an experienced individual who is
      responsible for ensuring student accommodations are actually being
      provided to students;
   H) Order that MSM adopt and publish grievance procedures that
      incorporate appropriate due process standards and that provide for the
      prompt and equitable resolution of complaints under the
      Rehabilitation Act;
   I) Order MSM provide, or continue to provide, qualified notetakers for
      persons who require such accommodations;
   J) Order MSM provide, or continue to provide, timely notes to persons
      with note-taking accommodations;
   K) Order that all agents and employees of MSM attend training
      specifically for the rights and obligations of a post-secondary
      institution to accommodate its students with disabilities, under
      the Rehabilitation Act, provided by experts outside of MSM;
   L) Award the Plaintiff special damages in the amount of $202,773.00;
   M) Award the Plaintiff damages, including but not limited to actual
      damages, consequential damages, general, and non-economic
      damages in an amount to be determined at time of trial;
   N) Award the Plaintiff pre- and post-judgment interest in the maximum
      rate allowed by law;
   O) Award the Plaintiff reasonable attorney's fees pursuant to 29 U.S.C. §
      794a, including litigation expenses, reasonable expert witness fees,
      and the cost of this action; and
   P) Grant such further relief as necessary to fulfill the purpose of the
      Rehabilitation Act, or as this Court otherwise deems just and proper.

PRAYER - COUNT II - VIOLATION OF THE REHABILITATION ACT -
                  DISPARATE TREATMENT

   A) That Plaintiff’s claim be tried before a jury;



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   B) That Judgment be entered against Defendant, THE MOREHOUSE
      SCHOOL OF MEDICINE, INC. for its violation of the Rehabilitation
      Act;
   C) That the Court grant a permanent injunction against MSM prohibiting
      it from engaging in any practice or policy which interferes with, or
      fails to fulfill, the Rehabilitation Act rights of its students;
   D) Order that MSM reinstate Plaintiff in its medical school program;
   E) Order that MSM allow Plaintiff to restart Plaintiff’s entire medical
      education so as to ensure Plaintiff receives a proper and satisfactory
      medical education, with Plaintiff’s academic accommodations
      provided for, and removes and deletes Plaintiff’s entire previous
      academic record at MSM;
   F) Order that MSM designate an experienced individual who is
      responsible for compliance under the Rehabilitation Act;
   G) Order that MSM designate an experienced individual who is
      responsible for ensuring student accommodations are actually being
      provided to students;
   H) Order that MSM adopt and publish grievance procedures that
      incorporate appropriate due process standards and that provide for the
      prompt and equitable resolution of complaints under the
      Rehabilitation Act;
   I) Order MSM provide, or continue to provide, qualified notetakers for
      persons who require such accommodations;
   J) Order MSM provide, or continue to provide, timely notes to persons
      with note-taking accommodations;
   K) Order that all agents and employees of MSM attend training
      specifically for the rights and obligations of a post-secondary
      institution to accommodate its students with disabilities, under
      the Rehabilitation Act, provided by experts outside of MSM;
   L) Award the Plaintiff special damages in the amount of $202,773.00;
   M) Award the Plaintiff damages, including but not limited to actual
      damages, consequential damages, general, and non-economic
      damages in an amount to be determined at time of trial;
   N) Award the Plaintiff pre- and post-judgment interest in the maximum
      rate allowed by law;
   O) Award the Plaintiff reasonable attorney's fees pursuant to 29 U.S.C. §
      794a, including litigation expenses, reasonable expert witness fees,
      and the cost of this action; and
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   P) Grant such further relief as necessary to fulfill the purpose of the
      Rehabilitation Act, or as this Court otherwise deems just and proper.

 PRAYER - COUNT III - VIOLATION OF THE ADA - FAILURE TO
                      ACCOMMODATE

   A) That Plaintiff’s claim be tried before a jury;
   B) That Judgment be entered against Defendant, THE MOREHOUSE
      SCHOOL OF MEDICINE, INC. for its violation of the ADA;
   C) Grant a permanent injunction against MSM prohibiting it from
      engaging in any practice or policy which interferes with, or fails to
      fulfill, the ADA rights of its students;
   D) Order that MSM reinstate Plaintiff in its medical school program;
   E) Order that MSM allow Plaintiff to restart Plaintiff’s entire medical
      education so as to ensure Plaintiff receives a proper and satisfactory
      medical education, with Plaintiff’s academic accommodations, and
      removes and deletes Plaintiff’s entire previous academic record at
      MSM;
   F) Order that MSM designate an experienced individual who is
      responsible for compliance under the ADA;
   G) Order that MSM designate an experienced individual who is
      responsible for ensuring student accommodations are actually being
      provided to students;
   H) Order that MSM adopt and publish grievance procedures that
      incorporate appropriate due process standards and that provide for the
      prompt and equitable resolution of complaints under the ADA;
   I) Order MSM provide, or continue to provide, qualified notetakers for
      persons who require such accommodations;
   J) Order MSM provide, or continue to provide, timely notes to persons
      with note-taking accommodations;
   K) Order that all agents and employees of MSM attend training
      specifically for the rights and obligations of a post-secondary
      institution to accommodate its students with disabilities under the
      ADA, provided by experts outside of MSM;
   L) Award the Plaintiff pre- and post-judgment interest in the maximum
      rate allowed by law;


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       M) Award the Plaintiff reasonable attorney's fees pursuant to 42 U.S.C. §
          2000a-3(b) and 28 C.F.R. § 36.505, including litigation expenses,
          reasonable expert witness fees, and the cost of this action; and
       N) Grant such further relief as necessary to fulfill the purpose of the
          ADA, or as this Court otherwise deems just and proper.

PRAYER - COUNT IV - VIOLATION OF THE ADA - DISPARATE TREATMENT

       A) That Plaintiff’s claim be tried before a jury;
       B) That Judgment be entered against Defendant, THE MOREHOUSE
          SCHOOL OF MEDICINE, INC. for its violation of the ADA;
       C) Grant a permanent injunction against MSM prohibiting it from
          engaging in any practice or policy which interferes with, or fails to
          fulfill, the ADA rights of its students;
       D) Order that MSM reinstate Plaintiff in its medical school program;
       E) Order that MSM allow Plaintiff to restart Plaintiff’s entire medical
          education so as to ensure Plaintiff receives a proper and satisfactory
          medical education, with Plaintiff’s academic accommodations, and
          removes and deletes Plaintiff’s entire previous academic record at
          MSM;
       F) Order that MSM designate an experienced individual who is
          responsible for compliance under the ADA;
       G) Order that MSM designate an experienced individual who is
          responsible for ensuring student accommodations are actually being
          provided to students;
       H) Order that MSM adopt and publish grievance procedures that
          incorporate appropriate due process standards and that provide for the
          prompt and equitable resolution of complaints under the ADA;
       I) Order MSM provide, or continue to provide, qualified notetakers for
          persons who require such accommodations;
       J) Order MSM provide, or continue to provide, timely notes to persons
          with note-taking accommodations;
       K) Order that all agents and employees of MSM attend training
          specifically for the rights and obligations of a post-secondary
          institution to accommodate its students with disabilities under the
          ADA, provided by experts outside of MSM;


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    L) Award the Plaintiff pre- and post-judgment interest in the maximum
       rate allowed by law;
    M) Award the Plaintiff reasonable attorney's fees pursuant to 42 U.S.C. §
       2000a-3(b) and 28 C.F.R. § 36.505, including litigation expenses,
       reasonable expert witness fees, and the cost of this action; and
    N) Grant such further relief as necessary to fulfill the purpose of the
       ADA, or as this Court otherwise deems just and proper.

PRAYER - COUNT V - VIOLATION OF THE ADA - DISPARATE IMPACT

    A) That Plaintiff’s claim be tried before a jury;
    B) That Judgment be entered against Defendant, THE MOREHOUSE
       SCHOOL OF MEDICINE, INC. for its violation of the ADA;
    C) Grant a permanent injunction against MSM prohibiting it from
       engaging in any practice or policy which interferes with, or fails to
       fulfill, the ADA rights of its students;
    D) Order that MSM reinstate Plaintiff in its medical school program;
    E) Order that MSM allow Plaintiff to restart Plaintiff’s entire medical
       education so as to ensure Plaintiff receives a proper and satisfactory
       medical education, with Plaintiff’s academic accommodations, and
       removes and deletes Plaintiff’s entire previous academic record at
       MSM;
    F) Order that MSM designate an experienced individual who is
       responsible for compliance under the ADA;
    G) Order that MSM designate an experienced individual who is
       responsible for ensuring student accommodations are actually being
       provided to students;
    H) Order that MSM adopt and publish grievance procedures that
       incorporate appropriate due process standards and that provide for the
       prompt and equitable resolution of complaints under the ADA;
    I) Order MSM provide, or continue to provide, qualified notetakers for
       persons who require such accommodations;
    J) Order MSM provide, or continue to provide, timely notes to persons
       with note-taking accommodations;
    K) Order that all agents and employees of MSM attend training
       specifically for the rights and obligations of a post-secondary


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          institution to accommodate its students with disabilities under the
          ADA, provided by experts outside of MSM;
       L) Award the Plaintiff pre- and post-judgment interest in the maximum
          rate allowed by law;
       M) Award the Plaintiff reasonable attorney's fees pursuant to 42 U.S.C. §
          2000a-3(b) and 28 C.F.R. § 36.505, including litigation expenses,
          reasonable expert witness fees, and the cost of this action; and
       N) Grant such further relief as necessary to fulfill the purpose of the
          ADA, or as this Court otherwise deems just and proper.

PRAYER - COUNT VI - VIOLATION OF THE REHABILITATION ACT AND ADA
                    - RETALIATION OR COERCION

       A) That Plaintiff’s claim be tried before a jury;
       B) That Judgment be entered against Defendant, THE MOREHOUSE
          SCHOOL OF MEDICINE, INC. for its violation of the Rehabilitation
          Act and ADA;
       C) Grant a permanent injunction against MSM prohibiting it from
          engaging in any practice or policy which interferes with, or fails to
          fulfill, the Rehabilitation Act rights or the ADA rights of its students;
       D) Order that MSM reinstate Plaintiff in its medical school program;
       E) Order that MSM allow Plaintiff to restart Plaintiff’s entire medical
          education so as to ensure Plaintiff receives a proper and satisfactory
          medical education, with Plaintiff’s academic accommodations, and
          removes and deletes Plaintiff’s entire previous academic record at
          MSM;
       F) Order that MSM designate an experienced individual who is
          responsible for compliance under the Rehabilitation Act and the
          ADA;
       G) Order that MSM designate an experienced individual who is
          responsible for ensuring student accommodations are actually being
          provided to students;
       H) Order that Morehouse School of Medicine adopt and publish
          grievance procedures that incorporate appropriate due process
          standards and that provide for the prompt and equitable resolution of
          complaints under the Rehabilitation Act and the ADA;


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       I) Order MSM provide, or continue to provide, qualified notetakers for
          persons who require such accommodations;
       J) Order MSM provide, or continue to provide, timely notes to persons
          with note-taking accommodations;
       K) Order that all agents and employees of MSM attend training
          specifically for the rights and obligations of a post-secondary
          institution to accommodate its students with disabilities under the
          Rehabilitation Act and the ADA, provided by experts outside of
          MSM;
       L) Order that all agents and employees of MSM attend training
          specifically for anti-retaliation under the Rehabilitation Act and the
          ADA, provided by experts outside of MSM;
       M) Award the Plaintiff damages, including but not limited to actual
          damages, consequential damages, general, non-economic damages,
          and punitive damages in an amount to be determined at time of trial;
       N) Award the Plaintiff pre- and post-judgment interest in the maximum
          rate allowed by law;
       O) Award the Plaintiff reasonable attorney's fees pursuant to 29 U.S.C. §
          794a, 28 C.F.R. § 36.505, and 42 U.S.C. § 2000a-3(b), including
          litigation expenses, reasonable expert witness fees, and the cost of this
          action; and
       P) Grant such further relief as necessary to fulfill the purposes of the
          Rehabilitation Act and the ADA, or as this Court otherwise deems just
          and proper.

PRAYER - COUNT VII - VIOLATION OF O.C.G.A. § 51–6–1, § 51–6–2, AND §
51–6–4 - FRAUD - WILLFUL MISREPRESENTATION AND CONCEALMENT
                            OF FACT

       A) That Plaintiff’s claims be tried before a jury;
       B) That Judgment be entered against Defendant, THE MOREHOUSE
          SCHOOL OF MEDICINE, INC. for its willful misrepresentation and
          concealment of fact in violation of O.C.G.A. § 51–6–1, § 51–6–2, and
          § 51–6–4;
       C) Award the Plaintiff special damages in the amount of $202,773.00;



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       D) Award the Plaintiff damages, including but not limited to actual
          damages, consequential damages, general, non-economic damages,
          and punitive damages in an amount to be determined at time of trial;
       E) Award the Plaintiff special damages for lost earning capacity and lost
          wages in the amount of $242,421.00;
       F) Award the Plaintiff pre- and post-judgment interest at the maximum
          rate allowed by law;
       G) Award the Plaintiff attorney's fees, including litigation expenses,
          reasonable expert witness fees, and the cost of this action; and
       H) Grant such other and further relief as the Court deems just and proper.

PRAYER - COUNT VIII - VIOLATION OF O.C.G.A. § 51–6–1, § 51–6–2, AND §
 51–6–4 - FRAUD - FRAUDULENT OR RECKLESS MISREPRESENTATION,
                   AND CONCEALMENT OF FACT

       A) That Plaintiff’s claim be tried before a jury;
       B) That Judgment be entered against Defendant, THE MOREHOUSE
          SCHOOL OF MEDICINE, INC. for its fraudulent or reckless
          misrepresentation, and concealment of fact in violation of O.C.G.A. §
          51–6–1, § 51–6–2, and § 51–6–4;
       C) Award the Plaintiff special damages in the amount of $202,773.00;
       D) Award the Plaintiff damages, including but not limited to actual
          damages, consequential damages, general, non-economic damages,
          and punitive damages in an amount to be determined at time of trial;
       E) Award the Plaintiff special damages for lost earning capacity and lost
          wages in the amount of $242,421.00;
       F) Award the Plaintiff pre- and post-judgment interest at the maximum
          rate allowed by law;
       G) Award the Plaintiff attorney's fees, including litigation expenses,
          reasonable expert witness fees, and the cost of this action; and
       H) Grant such other and further relief as the Court deems just and proper.

       PRAYER - COUNT IX - NEGLIGENT MISREPRESENTATION

       A) That Plaintiff’s claim be tried before a jury;
       B) That Judgment be entered against Defendant, THE MOREHOUSE
          SCHOOL OF MEDICINE, INC. for its negligent misrepresentation;

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   C) Award the Plaintiff special damages in the amount of $202,773.00;
   D) Award the Plaintiff damages, including but not limited to actual
      damages, consequential damages, general, non-economic damages,
      and punitive damages in an amount to be determined at time of trial;
   E) Award the Plaintiff special damages for lost earning capacity and lost
      income in the amount of $242,421.00;
   F) Award the Plaintiff pre- and post-judgment interest at the maximum
      rate allowed by law;
   G) Award the Plaintiff attorney's fees, including litigation expenses,
      reasonable expert witness fees, and the cost of this action; and
   H) Grant such other and further relief as the Court deems just and proper.

         PRAYER - COUNT X - BREACH OF CONTRACT

   A) That Plaintiff’s claim be tried before a jury;
   B) That Judgment be entered against Defendant, THE MOREHOUSE
      SCHOOL OF MEDICINE, INC. for its breach of contract;
   C) Award the Plaintiff special damages in the amount of $202,773.00;
   D) Award the Plaintiff damages, including but not limited to actual
      damages, consequential damages, general, and non-economic
      damages in an amount to be determined at time of trial;
   E) Award the Plaintiff special damages for lost earning capacity and lost
      income in an amount to be determined at time of trial by expert
      testimony;
   F) Award the Plaintiff pre- and post-judgment interest at the maximum
      rate allowed by law;
   G) Award the Plaintiff reasonable attorney's fees pursuant to O.C.G.A. §
      13-6-11, including litigation expenses, reasonable expert witness fees,
      and the cost of this action; and
   H) Grant such other and further relief as the Court deems just and proper.

            PRAYER - COUNT XI - PUNITIVE DAMGES

   A) Award Plaintiff punitive damages in an amount to be determined at
      time of trial; and
   B) Grant such other and further relief as the Court deems just and proper.


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           This 14th day of August, 2020.




                                            /s/ Drew Mosley
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                      LOCAL RULE CERTIFICATION

      Undersigned counsel attests that this document was prepared in Times New

Roman, 14-point font that complies with this Court’s Rules.



      Respectfully submitted this 14th day of August, 2020.



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